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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Council For Aid To Education, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1732 First Avenue
                                  New York, NY 10120-8000
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.CAE.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Council For Aid To Education, Inc.                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Council For Aid To Education, Inc.                                                         Case number (if known)
         Name




11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                              1,000-5,000                                25,001-50,000
    creditors                        50-99                                             5001-10,000                                50,001-100,000
                                     100-199                                           10,001-25,000                              More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities            $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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  Ú±®³ ççð øîðïç÷         ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                          çëóìëéðîëí             Ð¿¹» î
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               Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ ××× ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡
   ï    Þ®·»º´§ ¼»-½®·¾» ¬¸» ±®¹¿²·¦¿¬·±²ù- ³·--·±²æ
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        ÛÜËÝßÌ×ÑÒ ÐÑÔ×ÝÇ ÎÛÍÛßÎÝØô Ü×ÍÍÛÓ×ÒßÌ×ÒÙ ×ÒÚÑÎÓßÌ×ÑÒ ÞßÍÛÜ ÑÒ ÌØ×Í
        ÎÛÍÛßÎÝØô ßÒÜ ÐÎÑÊ×Ü×ÒÙ ßÍÍÛÍÍÓÛÒÌÍ ßÒÜ ÑÌØÛÎ ÍÛÎÊ×ÝÛÍ ÌÑ ØÛÔÐ ÐÎÑÓÑÌÛ
        ÌÛßÝØ×ÒÙ ßÒÜ ÔÛßÎÒ×ÒÙ ×Ò ÌØÛ îïÍÌ ÝÛÒÌËÎÇò
   î    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² «²¼»®¬¿µ» ¿²§ -·¹²·º·½¿²¬ °®±¹®¿³ -»®ª·½»- ¼«®·²¹ ¬¸» §»¿® ©¸·½¸ ©»®» ²±¬ ´·-¬»¼ ±² ¬¸»
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        ×º þÇ»-ôþ ¼»-½®·¾» ¬¸»-» ²»© -»®ª·½»- ±² Í½¸»¼«´» Ñò
   í    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ½»¿-» ½±²¼«½¬·²¹ô ±® ³¿µ» -·¹²·º·½¿²¬ ½¸¿²¹»- ·² ¸±© ·¬ ½±²¼«½¬-ô ¿²§ °®±¹®¿³ -»®ª·½»-á¢¢¢¢¢¢                  Ç»- È Ò±
        ×º þÇ»-ôþ ¼»-½®·¾» ¬¸»-» ½¸¿²¹»- ±² Í½¸»¼«´» Ñò
   ì    Ü»-½®·¾» ¬¸» ±®¹¿²·¦¿¬·±²ù- °®±¹®¿³ -»®ª·½» ¿½½±³°´·-¸³»²¬- º±® »¿½¸ ±º ·¬- ¬¸®»» ´¿®¹»-¬ °®±¹®¿³ -»®ª·½»-ô ¿- ³»¿-«®»¼ ¾§ »¨°»²-»-ò
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        ®»ª»²«»ô ·º ¿²§ô º±® »¿½¸ °®±¹®¿³ -»®ª·½» ®»°±®¬»¼ò
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        ÚÎÑÓ ÐÎ×ÊßÌÛ ÚÑËÒÜßÌ×ÑÒÍô ×ÒÜ×Ê×ÜËßÔÍô ËÒ×ÊÛÎÍ×Ì×ÛÍ ßÒÜ ÝÑÎÐÑÎßÌ×ÑÒÍ
        ÚÑÝËÍÛÜ ÑÒ ÛÜËÝßÌ×ÑÒ ÐÑÔ×ÝÇ ßÒÜ ßÒßÔÇÍ×Í ÑÚ ÛÜËÝßÌ×ÑÒ ×ÍÍËÛÍò ÌØÛ
        ÎÛÍÛßÎÝØ ÍÐËÎÍ ×ÓÐÎÑÊÛÓÛÒÌ ßÒÜ ÊßÔ×ÜßÌ×ÑÒ ÑÚ ÝßÛùÍ ÑÉÒ ßÍÍÛÍÍÓÛÒÌÍ ßÒÜ
        ßÔÔÑÉÍ ÚÑÎ ÍØßÎ×ÒÙ ÕÒÑÉÔÛÜÙÛ É×ÌØ ÛÜËÝßÌ×ÑÒßÔ ÍÌßÕÛØÑÔÜÛÎÍò




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        ÍÝØÑÑÔÍ ÌÑ ÓÛßÍËÎÛ ÝÎ×Ì×ÝßÔ ÌØ×ÒÕ×ÒÙ ßÒÜ ÉÎ×ÌÌÛÒ ÝÑÓÓËÒ×ÝßÌ×ÑÒ ÍÕ×ÔÔÍò
        ×Ò ÚÇ îðïçô ïèï ×ÒÍÌ×ÌËÌ×ÑÒÍ ÐßÎÌ×Ý×ÐßÌÛÜ ×Ò ÌØÛ ßÍÍÛÍÍÓÛÒÌÍ ÉØ×ÝØ
        ÐÎÑÊ×ÜÛÜ ÌÛÍÌ ÜÛÊÛÔÑÐÓÛÒÌô ÌÛÍÌ ßÜÓ×Ò×ÍÌÎßÌ×ÑÒô ÍÝÑÎ×ÒÙ ßÒÜ ÎÛÍËÔÌÍ
        ßÒßÔÇ×Íò




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        øÛ¨°»²-»- ü                            ·²½´«¼·²¹ ¹®¿²¬- ±º ü                       ÷ øÎ»ª»²«» ü                           ÷
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         If "Yes," complete Schedule A ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                       ï    È
   î     ×- ¬¸» ±®¹¿²·¦¿¬·±² ®»¯«·®»¼ ¬± ½±³°´»¬» Schedule B, Schedule of Contributorsá ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                               î          È
   í     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² »²¹¿¹» ·² ¼·®»½¬ ±® ·²¼·®»½¬ °±´·¬·½¿´ ½¿³°¿·¹² ¿½¬·ª·¬·»- ±² ¾»¸¿´º ±º ±® ·² ±°°±-·¬·±² ¬± ½¿²¼·¼¿¬»- º±®
         °«¾´·½ ±ºº·½»á If "Yes," complete Schedule C, Part I ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                           í          È
   ì     Í»½¬·±² ëðïø½÷øí÷ ±®¹¿²·¦¿¬·±²-ò Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² »²¹¿¹» ·² ´±¾¾§·²¹ ¿½¬·ª·¬·»-ô ±® ¸¿ª» ¿ -»½¬·±² ëðïø¸÷ »´»½¬·±² ·² »ºº»½¬
         ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes," complete Schedule C, Part II ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                       ì          È
   ë     ×- ¬¸» ±®¹¿²·¦¿¬·±² ¿ -»½¬·±² ëðïø½÷øì÷ô ëðïø½÷øë÷ô ±® ëðïø½÷øê÷ ±®¹¿²·¦¿¬·±² ¬¸¿¬ ®»½»·ª»- ³»³¾»®-¸·° ¼«»-ô ¿--»--³»²¬-ô ±®
         -·³·´¿® ¿³±«²¬- ¿- ¼»º·²»¼ ·² Î»ª»²«» Ð®±½»¼«®» çèóïçá If "Yes," complete Schedule C, Part III ¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       ë          È
   ê     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿·²¬¿·² ¿²§ ¼±²±® ¿¼ª·-»¼ º«²¼- ±® ¿²§ -·³·´¿® º«²¼- ±® ¿½½±«²¬- º±® ©¸·½¸ ¼±²±®- ¸¿ª» ¬¸» ®·¹¸¬ ¬±
         °®±ª·¼» ¿¼ª·½» ±² ¬¸» ¼·-¬®·¾«¬·±² ±® ·²ª»-¬³»²¬ ±º ¿³±«²¬- ·² -«½¸ º«²¼- ±® ¿½½±«²¬-á If "Yes," complete Schedule D, Part I        ê          È
   é     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ±® ¸±´¼ ¿ ½±²-»®ª¿¬·±² »¿-»³»²¬ô ·²½´«¼·²¹ »¿-»³»²¬- ¬± °®»-»®ª» ±°»² -°¿½»ô
         ¬¸» »²ª·®±²³»²¬ô ¸·-¬±®·½ ´¿²¼ ¿®»¿-ô ±® ¸·-¬±®·½ -¬®«½¬«®»-á If "Yes," complete Schedule D, Part II¢¢¢¢¢¢¢¢¢¢¢¢¢¢                  é          È
   è     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿·²¬¿·² ½±´´»½¬·±²- ±º ©±®µ- ±º ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬-á If "Yes," complete
         Schedule D, Part III ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                           è          È
   ç     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿² ¿³±«²¬ ·² Ð¿®¬ Èô ´·²» îïô º±® »-½®±© ±® ½«-¬±¼·¿´ ¿½½±«²¬ ´·¿¾·´·¬§ô -»®ª» ¿- ¿ ½«-¬±¼·¿² º±®
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         If "Yes," complete Schedule D, Part IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                  ç          È
  ïð     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±²ô ¼·®»½¬´§ ±® ¬¸®±«¹¸ ¿ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ô ¸±´¼ ¿--»¬- ·² ¼±²±®ó®»-¬®·½¬»¼ »²¼±©³»²¬-
         ±® ·² ¯«¿-· »²¼±©³»²¬-á If "Yes," complete Schedule D, Part V ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                       ïð          È
  ïï     ×º ¬¸» ±®¹¿²·¦¿¬·±²ù- ¿²-©»® ¬± ¿²§ ±º ¬¸» º±´´±©·²¹ ¯«»-¬·±²- ·- þÇ»-ôþ ¬¸»² ½±³°´»¬» Í½¸»¼«´» Üô Ð¿®¬- Ê×ô Ê××ô Ê×××ô ×Èô ±® È
         ¿- ¿°°´·½¿¾´»ò
     ¿   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿² ¿³±«²¬ º±® ´¿²¼ô ¾«·´¼·²¹-ô ¿²¼ »¯«·°³»²¬ ·² Ð¿®¬ Èô ´·²» ïðá If "Yes," complete Schedule D,
         Part VI ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                 ïï¿   È
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         ¿--»¬- ®»°±®¬»¼ ·² Ð¿®¬ Èô ´·²» ïêá If "Yes," complete Schedule D, Part VII ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                              ïï¾         È
     ½   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿² ¿³±«²¬ º±® ·²ª»-¬³»²¬- ó °®±¹®¿³ ®»´¿¬»¼ ·² Ð¿®¬ Èô ´·²» ïíô ¬¸¿¬ ·- ëû ±® ³±®» ±º ·¬- ¬±¬¿´
         ¿--»¬- ®»°±®¬»¼ ·² Ð¿®¬ Èô ´·²» ïêá If "Yes," complete Schedule D, Part VIII ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             ïï½         È
     ¼   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿² ¿³±«²¬ º±® ±¬¸»® ¿--»¬- ·² Ð¿®¬ Èô ´·²» ïëô ¬¸¿¬ ·- ëû ±® ³±®» ±º ·¬- ¬±¬¿´ ¿--»¬- ®»°±®¬»¼ ·²
         Ð¿®¬ Èô ´·²» ïêá If "Yes," complete Schedule D, Part IX ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                        ïï¼         È
     »   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿² ¿³±«²¬ º±® ±¬¸»® ´·¿¾·´·¬·»- ·² Ð¿®¬ Èô ´·²» îëá If "Yes," complete Schedule D, Part X ¢¢¢¢¢¢       ïï»   È
     º   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±²ù- -»°¿®¿¬» ±® ½±²-±´·¼¿¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- º±® ¬¸» ¬¿¨ §»¿® ·²½´«¼» ¿ º±±¬²±¬» ¬¸¿¬ ¿¼¼®»--»-
         ¬¸» ±®¹¿²·¦¿¬·±²ù- ´·¿¾·´·¬§ º±® «²½»®¬¿·² ¬¿¨ °±-·¬·±²- «²¼»® Ú×Ò ìè øßÍÝ éìð÷á If "Yes," complete Schedule D, Part X ¢¢¢¢        ïïº   È
  ïî¿    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ±¾¬¿·² -»°¿®¿¬»ô ·²¼»°»²¼»²¬ ¿«¼·¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- º±® ¬¸» ¬¿¨ §»¿®á If "Yes," complete
         Schedule D, Parts XI and XII ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                      ïî¿         È
     ¾   É¿- ¬¸» ±®¹¿²·¦¿¬·±² ·²½´«¼»¼ ·² ½±²-±´·¼¿¬»¼ô ·²¼»°»²¼»²¬ ¿«¼·¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- º±® ¬¸» ¬¿¨ §»¿®á
         If "Yes," and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional ¢¢¢¢¢        ïî¾   È
  ïí     ×- ¬¸» ±®¹¿²·¦¿¬·±² ¿ -½¸±±´ ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø··÷á If "Yes," complete Schedule E ¢¢¢¢¢¢¢¢¢¢¢¢¢¢                    ïí         È
  ïì¿    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿·²¬¿·² ¿² ±ºº·½»ô »³°´±§»»-ô ±® ¿¹»²¬- ±«¬-·¼» ±º ¬¸» Ë²·¬»¼ Í¬¿¬»-á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       ïì¿   È
    ¾    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿¹¹®»¹¿¬» ®»ª»²«»- ±® »¨°»²-»- ±º ³±®» ¬¸¿² üïðôððð º®±³ ¹®¿²¬³¿µ·²¹ô º«²¼®¿·-·²¹ô ¾«-·²»--ô
         ·²ª»-¬³»²¬ô ¿²¼ °®±¹®¿³ -»®ª·½» ¿½¬·ª·¬·»- ±«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»-ô ±® ¿¹¹®»¹¿¬» º±®»·¹² ·²ª»-¬³»²¬- ª¿´«»¼ ¿¬ üïððôððð
         ±® ³±®»á If "Yes," complete Schedule F, Parts I and IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                         ïì¾   È
  ïë     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ±² Ð¿®¬ ×Èô ½±´«³² øß÷ô ´·²» íô ³±®» ¬¸¿² üëôððð ±º ¹®¿²¬- ±® ±¬¸»® ¿--·-¬¿²½» ¬± ±® º±® ¿²§
         º±®»·¹² ±®¹¿²·¦¿¬·±²á If "Yes," complete Schedule F, Parts II and IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                  ïë          È
  ïê     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ±² Ð¿®¬ ×Èô ½±´«³² øß÷ô ´·²» íô ³±®» ¬¸¿² üëôððð ±º ¿¹¹®»¹¿¬» ¹®¿²¬- ±® ±¬¸»® ¿--·-¬¿²½» ¬±
         ±® º±® º±®»·¹² ·²¼·ª·¼«¿´-á If "Yes," complete Schedule F, Parts III and IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             ïê          È
  ïé  Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿ ¬±¬¿´ ±º ³±®» ¬¸¿² üïëôððð ±º »¨°»²-»- º±® °®±º»--·±²¿´ º«²¼®¿·-·²¹ -»®ª·½»- ±² Ð¿®¬ ×Èô
      ½±´«³² øß÷ô ´·²»- ê ¿²¼ ïï»á If "Yes," complete Schedule G, Part I ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                      ïé          È
  ïè Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ³±®» ¬¸¿² üïëôððð ¬±¬¿´ ±º º«²¼®¿·-·²¹ »ª»²¬ ¹®±-- ·²½±³» ¿²¼ ½±²¬®·¾«¬·±²- ±² Ð¿®¬ Ê×××ô ´·²»-
      ï½ ¿²¼ è¿á If "Yes," complete Schedule G, Part II ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                               ïè          È
  ïç Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ³±®» ¬¸¿² üïëôððð ±º ¹®±-- ·²½±³» º®±³ ¹¿³·²¹ ¿½¬·ª·¬·»- ±² Ð¿®¬ Ê×××ô ´·²» ç¿á If "Yes,"
      complete Schedule G, Part III ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                          ïç         È
  îð¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ±°»®¿¬» ±²» ±® ³±®» ¸±-°·¬¿´ º¿½·´·¬·»-á If "Yes," complete Schedule H ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                         îð¿         È
    ¾ ×º þÇ»-þ ¬± ´·²» îð¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¿¬¬¿½¸ ¿ ½±°§ ±º ·¬- ¿«¼·¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- ¬± ¬¸·- ®»¬«®²á ¢¢¢¢¢¢¢¢¢¢               îð¾
  îï Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ³±®» ¬¸¿² üëôððð ±º ¹®¿²¬- ±® ±¬¸»® ¿--·-¬¿²½» ¬± ¿²§ ¼±³»-¬·½ ±®¹¿²·¦¿¬·±² ±®
      ¼±³»-¬·½ ¹±ª»®²³»²¬ ±² Ð¿®¬ ×Èô ½±´«³² øß÷ô ´·²» ïá If "Yes," complete Schedule I, Parts I and II ¡¡¡¡¡¡¡¡¡¡¡¡¡¡
                                                                                                            ¢¢¢¢¢¢¢¢¢¢¢¢¢¢                   îï        È
  çíîððí ðïóîðóîð                                                                                                                           Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
              21-11221         Doc 2        Filed 06/30/21          Entered 06/30/21 19:05:36                  Main Document                  Pg
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  Ú±®³ ççð øîðïç÷         ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                              çëóìëéðîëí               Ð¿¹» ì
   Ð¿®¬ ×Ê Ý¸»½µ´·-¬ ±º Î»¯«·®»¼ Í½¸»¼«´»- (continued)
                                                                                                                                               Ç»-   Ò±
  îî       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ³±®» ¬¸¿² üëôððð ±º ¹®¿²¬- ±® ±¬¸»® ¿--·-¬¿²½» ¬± ±® º±® ¼±³»-¬·½ ·²¼·ª·¼«¿´- ±²
           Ð¿®¬ ×Èô ½±´«³² øß÷ô ´·²» îá If "Yes," complete Schedule I, Parts I and III ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                        îî          È
  îí       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»® þÇ»-þ ¬± Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» íô ìô ±® ë ¿¾±«¬ ½±³°»²-¿¬·±² ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ½«®®»²¬
           ¿²¼ º±®³»® ±ºº·½»®-ô ¼·®»½¬±®-ô ¬®«-¬»»-ô µ»§ »³°´±§»»-ô ¿²¼ ¸·¹¸»-¬ ½±³°»²-¿¬»¼ »³°´±§»»-á If "Yes," complete
           Schedule J ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                           îí    È
  îì ¿     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ¬¿¨ó»¨»³°¬ ¾±²¼ ·--«» ©·¬¸ ¿² ±«¬-¬¿²¼·²¹ °®·²½·°¿´ ¿³±«²¬ ±º ³±®» ¬¸¿² üïððôððð ¿- ±º ¬¸»
           ´¿-¬ ¼¿§ ±º ¬¸» §»¿®ô ¬¸¿¬ ©¿- ·--«»¼ ¿º¬»® Ü»½»³¾»® íïô îððîá If "Yes," answer lines 24b through 24d and complete
           Schedule K. If "No," go to line 25a ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                             îì¿         È
       ¾   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²ª»-¬ ¿²§ °®±½»»¼- ±º ¬¿¨ó»¨»³°¬ ¾±²¼- ¾»§±²¼ ¿ ¬»³°±®¿®§ °»®·±¼ »¨½»°¬·±²á ¢¢¢¢¢¢¢¢¢¢¢                 îì¾
       ½   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿·²¬¿·² ¿² »-½®±© ¿½½±«²¬ ±¬¸»® ¬¸¿² ¿ ®»º«²¼·²¹ »-½®±© ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» §»¿® ¬± ¼»º»¿-»
           ¿²§ ¬¿¨ó»¨»³°¬ ¾±²¼-á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                      îì½
     ¼     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¿½¬ ¿- ¿² þ±² ¾»¸¿´º ±ºþ ·--«»® º±® ¾±²¼- ±«¬-¬¿²¼·²¹ ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» §»¿®á ¢¢¢¢¢¢¢¢¢¢¢           îì¼
  îë ¿     Í»½¬·±² ëðïø½÷øí÷ô ëðïø½÷øì÷ô ¿²¼ ëðïø½÷øîç÷ ±®¹¿²·¦¿¬·±²-ò Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² »²¹¿¹» ·² ¿² »¨½»-- ¾»²»º·¬
           ¬®¿²-¿½¬·±² ©·¬¸ ¿ ¼·-¯«¿´·º·»¼ °»®-±² ¼«®·²¹ ¬¸» §»¿®á If "Yes," complete Schedule L, Part I ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                îë¿         È
       ¾   ×- ¬¸» ±®¹¿²·¦¿¬·±² ¿©¿®» ¬¸¿¬ ·¬ »²¹¿¹»¼ ·² ¿² »¨½»-- ¾»²»º·¬ ¬®¿²-¿½¬·±² ©·¬¸ ¿ ¼·-¯«¿´·º·»¼ °»®-±² ·² ¿ °®·±® §»¿®ô ¿²¼
           ¬¸¿¬ ¬¸» ¬®¿²-¿½¬·±² ¸¿- ²±¬ ¾»»² ®»°±®¬»¼ ±² ¿²§ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- °®·±® Ú±®³- ççð ±® ççðóÛÆá If "Yes," complete
           Schedule L, Part I ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                       îë¾         È
  îê       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬ ¿²§ ¿³±«²¬ ±² Ð¿®¬ Èô ´·²» ë ±® îîô º±® ®»½»·ª¿¾´»- º®±³ ±® °¿§¿¾´»- ¬± ¿²§ ½«®®»²¬
           ±® º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô µ»§ »³°´±§»»ô ½®»¿¬±® ±® º±«²¼»®ô -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®ô ±® íëû
           ½±²¬®±´´»¼ »²¬·¬§ ±® º¿³·´§ ³»³¾»® ±º ¿²§ ±º ¬¸»-» °»®-±²-á If "Yes," complete Schedule L, Part II ¢¢¢¢¢¢¢¢¢¢¢¢¢              îê          È
  îé       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼» ¿ ¹®¿²¬ ±® ±¬¸»® ¿--·-¬¿²½» ¬± ¿²§ ½«®®»²¬ ±® º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô µ»§ »³°´±§»»ô
           ½®»¿¬±® ±® º±«²¼»®ô -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±® ±® »³°´±§»» ¬¸»®»±ºô ¿ ¹®¿²¬ -»´»½¬·±² ½±³³·¬¬»» ³»³¾»®ô ±® ¬± ¿ íëû ½±²¬®±´´»¼
           »²¬·¬§ ø·²½´«¼·²¹ ¿² »³°´±§»» ¬¸»®»±º÷ ±® º¿³·´§ ³»³¾»® ±º ¿²§ ±º ¬¸»-» °»®-±²-á If "Yes," complete Schedule L, Part III¢¢¢   îé          È
  îè       É¿- ¬¸» ±®¹¿²·¦¿¬·±² ¿ °¿®¬§ ¬± ¿ ¾«-·²»-- ¬®¿²-¿½¬·±² ©·¬¸ ±²» ±º ¬¸» º±´´±©·²¹ °¿®¬·»- ø-»» Í½¸»¼«´» Ôô Ð¿®¬ ×Ê
           ·²-¬®«½¬·±²-ô º±® ¿°°´·½¿¾´» º·´·²¹ ¬¸®»-¸±´¼-ô ½±²¼·¬·±²-ô ¿²¼ »¨½»°¬·±²-÷æ
     ¿     ß ½«®®»²¬ ±® º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô µ»§ »³°´±§»»ô ½®»¿¬±® ±® º±«²¼»®ô ±® -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®á If
           "Yes," complete Schedule L, Part IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                              îè¿         È
     ¾     ß º¿³·´§ ³»³¾»® ±º ¿²§ ·²¼·ª·¼«¿´ ¼»-½®·¾»¼ ·² ´·²» îè¿á If "Yes," complete Schedule L, Part IV¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                îè¾         È
     ½     ß íëû ½±²¬®±´´»¼ »²¬·¬§ ±º ±²» ±® ³±®» ·²¼·ª·¼«¿´- ¿²¼ñ±® ±®¹¿²·¦¿¬·±²- ¼»-½®·¾»¼ ·² ´·²»- îè¿ ±® îè¾á If
           "Yes," complete Schedule L, Part IV ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                              îè½         È
  îç       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ³±®» ¬¸¿² üîëôððð ·² ²±²ó½¿-¸ ½±²¬®·¾«¬·±²-á If "Yes," complete Schedule M ¢¢¢¢¢¢¢¢¢             îç          È
  íð       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ½±²¬®·¾«¬·±²- ±º ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬-ô ±® ¯«¿´·º·»¼ ½±²-»®ª¿¬·±²
           ½±²¬®·¾«¬·±²-á If "Yes," complete Schedule M ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          íð          È
  íï       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ´·¯«·¼¿¬»ô ¬»®³·²¿¬»ô ±® ¼·--±´ª» ¿²¼ ½»¿-» ±°»®¿¬·±²-á If "Yes," complete Schedule N, Part I¢¢¢¢¢¢      íï          È
  íî       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² -»´´ô »¨½¸¿²¹»ô ¼·-°±-» ±ºô ±® ¬®¿²-º»® ³±®» ¬¸¿² îëû ±º ·¬- ²»¬ ¿--»¬-á If "Yes," complete
           Schedule N, Part II ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                      íî          È
  íí       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ±©² ïððû ±º ¿² »²¬·¬§ ¼·-®»¹¿®¼»¼ ¿- -»°¿®¿¬» º®±³ ¬¸» ±®¹¿²·¦¿¬·±² «²¼»® Î»¹«´¿¬·±²-
           -»½¬·±²- íðïòééðïóî ¿²¼ íðïòééðïóíá If "Yes," complete Schedule R, Part I ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                            íí          È
  íì       É¿- ¬¸» ±®¹¿²·¦¿¬·±² ®»´¿¬»¼ ¬± ¿²§ ¬¿¨ó»¨»³°¬ ±® ¬¿¨¿¾´» »²¬·¬§á If "Yes," complete Schedule R, Part II, III, or IV, and
           Part V, line 1 ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                        íì    È
  íë ¿     Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ½±²¬®±´´»¼ »²¬·¬§ ©·¬¸·² ¬¸» ³»¿²·²¹ ±º -»½¬·±² ëïîø¾÷øïí÷á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                    íë¿   È
     ¾     ×º þÇ»-þ ¬± ´·²» íë¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ¿²§ °¿§³»²¬ º®±³ ±® »²¹¿¹» ·² ¿²§ ¬®¿²-¿½¬·±² ©·¬¸ ¿ ½±²¬®±´´»¼ »²¬·¬§
           ©·¬¸·² ¬¸» ³»¿²·²¹ ±º -»½¬·±² ëïîø¾÷øïí÷á If "Yes," complete Schedule R, Part V, line 2 ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                   íë¾   È
  íê       Í»½¬·±² ëðïø½÷øí÷ ±®¹¿²·¦¿¬·±²-ò Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿µ» ¿²§ ¬®¿²-º»®- ¬± ¿² »¨»³°¬ ²±²ó½¸¿®·¬¿¾´» ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²á
           If "Yes," complete Schedule R, Part V, line 2 ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                        íê          È
  íé       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ½±²¼«½¬ ³±®» ¬¸¿² ëû ±º ·¬- ¿½¬·ª·¬·»- ¬¸®±«¹¸ ¿² »²¬·¬§ ¬¸¿¬ ·- ²±¬ ¿ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²
           ¿²¼ ¬¸¿¬ ·- ¬®»¿¬»¼ ¿- ¿ °¿®¬²»®-¸·° º±® º»¼»®¿´ ·²½±³» ¬¿¨ °«®°±-»-á If "Yes," complete Schedule R, Part VI ¢¢¢¢¢¢¢¢         íé          È
  íè       Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ½±³°´»¬» Í½¸»¼«´» Ñ ¿²¼ °®±ª·¼» »¨°´¿²¿¬·±²- ·² Í½¸»¼«´» Ñ º±® Ð¿®¬ Ê×ô ´·²»- ïï¾ ¿²¼ ïçá
           Ò±¬»æ ß´´ Ú±®³ ççð º·´»®- ¿®» ®»¯«·®»¼ ¬± ½±³°´»¬» Í½¸»¼«´» Ñ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                 íè    È
   Ð¿®¬ Ê         Í¬¿¬»³»²¬- Î»¹¿®¼·²¹ Ñ¬¸»® ×ÎÍ Ú·´·²¹- ¿²¼ Ì¿¨ Ý±³°´·¿²½»
             Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ Ê ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡
                                                                                                                                 Ç»-                 Ò±
   ï¿ Û²¬»® ¬¸» ²«³¾»® ®»°±®¬»¼ ·² Þ±¨ í ±º Ú±®³ ïðçêò Û²¬»® óðó ·º ²±¬ ¿°°´·½¿¾´» ¢¢¢¢¢¢¢¢¢¢¢              ï¿             ëí
    ¾ Û²¬»® ¬¸» ²«³¾»® ±º Ú±®³- ÉóîÙ ·²½´«¼»¼ ·² ´·²» ï¿ò Û²¬»® óðó ·º ²±¬ ¿°°´·½¿¾´» ¢¢¢¢¢¢¢¢¢¢            ï¾              ð
    ½ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ½±³°´§  ©·¬¸ ¾¿½µ«° ©·¬¸¸±´¼·²¹ ®«´»- º±® ®»°±®¬¿¾´»  °¿§³»²¬- ¬± ª»²¼±®- ¿²¼ ®»°±®¬¿¾´» ¹¿³·²¹
      ø¹¿³¾´·²¹÷ ©·²²·²¹- ¬± °®·¦» ©·²²»®-á ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                       ï½  È
  çíîððì ðïóîðóîð                                                                                                                        Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷            ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                     çëóìëéðîëí                   Ð¿¹» ë
   Ð¿®¬ Ê       Í¬¿¬»³»²¬- Î»¹¿®¼·²¹ Ñ¬¸»® ×ÎÍ Ú·´·²¹- ¿²¼ Ì¿¨ Ý±³°´·¿²½» (continued)
                                                                                                                                                             Ç»-   Ò±
   î¿ Û²¬»® ¬¸» ²«³¾»® ±º »³°´±§»»- ®»°±®¬»¼ ±² Ú±®³ Éóíô Ì®¿²-³·¬¬¿´ ±º É¿¹» ¿²¼ Ì¿¨ Í¬¿¬»³»²¬-ô
      º·´»¼ º±® ¬¸» ½¿´»²¼¿® §»¿® »²¼·²¹ ©·¬¸ ±® ©·¬¸·² ¬¸» §»¿® ½±ª»®»¼ ¾§ ¬¸·- ®»¬«®² ¢¢¢¢¢¢¢¢¢¢                        î¿                     ëê
    ¾ ×º ¿¬ ´»¿-¬ ±²» ·- ®»°±®¬»¼ ±² ´·²» î¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º·´» ¿´´ ®»¯«·®»¼ º»¼»®¿´ »³°´±§³»²¬ ¬¿¨ ®»¬«®²-á¢¢¢¢¢¢¢¢¢¢                         î¾    È
      Ò±¬»æ ×º ¬¸» -«³ ±º ´·²»- ï¿ ¿²¼ î¿ ·- ¹®»¿¬»® ¬¸¿² îëðô §±« ³¿§ ¾» ®»¯«·®»¼ ¬± e-file ø-»» ·²-¬®«½¬·±²-÷ ¢¢¢¢¢¢¢¢¢¢¢
   í¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» «²®»´¿¬»¼ ¾«-·²»-- ¹®±-- ·²½±³» ±º üïôððð ±® ³±®» ¼«®·²¹ ¬¸» §»¿®á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                      í¿          È
    ¾ ×º þÇ»-ôþ ¸¿- ·¬ º·´»¼ ¿ Ú±®³ ççðóÌ º±® ¬¸·- §»¿®á If "No" to line 3b, provide an explanation on Schedule O ¢¢¢¢¢¢¢¢¢¢                           í¾
   ì¿ ß¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» ½¿´»²¼¿® §»¿®ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿² ·²¬»®»-¬ ·²ô ±® ¿ -·¹²¿¬«®» ±® ±¬¸»® ¿«¬¸±®·¬§ ±ª»®ô ¿
      º·²¿²½·¿´ ¿½½±«²¬ ·² ¿ º±®»·¹² ½±«²¬®§ ø-«½¸ ¿- ¿ ¾¿²µ ¿½½±«²¬ô -»½«®·¬·»- ¿½½±«²¬ô ±® ±¬¸»® º·²¿²½·¿´ ¿½½±«²¬÷á¢¢¢¢¢¢¢                          ì¿          È
    ¾ ×º þÇ»-ôþ »²¬»® ¬¸» ²¿³» ±º ¬¸» º±®»·¹² ½±«²¬®§ J
      Í»» ·²-¬®«½¬·±²- º±® º·´·²¹ ®»¯«·®»³»²¬- º±® Ú·²ÝÛÒ Ú±®³ ïïìô Î»°±®¬ ±º Ú±®»·¹² Þ¿²µ ¿²¼ Ú·²¿²½·¿´ ß½½±«²¬- øÚÞßÎ÷ò
   ë¿ É¿- ¬¸» ±®¹¿²·¦¿¬·±² ¿ °¿®¬§ ¬± ¿ °®±¸·¾·¬»¼ ¬¿¨ -¸»´¬»® ¬®¿²-¿½¬·±² ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á ¢¢¢¢¢¢¢¢¢¢¢¢                               ë¿          È
    ¾ Ü·¼ ¿²§ ¬¿¨¿¾´» °¿®¬§ ²±¬·º§ ¬¸» ±®¹¿²·¦¿¬·±² ¬¸¿¬ ·¬ ©¿- ±® ·- ¿ °¿®¬§ ¬± ¿ °®±¸·¾·¬»¼ ¬¿¨ -¸»´¬»® ¬®¿²-¿½¬·±²á¢¢¢¢¢¢¢¢¢                        ë¾          È
    ½ ×º þÇ»-þ ¬± ´·²» ë¿ ±® ë¾ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º·´» Ú±®³ èèèêóÌá¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                 ë½
   ê¿ Ü±»- ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿²²«¿´ ¹®±-- ®»½»·°¬- ¬¸¿¬ ¿®» ²±®³¿´´§ ¹®»¿¬»® ¬¸¿² üïððôðððô ¿²¼ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² -±´·½·¬
      ¿²§ ½±²¬®·¾«¬·±²- ¬¸¿¬ ©»®» ²±¬ ¬¿¨ ¼»¼«½¬·¾´» ¿- ½¸¿®·¬¿¾´» ½±²¬®·¾«¬·±²-á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                             ê¿          È
    ¾ ×º þÇ»-ôþ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²½´«¼» ©·¬¸ »ª»®§ -±´·½·¬¿¬·±² ¿² »¨°®»-- -¬¿¬»³»²¬ ¬¸¿¬ -«½¸ ½±²¬®·¾«¬·±²- ±® ¹·º¬-
      ©»®» ²±¬ ¬¿¨ ¼»¼«½¬·¾´»á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                       ê¾
   é Ñ®¹¿²·¦¿¬·±²- ¬¸¿¬ ³¿§ ®»½»·ª» ¼»¼«½¬·¾´» ½±²¬®·¾«¬·±²- «²¼»® -»½¬·±² ïéðø½÷ò
    ¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ¿ °¿§³»²¬ ·² »¨½»-- ±º üéë ³¿¼» °¿®¬´§ ¿- ¿ ½±²¬®·¾«¬·±² ¿²¼ °¿®¬´§ º±® ¹±±¼- ¿²¼ -»®ª·½»- °®±ª·¼»¼ ¬± ¬¸» °¿§±®á   é¿          È
    ¾ ×º þÇ»-ôþ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ²±¬·º§ ¬¸» ¼±²±® ±º ¬¸» ª¿´«» ±º ¬¸» ¹±±¼- ±® -»®ª·½»- °®±ª·¼»¼á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                  é¾
    ½ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² -»´´ô »¨½¸¿²¹»ô ±® ±¬¸»®©·-» ¼·-°±-» ±º ¬¿²¹·¾´» °»®-±²¿´ °®±°»®¬§ º±® ©¸·½¸ ·¬ ©¿- ®»¯«·®»¼
      ¬± º·´» Ú±®³ èîèîá ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                                          é½          È
    ¼ ×º þÇ»-ôþ ·²¼·½¿¬» ¬¸» ²«³¾»® ±º Ú±®³- èîèî º·´»¼ ¼«®·²¹ ¬¸» §»¿® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                  é¼
    » Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ¿²§ º«²¼-ô ¼·®»½¬´§ ±® ·²¼·®»½¬´§ô ¬± °¿§ °®»³·«³- ±² ¿ °»®-±²¿´ ¾»²»º·¬ ½±²¬®¿½¬á ¢¢¢¢¢¢¢                          é»          È
    º Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±²ô ¼«®·²¹ ¬¸» §»¿®ô °¿§ °®»³·«³-ô ¼·®»½¬´§ ±® ·²¼·®»½¬´§ô ±² ¿ °»®-±²¿´ ¾»²»º·¬ ½±²¬®¿½¬á ¢¢¢¢¢¢¢¢¢                           éº
    ¹ ×º ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª»¼ ¿ ½±²¬®·¾«¬·±² ±º ¯«¿´·º·»¼ ·²¬»´´»½¬«¿´ °®±°»®¬§ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º·´» Ú±®³ èèçç ¿- ®»¯«·®»¼á¢                é¹
    ¸ ×º ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª»¼ ¿ ½±²¬®·¾«¬·±² ±º ½¿®-ô ¾±¿¬-ô ¿·®°´¿²»-ô ±® ±¬¸»® ª»¸·½´»-ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º·´» ¿ Ú±®³ ïðçèóÝá               é¸
   è Í°±²-±®·²¹ ±®¹¿²·¦¿¬·±²- ³¿·²¬¿·²·²¹ ¼±²±® ¿¼ª·-»¼ º«²¼-ò Ü·¼ ¿ ¼±²±® ¿¼ª·-»¼ º«²¼ ³¿·²¬¿·²»¼ ¾§ ¬¸»
      -°±²-±®·²¹ ±®¹¿²·¦¿¬·±² ¸¿ª» »¨½»-- ¾«-·²»-- ¸±´¼·²¹- ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» §»¿®á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            è
   ç Í°±²-±®·²¹ ±®¹¿²·¦¿¬·±²- ³¿·²¬¿·²·²¹ ¼±²±® ¿¼ª·-»¼ º«²¼-ò
    ¿ Ü·¼ ¬¸» -°±²-±®·²¹ ±®¹¿²·¦¿¬·±² ³¿µ» ¿²§ ¬¿¨¿¾´» ¼·-¬®·¾«¬·±²- «²¼»® -»½¬·±² ìçêêá ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                           ç¿
    ¾ Ü·¼ ¬¸» -°±²-±®·²¹ ±®¹¿²·¦¿¬·±² ³¿µ» ¿ ¼·-¬®·¾«¬·±² ¬± ¿ ¼±²±®ô ¼±²±® ¿¼ª·-±®ô ±® ®»´¿¬»¼ °»®-±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢                                  ç¾
  ïð Í»½¬·±² ëðïø½÷øé÷ ±®¹¿²·¦¿¬·±²-ò Û²¬»®æ
    ¿ ×²·¬·¿¬·±² º»»- ¿²¼ ½¿°·¬¿´ ½±²¬®·¾«¬·±²- ·²½´«¼»¼ ±² Ð¿®¬ Ê×××ô ´·²» ïî ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïð¿
    ¾ Ù®±-- ®»½»·°¬-ô ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» ïîô º±® °«¾´·½ «-» ±º ½´«¾ º¿½·´·¬·»- ¢¢¢¢¢¢ ïð¾
  ïï Í»½¬·±² ëðïø½÷øïî÷ ±®¹¿²·¦¿¬·±²-ò Û²¬»®æ
    ¿ Ù®±-- ·²½±³» º®±³ ³»³¾»®- ±® -¸¿®»¸±´¼»®- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïï¿
    ¾ Ù®±-- ·²½±³» º®±³ ±¬¸»® -±«®½»- øÜ± ²±¬ ²»¬ ¿³±«²¬- ¼«» ±® °¿·¼ ¬± ±¬¸»® -±«®½»- ¿¹¿·²-¬
      ¿³±«²¬- ¼«» ±® ®»½»·ª»¼ º®±³ ¬¸»³ò÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïï¾
  ïî¿ Í»½¬·±² ìçìéø¿÷øï÷ ²±²ó»¨»³°¬ ½¸¿®·¬¿¾´» ¬®«-¬-ò ×- ¬¸» ±®¹¿²·¦¿¬·±² º·´·²¹ Ú±®³ ççð ·² ´·»« ±º Ú±®³ ïðìïá                                       ïî¿
    ¾ ×º þÇ»-ôþ »²¬»® ¬¸» ¿³±«²¬ ±º ¬¿¨ó»¨»³°¬ ·²¬»®»-¬ ®»½»·ª»¼ ±® ¿½½®«»¼ ¼«®·²¹ ¬¸» §»¿® ¡¡¡¡¡¡ ïî¾
  ïí Í»½¬·±² ëðïø½÷øîç÷ ¯«¿´·º·»¼ ²±²°®±º·¬ ¸»¿´¬¸ ·²-«®¿²½» ·--«»®-ò
    ¿ ×- ¬¸» ±®¹¿²·¦¿¬·±² ´·½»²-»¼ ¬± ·--«» ¯«¿´·º·»¼ ¸»¿´¬¸ °´¿²- ·² ³±®» ¬¸¿² ±²» -¬¿¬»á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                       ïí¿
      Ò±¬»æ Í»» ¬¸» ·²-¬®«½¬·±²- º±® ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±² ¬¸» ±®¹¿²·¦¿¬·±² ³«-¬ ®»°±®¬ ±² Í½¸»¼«´» Ñò
    ¾ Û²¬»® ¬¸» ¿³±«²¬ ±º ®»-»®ª»- ¬¸» ±®¹¿²·¦¿¬·±² ·- ®»¯«·®»¼ ¬± ³¿·²¬¿·² ¾§ ¬¸» -¬¿¬»- ·² ©¸·½¸ ¬¸»
      ±®¹¿²·¦¿¬·±² ·- ´·½»²-»¼ ¬± ·--«» ¯«¿´·º·»¼ ¸»¿´¬¸ °´¿²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïí¾
    ½ Û²¬»® ¬¸» ¿³±«²¬ ±º ®»-»®ª»- ±² ¸¿²¼ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïí½
  ïì¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª» ¿²§ °¿§³»²¬- º±® ·²¼±±® ¬¿²²·²¹ -»®ª·½»- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                      ïì¿         È
    ¾ ×º þÇ»-ôþ ¸¿- ·¬ º·´»¼ ¿ Ú±®³ éîð ¬± ®»°±®¬ ¬¸»-» °¿§³»²¬-á If "No," provide an explanation on Schedule O ¢¢¢¢¢¢¢¢¢                              ïì¾
  ïë ×- ¬¸» ±®¹¿²·¦¿¬·±² -«¾¶»½¬ ¬± ¬¸» -»½¬·±² ìçêð ¬¿¨ ±² °¿§³»²¬ø-÷ ±º ³±®» ¬¸¿² üïôðððôððð ·² ®»³«²»®¿¬·±² ±®
      »¨½»-- °¿®¿½¸«¬» °¿§³»²¬ø-÷ ¼«®·²¹ ¬¸» §»¿®á¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                              ïë          È
      ×º þÇ»-ôþ -»» ·²-¬®«½¬·±²- ¿²¼ º·´» Ú±®³ ìéîðô Í½¸»¼«´» Òò
  ïê ×- ¬¸» ±®¹¿²·¦¿¬·±² ¿² »¼«½¿¬·±²¿´ ·²-¬·¬«¬·±² -«¾¶»½¬ ¬± ¬¸» -»½¬·±² ìçêè »¨½·-» ¬¿¨ ±² ²»¬ ·²ª»-¬³»²¬ ·²½±³»á ¢¢¢¢¢¢                            ïê          È
      ×º þÇ»-ôþ ½±³°´»¬» Ú±®³ ìéîðô Í½¸»¼«´» Ñò
                                                                                                                                                       Ú±®³ ççð øîðïç÷

  çíîððë ðïóîðóîð


ðçìëïîïð éëçïîð ëðçëòéðð                                      îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷       ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                        çëóìëéðîëí               Ð¿¹» ê
   Ð¿®¬ Ê× Ù±ª»®²¿²½»ô Ó¿²¿¹»³»²¬ô ¿²¼ Ü·-½´±-«®» For each "Yes" response to lines 2 through 7b below, and for a "No" response
               to line 8a, 8b, or 10b below, describe the circumstances, processes, or changes on Schedule O. See instructions.

               Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ Ê×       ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                   È
  Í»½¬·±² ßò Ù±ª»®²·²¹ Þ±¼§ ¿²¼ Ó¿²¿¹»³»²¬
                                                                                                                                                         Ç»-   Ò±
   ï¿ Û²¬»® ¬¸» ²«³¾»® ±º ª±¬·²¹ ³»³¾»®- ±º ¬¸» ¹±ª»®²·²¹ ¾±¼§ ¿¬ ¬¸» »²¼ ±º ¬¸» ¬¿¨ §»¿® ¢¢¢¢¢¢                       ï¿                      è
      ×º ¬¸»®» ¿®» ³¿¬»®·¿´ ¼·ºº»®»²½»- ·² ª±¬·²¹ ®·¹¸¬- ¿³±²¹ ³»³¾»®- ±º ¬¸» ¹±ª»®²·²¹ ¾±¼§ô ±® ·º ¬¸» ¹±ª»®²·²¹
      ¾±¼§ ¼»´»¹¿¬»¼ ¾®±¿¼ ¿«¬¸±®·¬§ ¬± ¿² »¨»½«¬·ª» ½±³³·¬¬»» ±® -·³·´¿® ½±³³·¬¬»»ô »¨°´¿·² ±² Í½¸»¼«´» Ñò
    ¾ Û²¬»® ¬¸» ²«³¾»® ±º ª±¬·²¹ ³»³¾»®- ·²½´«¼»¼ ±² ´·²» ï¿ô ¿¾±ª»ô ©¸± ¿®» ·²¼»°»²¼»²¬ ¢¢¢¢¢¢                               ï¾                  é
   î  Ü·¼  ¿²§  ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô ±® µ»§  »³°´±§»»   ¸¿ª»  ¿  º¿³·´§  ®»´¿¬·±²-¸·°   ±®  ¿ ¾«-·²»--  ®»´¿¬·±²-¸·°   ©·¬¸ ¿²§    ±¬¸»®
      ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô ±® µ»§ »³°´±§»»á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                          î         È
   í  Ü·¼  ¬¸» ±®¹¿²·¦¿¬·±²   ¼»´»¹¿¬»   ½±²¬®±´  ±ª»® ³¿²¿¹»³»²¬      ¼«¬·»-  ½«-¬±³¿®·´§    °»®º±®³»¼    ¾§  ±® «²¼»®   ¬¸» ¼·®»½¬  -«°»®ª·-·±²
      ±º ±ºº·½»®-ô ¼·®»½¬±®-ô ¬®«-¬»»-ô ±® µ»§ »³°´±§»»- ¬± ¿ ³¿²¿¹»³»²¬ ½±³°¿²§ ±® ±¬¸»® °»®-±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    í   È
   ì  Ü·¼  ¬¸» ±®¹¿²·¦¿¬·±²   ³¿µ»    ¿²§ -·¹²·º·½¿²¬ ½¸¿²¹»-   ¬± ·¬- ¹±ª»®²·²¹    ¼±½«³»²¬-       -·²½» ¬¸» °®·±® Ú±®³   ççð  ©¿-   º·´»¼á ¢¢¢¢¢   ì         È
   ë  Ü·¼  ¬¸» ±®¹¿²·¦¿¬·±²   ¾»½±³»    ¿©¿®»   ¼«®·²¹ ¬¸» §»¿®  ±º ¿  -·¹²·º·½¿²¬  ¼·ª»®-·±²   ±º  ¬¸» ±®¹¿²·¦¿¬·±²ù-   ¿--»¬-á   ¢¢¢¢¢¢¢¢¢         ë         È
   ê  Ü·¼  ¬¸» ±®¹¿²·¦¿¬·±²   ¸¿ª»   ³»³¾»®-    ±® -¬±½µ¸±´¼»®-á    ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                              ê         È
   é¿ Ü·¼  ¬¸» ±®¹¿²·¦¿¬·±²   ¸¿ª»   ³»³¾»®-ô    -¬±½µ¸±´¼»®-ô  ±® ±¬¸»®   °»®-±²-    ©¸±  ¸¿¼   ¬¸»  °±©»®  ¬± »´»½¬  ±® ¿°°±·²¬  ±²»    ±®
      ³±®» ³»³¾»®- ±º ¬¸» ¹±ª»®²·²¹ ¾±¼§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                é¿         È
    ¾ ß®» ¿²§ ¹±ª»®²¿²½» ¼»½·-·±²- ±º ¬¸» ±®¹¿²·¦¿¬·±² ®»-»®ª»¼ ¬± ø±® -«¾¶»½¬ ¬± ¿°°®±ª¿´ ¾§÷ ³»³¾»®-ô -¬±½µ¸±´¼»®-ô ±®
      °»®-±²- ±¬¸»® ¬¸¿² ¬¸» ¹±ª»®²·²¹ ¾±¼§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                              é¾         È
   è  Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±²  ½±²¬»³°±®¿²»±«-´§   ¼±½«³»²¬  ¬¸» ³»»¬·²¹-   ¸»´¼ ±® ©®·¬¬»² ¿½¬·±²-  «²¼»®¬¿µ»²  ¼«®·²¹ ¬¸» §»¿® ¾§ ¬¸» º±´´±©·²¹æ
     ¿ Ì¸» ¹±ª»®²·²¹ ¾±¼§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                     è¿    È
     ¾ Û¿½¸ ½±³³·¬¬»» ©·¬¸ ¿«¬¸±®·¬§ ¬± ¿½¬ ±² ¾»¸¿´º ±º ¬¸» ¹±ª»®²·²¹ ¾±¼§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            è¾    È
   ç  ×- ¬¸»®» ¿²§ ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô ±® µ»§ »³°´±§»» ´·-¬»¼ ·² Ð¿®¬ Ê××ô Í»½¬·±² ßô ©¸± ½¿²²±¬ ¾» ®»¿½¸»¼ ¿¬ ¬¸»
      ±®¹¿²·¦¿¬·±²ù- ³¿·´·²¹ ¿¼¼®»--á If "Yes," provide the names and addresses on Schedule O ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                     ç          È
  Í»½¬·±² Þò Ð±´·½·»- (This Section B requests information about policies not required by the Internal Revenue Code.)
                                                                                                                                                         Ç»-   Ò±
  ïð¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ´±½¿´ ½¸¿°¬»®-ô ¾®¿²½¸»-ô ±® ¿ºº·´·¿¬»-á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ïð¿         È
    ¾ ×º þÇ»-ôþ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ©®·¬¬»² °±´·½·»- ¿²¼ °®±½»¼«®»- ¹±ª»®²·²¹ ¬¸» ¿½¬·ª·¬·»- ±º -«½¸ ½¸¿°¬»®-ô ¿ºº·´·¿¬»-ô
      ¿²¼ ¾®¿²½¸»- ¬± »²-«®» ¬¸»·® ±°»®¿¬·±²- ¿®» ½±²-·-¬»²¬ ©·¬¸ ¬¸» ±®¹¿²·¦¿¬·±²ù- »¨»³°¬ °«®°±-»-á ¢¢¢¢¢¢¢¢¢¢¢¢¢                                ïð¾
  ïï¿ Ø¿- ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼»¼ ¿ ½±³°´»¬» ½±°§ ±º ¬¸·- Ú±®³ ççð ¬± ¿´´ ³»³¾»®- ±º ·¬- ¹±ª»®²·²¹ ¾±¼§ ¾»º±®» º·´·²¹ ¬¸» º±®³á                  ïï¿         È
    ¾ Ü»-½®·¾» ·² Í½¸»¼«´» Ñ ¬¸» °®±½»--ô ·º ¿²§ô «-»¼ ¾§ ¬¸» ±®¹¿²·¦¿¬·±² ¬± ®»ª·»© ¬¸·- Ú±®³ ççðò
  ïî¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ©®·¬¬»² ½±²º´·½¬ ±º ·²¬»®»-¬ °±´·½§á If "No," go to line 13 ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                ïî¿   È
    ¾ É»®» ±ºº·½»®-ô ¼·®»½¬±®-ô ±® ¬®«-¬»»-ô ¿²¼ µ»§ »³°´±§»»- ®»¯«·®»¼ ¬± ¼·-½´±-» ¿²²«¿´´§ ·²¬»®»-¬- ¬¸¿¬ ½±«´¼ ¹·ª» ®·-» ¬± ½±²º´·½¬-á ¢¢¢¢¢¢   ïî¾   È
    ½ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»¹«´¿®´§ ¿²¼ ½±²-·-¬»²¬´§ ³±²·¬±® ¿²¼ »²º±®½» ½±³°´·¿²½» ©·¬¸ ¬¸» °±´·½§á If "Yes," describe
      in Schedule O how this was done ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                ïî½   È
  ïí Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ©®·¬¬»² ©¸·-¬´»¾´±©»® °±´·½§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                   ïí    È
  ïì Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ©®·¬¬»² ¼±½«³»²¬ ®»¬»²¬·±² ¿²¼ ¼»-¬®«½¬·±² °±´·½§á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                         ïì    È
  ïë Ü·¼ ¬¸» °®±½»-- º±® ¼»¬»®³·²·²¹ ½±³°»²-¿¬·±² ±º ¬¸» º±´´±©·²¹ °»®-±²- ·²½´«¼» ¿ ®»ª·»© ¿²¼ ¿°°®±ª¿´ ¾§ ·²¼»°»²¼»²¬
      °»®-±²-ô ½±³°¿®¿¾·´·¬§ ¼¿¬¿ô ¿²¼ ½±²¬»³°±®¿²»±«- -«¾-¬¿²¬·¿¬·±² ±º ¬¸» ¼»´·¾»®¿¬·±² ¿²¼ ¼»½·-·±²á
    ¿ Ì¸» ±®¹¿²·¦¿¬·±²ù- ÝÛÑô Û¨»½«¬·ª» Ü·®»½¬±®ô ±® ¬±° ³¿²¿¹»³»²¬ ±ºº·½·¿´ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ïë¿         È
    ¾ Ñ¬¸»® ±ºº·½»®- ±® µ»§ »³°´±§»»- ±º ¬¸» ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                     ïë¾         È
      ×º þÇ»-þ ¬± ´·²» ïë¿ ±® ïë¾ô ¼»-½®·¾» ¬¸» °®±½»-- ·² Í½¸»¼«´» Ñ ø-»» ·²-¬®«½¬·±²-÷ò
  ïê¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²ª»-¬ ·²ô ½±²¬®·¾«¬» ¿--»¬- ¬±ô ±® °¿®¬·½·°¿¬» ·² ¿ ¶±·²¬ ª»²¬«®» ±® -·³·´¿® ¿®®¿²¹»³»²¬ ©·¬¸ ¿
      ¬¿¨¿¾´» »²¬·¬§ ¼«®·²¹ ¬¸» §»¿®á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                               ïê¿         È
    ¾ ×º þÇ»-ôþ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º±´´±© ¿ ©®·¬¬»² °±´·½§ ±® °®±½»¼«®» ®»¯«·®·²¹ ¬¸» ±®¹¿²·¦¿¬·±² ¬± »ª¿´«¿¬» ·¬- °¿®¬·½·°¿¬·±²
      ·² ¶±·²¬ ª»²¬«®» ¿®®¿²¹»³»²¬- «²¼»® ¿°°´·½¿¾´» º»¼»®¿´ ¬¿¨ ´¿©ô ¿²¼ ¬¿µ» -¬»°- ¬± -¿º»¹«¿®¼ ¬¸» ±®¹¿²·¦¿¬·±²ù-
      »¨»³°¬ -¬¿¬«- ©·¬¸ ®»-°»½¬ ¬± -«½¸ ¿®®¿²¹»³»²¬-á ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                        ïê¾
  Í»½¬·±² Ýò Ü·-½´±-«®»
  ïé    Ô·-¬ ¬¸» -¬¿¬»- ©·¬¸ ©¸·½¸ ¿ ½±°§ ±º ¬¸·- Ú±®³ ççð ·- ®»¯«·®»¼ ¬± ¾» º·´»¼ J ÒÇ
  ïè    Í»½¬·±² êïðì ®»¯«·®»- ¿² ±®¹¿²·¦¿¬·±² ¬± ³¿µ» ·¬- Ú±®³- ïðîí øïðîì ±® ïðîìóßô ·º ¿°°´·½¿¾´»÷ô ççðô ¿²¼ ççðóÌ øÍ»½¬·±² ëðïø½÷øí÷- ±²´§÷ ¿ª¿·´¿¾´»
        º±® °«¾´·½ ·²-°»½¬·±²ò ×²¼·½¿¬» ¸±© §±« ³¿¼» ¬¸»-» ¿ª¿·´¿¾´»ò Ý¸»½µ ¿´´ ¬¸¿¬ ¿°°´§ò
               Ñ©² ©»¾-·¬»              ß²±¬¸»®ù- ©»¾-·¬»        È Ë°±² ®»¯«»-¬               Ñ¬¸»® (explain on Schedule O)
  ïç    Ü»-½®·¾» ±² Í½¸»¼«´» Ñ ©¸»¬¸»® ø¿²¼ ·º -±ô ¸±©÷ ¬¸» ±®¹¿²·¦¿¬·±² ³¿¼» ·¬- ¹±ª»®²·²¹ ¼±½«³»²¬-ô ½±²º´·½¬ ±º ·²¬»®»-¬ °±´·½§ô ¿²¼ º·²¿²½·¿´
        -¬¿¬»³»²¬- ¿ª¿·´¿¾´» ¬± ¬¸» °«¾´·½ ¼«®·²¹ ¬¸» ¬¿¨ §»¿®ò
  îð    Í¬¿¬» ¬¸» ²¿³»ô ¿¼¼®»--ô ¿²¼ ¬»´»°¸±²» ²«³¾»® ±º ¬¸» °»®-±² ©¸± °±--»--»- ¬¸» ±®¹¿²·¦¿¬·±²ù- ¾±±µ- ¿²¼ ®»½±®¼- ¤
        ÌØÛ ÑÎÙßÒ×ÆßÌ×ÑÒ ó îïîóêêïóëèðð
        ïéíî ïÍÌ ßÊÛÒËÛô ÐÓÞ îïëíëô ÒÛÉ ÇÑÎÕô ÒÇ                                                    ïðïîè
  çíîððê ðïóîðóîð                                                                                                                                  Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                     îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
            21-11221         Doc 2        Filed 06/30/21             Entered 06/30/21 19:05:36                                                                                            Main Document     Pg
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  Ú±®³ ççð øîðïç÷       ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                            çëóìëéðîëí                                                                                                                  Ð¿¹» é
  Ð¿®¬ Ê×× Ý±³°»²-¿¬·±² ±º Ñºº·½»®-ô Ü·®»½¬±®-ô Ì®«-¬»»-ô Õ»§ Û³°´±§»»-ô Ø·¹¸»-¬ Ý±³°»²-¿¬»¼
           Û³°´±§»»-ô ¿²¼ ×²¼»°»²¼»²¬ Ý±²¬®¿½¬±®-
                Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ Ê×× ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡
  Í»½¬·±² ßò Ñºº·½»®-ô Ü·®»½¬±®-ô Ì®«-¬»»-ô Õ»§ Û³°´±§»»-ô ¿²¼ Ø·¹¸»-¬ Ý±³°»²-¿¬»¼ Û³°´±§»»-
  ï¿ Ý±³°´»¬» ¬¸·- ¬¿¾´» º±® ¿´´ °»®-±²- ®»¯«·®»¼ ¬± ¾» ´·-¬»¼ò Î»°±®¬ ½±³°»²-¿¬·±² º±® ¬¸» ½¿´»²¼¿® §»¿® »²¼·²¹ ©·¬¸ ±® ©·¬¸·² ¬¸» ±®¹¿²·¦¿¬·±²ù- ¬¿¨ §»¿®ò
      { Ô·-¬ ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ½«®®»²¬ ±ºº·½»®-ô ¼·®»½¬±®-ô ¬®«-¬»»- ø©¸»¬¸»® ·²¼·ª·¼«¿´- ±® ±®¹¿²·¦¿¬·±²-÷ô ®»¹¿®¼´»-- ±º ¿³±«²¬ ±º ½±³°»²-¿¬·±²ò
  Û²¬»® óðó ·² ½±´«³²- øÜ÷ô øÛ÷ô ¿²¼ øÚ÷ ·º ²± ½±³°»²-¿¬·±² ©¿- °¿·¼ò
      { Ô·-¬ ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ½«®®»²¬ µ»§ »³°´±§»»-ô ·º ¿²§ò Í»» ·²-¬®«½¬·±²- º±® ¼»º·²·¬·±² ±º þµ»§ »³°´±§»»òþ
      { Ô·-¬ ¬¸» ±®¹¿²·¦¿¬·±²ù- º·ª» ½«®®»²¬ ¸·¹¸»-¬ ½±³°»²-¿¬»¼ »³°´±§»»- ø±¬¸»® ¬¸¿² ¿² ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô ±® µ»§ »³°´±§»»÷ ©¸± ®»½»·ª»¼ ®»°±®¬ó
  ¿¾´» ½±³°»²-¿¬·±² øÞ±¨ ë ±º Ú±®³ Éóî ¿²¼ñ±® Þ±¨ é ±º Ú±®³ ïðççóÓ×ÍÝ÷ ±º ³±®» ¬¸¿² üïððôððð º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ¿²¼ ¿²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²-ò
      { Ô·-¬ ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- º±®³»® ±ºº·½»®-ô µ»§ »³°´±§»»-ô ¿²¼ ¸·¹¸»-¬ ½±³°»²-¿¬»¼ »³°´±§»»- ©¸± ®»½»·ª»¼ ³±®» ¬¸¿² üïððôððð ±º
  ®»°±®¬¿¾´» ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ¿²¼ ¿²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²-ò
      { Ô·-¬ ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- º±®³»® ¼·®»½¬±®- ±® ¬®«-¬»»- ¬¸¿¬ ®»½»·ª»¼ô ·² ¬¸» ½¿°¿½·¬§ ¿- ¿ º±®³»® ¼·®»½¬±® ±® ¬®«-¬»» ±º ¬¸» ±®¹¿²·¦¿¬·±²ô
  ³±®» ¬¸¿² üïðôððð ±º ®»°±®¬¿¾´» ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ¿²¼ ¿²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²-ò
  Í»» ·²-¬®«½¬·±²- º±® ¬¸» ±®¼»® ·² ©¸·½¸ ¬± ´·-¬ ¬¸» °»®-±²- ¿¾±ª»ò
        Ý¸»½µ ¬¸·- ¾±¨ ·º ²»·¬¸»® ¬¸» ±®¹¿²·¦¿¬·±² ²±® ¿²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±² ½±³°»²-¿¬»¼ ¿²§ ½«®®»²¬ ±ºº·½»®ô ¼·®»½¬±®ô ±® ¬®«-¬»»ò
                          øß÷                               øÞ÷                  øÝ÷                       øÜ÷              øÛ÷                                                                                 øÚ÷
                   Ò¿³» ¿²¼ ¬·¬´»                       ßª»®¿¹»               Ð±-·¬·±²                 Î»°±®¬¿¾´»       Î»°±®¬¿¾´»                                                                          Û-¬·³¿¬»¼
                                                                    ø¼± ²±¬ ½¸»½µ ³±®» ¬¸¿² ±²»
                                                       ¸±«®- °»® ¾±¨ô «²´»-- °»®-±² ·- ¾±¬¸ ¿²       ½±³°»²-¿¬·±²     ½±³°»²-¿¬·±²                                                                          ¿³±«²¬ ±º
                                                                    ±ºº·½»® ¿²¼ ¿ ¼·®»½¬±®ñ¬®«-¬»»÷
                                                          ©»»µ     ×²¼·ª·¼«¿´ ¬®«-¬»» ±® ¼·®»½¬±®         º®±³         º®±³ ®»´¿¬»¼                                                                            ±¬¸»®
                                                        ø´·-¬ ¿²§                                          ¬¸»        ±®¹¿²·¦¿¬·±²-                                                                       ½±³°»²-¿¬·±²
                                                       ¸±«®- º±®                                      ±®¹¿²·¦¿¬·±²  øÉóîñïðççóÓ×ÍÝ÷                                                                          º®±³ ¬¸»



                                                                                                                                                     Ø·¹¸»-¬ ½±³°»²-¿¬»¼
                                                                                                    ×²-¬·¬«¬·±²¿´ ¬®«-¬»»

                                                         ®»´¿¬»¼                                    øÉóîñïðççóÓ×ÍÝ÷                                                                                        ±®¹¿²·¦¿¬·±²
                                                     ±®¹¿²·¦¿¬·±²-                                                                    Õ»§ »³°´±§»»                                                         ¿²¼ ®»´¿¬»¼

                                                                                                                                                     »³°´±§»»
                                                          ¾»´±©                                                                                                                                           ±®¹¿²·¦¿¬·±²-

                                                                                                                                                                           Ú±®³»®
                                                                                                                            Ñºº·½»®




                                                           ´·²»÷
  øï÷ ÎÑÞÛÎÌ ÇßÇßÝ                                     ìðòðð
  ÐÎÛÍÜ×ÛÒÌ ßÒÜ ÝÛÑ                                                È                                                        È                                                        èìôðððò         ðò              ðò
  øî÷ Ó×ÝØßÛÔ Üò Î×ÝØ                                    ðòëð
  ÌÎËÍÌÛÛ                                                          È                                                                                                                      ðò         ðò              ðò
  øí÷ ÛÜËßÎÜÑ Öò ÓßÎÌ×ô ÐØòÜò                            ðòëð
  ÌÎËÍÌÛÛ                                                          È                                                                                                                      ðò         ðò              ðò
  øì÷ ÜÛÒÒ×Í ÞÎÑÉÒ                                       ðòëð
  ÌÎËÍÌÛÛ                                                          È                                                                                                                      ðò         ðò              ðò
  øë÷ Ó×ÝØßÛÔ ÚÛËÛÎô ÐØòÜò                               ðòëð
  ÌÎËÍÌÛÛ                                                          È                                                                                                                      ðò         ðò              ðò
  øê÷ Ü×ßÒÛ ÚÛÎÙËÍÑÒ                                     ðòëð
  ÌÎËÍÌÛÛ                                                          È                                                                                                                      ðò         ðò              ðò
  øé÷ Î×ÝØßÎÜ ßÌÕ×ÒÍÑÒ                                   ðòëð
  ÌÎËÍÌÛÛ øÎÛÍ×ÙÒÛÜ÷                                               È                                                                                                                      ðò         ðò              ðò
  øè÷ Î×ÝØßÎÜ ÚÑÍÌÛÎ                                     ðòëð
  ÌÎËÍÌÛÛ øÎÛÍ×ÙÒÛÜ÷                                               È                                                                                                                      ðò         ðò              ðò
  øç÷ ÎÑÙÛÎ ÞÛÒÖßÓ×Ò                                   ìðòðð
  ÚÑÎÓÛÎ ÐÎÛÍ×ÜÛÒÌ                                                 È                                                        È                                                       îîéôîêìò         ðò       ëôðíìò
  øïð÷ ÜÑÎ×Í ÆßØÒÛÎ                                    ìðòðð
  ÝØ×ÛÚ ßÝßÜÛÓ×Ý ÑÚÚ×ÝÛÎ                                                                                                              È                                             ïéèôëìëò         ðò       éôðçíò
  øïï÷ ÖßÓÛÍ ØËÒÜÔÛÇ                                   ìðòðð
  ÚÑÎÓÛÎ Ê×ÝÛ ÐÎÛÍ×ÜÛÒÌ                                                                                                               È                                             îîíôèïêò         ðò       éôíïèò
  øïî÷ Ó×ÝØÛÔÛ ÑÞÛÎÔÇ                                  ìðòðð
  Ü×ÎÛÝÌÑÎ ÑÚ ÌÛÍÌ ÜÛÊÛÔÑÐÓÛÒÌ                                                                                                                           È                          ïïèôéðïò         ðò       ìôêðèò
  øïí÷ ÍÌßÝÛÇ ÍÐßÎÕÍ                                   ìðòðð
  ÛÜ×ÌÑÎ×ßÔ Ü×ÎÛÝÌÑÎ                                                                                                                                     È                          ïìîôéîéò         ðò       éôíèéò
  øïì÷ ÌØÑÓßÍ Öò ÐËÐÐß                                 ìðòðð
  ÚÑÎÓÛÎ ÙÛÒÛÎßÔ ÝÑËÒÍÛÔ                                                                                                                                 È                          îïìôêéìò         ðò              ðò




  çíîððé ðïóîðóîð                                                                                                                                                                                         Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                  îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷                ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                 çëóìëéðîëí          Ð¿¹» è
  Ð¿®¬ Ê×× Í»½¬·±² ßò Ñºº·½»®-ô Ü·®»½¬±®-ô Ì®«-¬»»-ô Õ»§ Û³°´±§»»-ô ¿²¼ Ø·¹¸»-¬ Ý±³°»²-¿¬»¼ Û³°´±§»»- (continued)
                      øß÷                              øÞ÷                 øÝ÷                       øÜ÷             øÛ÷            øÚ÷
                  Ò¿³» ¿²¼ ¬·¬´»                   ßª»®¿¹»              Ð±-·¬·±²                 Î»°±®¬¿¾´»       Î»°±®¬¿¾´»    Û-¬·³¿¬»¼
                                                              ø¼± ²±¬ ½¸»½µ ³±®» ¬¸¿² ±²»
                                                  ¸±«®- °»® ¾±¨ô «²´»-- °»®-±² ·- ¾±¬¸ ¿²      ½±³°»²-¿¬·±²    ½±³°»²-¿¬·±²     ¿³±«²¬ ±º
                                                              ±ºº·½»® ¿²¼ ¿ ¼·®»½¬±®ñ¬®«-¬»»÷
                                                     ©»»µ                                           º®±³         º®±³ ®»´¿¬»¼      ±¬¸»®
                                                   ø´·-¬ ¿²§




                                                                  ×²¼·ª·¼«¿´ ¬®«-¬»» ±® ¼·®»½¬±®
                                                                                                     ¬¸»        ±®¹¿²·¦¿¬·±²- ½±³°»²-¿¬·±²
                                                  ¸±«®- º±®                                     ±®¹¿²·¦¿¬·±²  øÉóîñïðççóÓ×ÍÝ÷    º®±³ ¬¸»




                                                                                                                                                    Ø·¹¸»-¬ ½±³°»²-¿¬»¼
                                                    ®»´¿¬»¼




                                                                                                   ×²-¬·¬«¬·±²¿´ ¬®«-¬»»
                                                                                              øÉóîñïðççóÓ×ÍÝ÷                  ±®¹¿²·¦¿¬·±²
                                                ±®¹¿²·¦¿¬·±²-                                                                  ¿²¼ ®»´¿¬»¼




                                                                                                                                     Õ»§ »³°´±§»»
                                                     ¾»´±©




                                                                                                                                                    »³°´±§»»
                                                                                                                              ±®¹¿²·¦¿¬·±²-




                                                                                                                                                                          Ú±®³»®
                                                                                                                           Ñºº·½»®
                                                      ´·²»÷




   ï¾    Í«¾¬±¬¿´ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤                                          ïôïèçôéîéò                           ðò                                                                            íïôììðò
     ½   Ì±¬¿´ º®±³ ½±²¬·²«¿¬·±² -¸»»¬- ¬± Ð¿®¬ Ê××ô Í»½¬·±² ß ¢¢¢¢¢¢¢¢¢¢ ¤                                   ðò                    ðò                                                                                 ðò
     ¼   Ì±¬¿´ ø¿¼¼ ´·²»- ï¾ ¿²¼ ï½÷ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤                                ïôïèçôéîéò                           ðò                                                                            íïôììðò
   î     Ì±¬¿´ ²«³¾»® ±º ·²¼·ª·¼«¿´- ø·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¬¸±-» ´·-¬»¼ ¿¾±ª»÷ ©¸± ®»½»·ª»¼ ³±®» ¬¸¿² üïððôððð ±º ®»°±®¬¿¾´»
         ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ¤                                                                                                                                                                                ê
                                                                                                                                                                                                                   Ç»-   Ò±
   í   Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ´·-¬ ¿²§ º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô ¬®«-¬»»ô µ»§ »³°´±§»»ô ±® ¸·¹¸»-¬ ½±³°»²-¿¬»¼ »³°´±§»» ±²
       ´·²» ï¿á If "Yes," complete Schedule J for such individual ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                                                           í          È
   ì Ú±® ¿²§ ·²¼·ª·¼«¿´ ´·-¬»¼ ±² ´·²» ï¿ô ·- ¬¸» -«³ ±º ®»°±®¬¿¾´» ½±³°»²-¿¬·±² ¿²¼ ±¬¸»® ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±²
       ¿²¼ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ¹®»¿¬»® ¬¸¿² üïëðôðððá If "Yes," complete Schedule J for such individual¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                                        ì     È
   ë Ü·¼ ¿²§ °»®-±² ´·-¬»¼ ±² ´·²» ï¿ ®»½»·ª» ±® ¿½½®«» ½±³°»²-¿¬·±² º®±³ ¿²§ «²®»´¿¬»¼ ±®¹¿²·¦¿¬·±² ±® ·²¼·ª·¼«¿´ º±® -»®ª·½»-
       ®»²¼»®»¼ ¬± ¬¸» ±®¹¿²·¦¿¬·±²á If "Yes," complete Schedule J for such person ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                                                                   ë          È
   Í»½¬·±² Þò ×²¼»°»²¼»²¬ Ý±²¬®¿½¬±®-
   ï     Ý±³°´»¬» ¬¸·- ¬¿¾´» º±® §±«® º·ª» ¸·¹¸»-¬ ½±³°»²-¿¬»¼ ·²¼»°»²¼»²¬ ½±²¬®¿½¬±®- ¬¸¿¬ ®»½»·ª»¼ ³±®» ¬¸¿² üïððôððð ±º ½±³°»²-¿¬·±² º®±³
         ¬¸» ±®¹¿²·¦¿¬·±²ò Î»°±®¬ ½±³°»²-¿¬·±² º±® ¬¸» ½¿´»²¼¿® §»¿® »²¼·²¹ ©·¬¸ ±® ©·¬¸·² ¬¸» ±®¹¿²·¦¿¬·±²ù- ¬¿¨ §»¿®ò
                                              øß÷                                                           øÞ÷                        øÝ÷
                                Ò¿³» ¿²¼ ¾«-·²»-- ¿¼¼®»--                                         Ü»-½®·°¬·±² ±º -»®ª·½»-        Ý±³°»²-¿¬·±²
  É×ÔÔ×ßÓ ÎÑÞßÔ×ÒÑ
  îðí ÌÛÎÎßÝÛ ßÊÛÒËÛô ÖÛÎÍÛÇ Ý×ÌÇô ÒÖ ðéíðé                                                                                                                                        ÝÚÑ ÍÛÎÊ×ÝÛÍ               ïìêôìëèò
  ÐÎÇÑÎ ÝßÍØÓßÒ ÔÔÐ
  é Ì×ÓÛÍ ÍÏËßÎÛô ÒÛÉ ÇÑÎÕô ÒÇ ïððíê                                                                                                                                               ÔÛÙßÔ ÍÛÎÊ×ÝÛÍ             ïîçôîçéò




   î     Ì±¬¿´ ²«³¾»® ±º ·²¼»°»²¼»²¬ ½±²¬®¿½¬±®- ø·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¬¸±-» ´·-¬»¼ ¿¾±ª»÷ ©¸± ®»½»·ª»¼ ³±®» ¬¸¿²
         üïððôððð ±º ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ¤                        î
                                                                                                                                                                                                             Ú±®³ ççð øîðïç÷
  çíîððè ðïóîðóîð


ðçìëïîïð éëçïîð ëðçëòéðð                                 îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
                                    21-11221              Doc 2          Filed 06/30/21          Entered 06/30/21 19:05:36           Main Document                Pg
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   Ú±®³ ççð øîðïç÷                                     ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                       çëóìëéðîëí              Ð¿¹» ç
         Ð¿®¬ Ê×××                          Í¬¿¬»³»²¬ ±º Î»ª»²«»
                                            Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ Ê××× ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡
                                                                                                                øß÷                øÞ÷              øÝ÷             øÜ÷
                                                                                                         Ì±¬¿´ ®»ª»²«»     Î»´¿¬»¼ ±® »¨»³°¬    Ë²®»´¿¬»¼    Î»ª»²«» »¨½´«¼»¼
                                                                                                                            º«²½¬·±² ®»ª»²«» ¾«-·²»-- ®»ª»²«» º®±³ ¬¿¨ «²¼»®
                                                                                                                                                             -»½¬·±²- ëïî ó ëïì
  Ý±²¬®·¾«¬·±²-ô Ù·º¬-ô Ù®¿²¬-
  ¿²¼ Ñ¬¸»® Í·³·´¿® ß³±«²¬-




                                  ï ¿   Ú»¼»®¿¬»¼ ½¿³°¿·¹²- ¢¢¢¢¢                     ï¿
                                    ¾   Ó»³¾»®-¸·° ¼«»- ¢¢¢¢¢¢¢                       ï¾
                                    ½   Ú«²¼®¿·-·²¹ »ª»²¬- ¢¢¢¢¢¢¢                    ï½
                                    ¼   Î»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ¢¢¢¢¢                   ï¼
                                    »   Ù±ª»®²³»²¬ ¹®¿²¬- ø½±²¬®·¾«¬·±²-÷             ï»
                                    º   ß´´ ±¬¸»® ½±²¬®·¾«¬·±²-ô ¹·º¬-ô ¹®¿²¬-ô ¿²¼
                                        -·³·´¿® ¿³±«²¬- ²±¬ ·²½´«¼»¼ ¿¾±ª» ¢        ïº
                                    ¹ Ò±²½¿-¸ ½±²¬®·¾«¬·±²- ·²½´«¼»¼ ·² ´·²»- ï¿óïº ï¹ ü
                                    ¸ Ì±¬¿´ò ß¼¼ ´·²»- ï¿óïº ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
                                                                                             Business Code
                                  î ¿ ÚÛÛÍ ßÒÜ ÝÑÒÌÎßÝÌÍ                                     êïïéïð íôïîìôêëëòíôïîìôêëëò
  Ð®±¹®¿³ Í»®ª·½»




                                    ¾ ÌÛÍÌ×ÒÙ ÚÛÛÍ                                           êïïéïð ïôïïïôçííòïôïïïôçííò
     Î»ª»²«»




                                    ½
                                    ¼
                                    »
                                    º ß´´ ±¬¸»® °®±¹®¿³ -»®ª·½» ®»ª»²«» ¢¢¢¢¢
                                    ¹ Ì±¬¿´ò ß¼¼ ´·²»- î¿óîº ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤                             ìôîíêôëèèò
                                  í   ×²ª»-¬³»²¬ ·²½±³» ø·²½´«¼·²¹ ¼·ª·¼»²¼-ô ·²¬»®»-¬ô ¿²¼
                                      ±¬¸»® -·³·´¿® ¿³±«²¬-÷¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤                                  ìôðïîò                                            ìôðïîò
                                  ì   ×²½±³» º®±³ ·²ª»-¬³»²¬ ±º ¬¿¨ó»¨»³°¬ ¾±²¼ °®±½»»¼-         ¤
                                  ë   Î±§¿´¬·»- ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
                                                                        ø·÷ Î»¿´      ø··÷ Ð»®-±²¿´
                                  ê ¿ Ù®±-- ®»²¬- ¢¢¢¢¢                 ê¿
                                    ¾ Ô»--æ ®»²¬¿´ »¨°»²-»- ¢           ê¾
                                    ½ Î»²¬¿´ ·²½±³» ±® ø´±--÷           ê½
                                    ¼ Ò»¬ ®»²¬¿´ ·²½±³» ±® ø´±--÷        ¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
                                  é ¿ Ù®±-- ¿³±«²¬ º®±³ -¿´»- ±º           ø·÷ Í»½«®·¬·»- ø··÷ Ñ¬¸»®
                                      ¿--»¬- ±¬¸»® ¬¸¿² ·²ª»²¬±®§       é¿
                                    ¾ Ô»--æ ½±-¬ ±® ±¬¸»® ¾¿-·-
       Ñ¬¸»® Î»ª»²«»




                                      ¿²¼ -¿´»- »¨°»²-»- ¢¢¢      é¾
                                    ½ Ù¿·² ±® ø´±--÷ ¢¢¢¢¢ é½
                                    ¼ Ò»¬ ¹¿·² ±® ø´±--÷ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
                                  è ¿ Ù®±-- ·²½±³» º®±³ º«²¼®¿·-·²¹ »ª»²¬- ø²±¬
                                      ·²½´«¼·²¹ ü                             ±º
                                        ½±²¬®·¾«¬·±²- ®»°±®¬»¼ ±² ´·²» ï½÷ò Í»»
                                        Ð¿®¬ ×Êô ´·²» ïè ¢¢¢¢¢¢¢¢¢¢¢¢ è¿
                                    ¾   Ô»--æ ¼·®»½¬ »¨°»²-»-¢¢¢¢¢¢¢¢¢ è¾
                                    ½   Ò»¬ ·²½±³» ±® ø´±--÷ º®±³ º«²¼®¿·-·²¹ »ª»²¬- ¡¡¡¡¡ ¤
                                  ç ¿   Ù®±-- ·²½±³» º®±³ ¹¿³·²¹ ¿½¬·ª·¬·»-ò Í»»
                                        Ð¿®¬ ×Êô ´·²» ïç ¢¢¢¢¢¢¢¢¢¢¢¢ ç¿
                                    ¾   Ô»--æ ¼·®»½¬ »¨°»²-»- ¢¢¢¢¢¢¢¢ ç¾
                                    ½   Ò»¬ ·²½±³» ±® ø´±--÷ º®±³ ¹¿³·²¹ ¿½¬·ª·¬·»- ¡¡¡¡¡¡ ¤
                                 ïð ¿   Ù®±-- -¿´»- ±º ·²ª»²¬±®§ô ´»-- ®»¬«®²-
                                        ¿²¼ ¿´´±©¿²½»- ¢¢¢¢¢¢¢¢¢¢¢¢ ïð¿
                                    ¾   Ô»--æ ½±-¬ ±º ¹±±¼- -±´¼ ¢¢¢¢¢¢¢ ïð¾
                                    ½   Ò»¬ ·²½±³» ±® ø´±--÷ º®±³ -¿´»- ±º ·²ª»²¬±®§ ¡¡¡¡¡¡ ¤
                                                                                             Business Code
  Ó·-½»´´¿²»±«-




                                 ïï ¿
    Î»ª»²«»




                                    ¾
                                    ½
                                    ¼ ß´´ ±¬¸»® ®»ª»²«» ¢¢¢¢¢¢¢¢¢¢¢¢¢
                                    » Ì±¬¿´ò ß¼¼ ´·²»- ïï¿óïï¼ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
                                 ïî   Ì±¬¿´ ®»ª»²«»ò Í»» ·²-¬®«½¬·±²- ¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤                        ìôîìðôêððòìôîíêôëèèò                         ðò       ìôðïîò
   çíîððç ðïóîðóîð                                                                                                                                             Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷        ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                             çëóìëéðîëí    Ð¿¹» ïð
   Ð¿®¬ ×È Í¬¿¬»³»²¬ ±º Ú«²½¬·±²¿´ Û¨°»²-»-
  Section 501(c)(3) and 501(c)(4) organizations must complete all columns. All other organizations must complete column (A).
                  Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ ×È ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                  È
   Do not include amounts reported on lines 6b,                   øß÷                       øÞ÷              øÝ÷           øÜ÷
   7b, 8b, 9b, and 10b of Part VIII.                        Ì±¬¿´ »¨°»²-»-           Ð®±¹®¿³ -»®ª·½»  Ó¿²¿¹»³»²¬ ¿²¼   Ú«²¼®¿·-·²¹
                                                                                        »¨°»²-»-      ¹»²»®¿´ »¨°»²-»-  »¨°»²-»-
    ï Ù®¿²¬- ¿²¼ ±¬¸»® ¿--·-¬¿²½» ¬± ¼±³»-¬·½ ±®¹¿²·¦¿¬·±²-
        ¿²¼ ¼±³»-¬·½ ¹±ª»®²³»²¬-ò Í»» Ð¿®¬ ×Êô ´·²» îï ¢
   î    Ù®¿²¬- ¿²¼ ±¬¸»® ¿--·-¬¿²½» ¬± ¼±³»-¬·½
        ·²¼·ª·¼«¿´-ò Í»» Ð¿®¬ ×Êô ´·²» îî ¢¢¢¢¢¢¢
   í    Ù®¿²¬- ¿²¼ ±¬¸»® ¿--·-¬¿²½» ¬± º±®»·¹²
        ±®¹¿²·¦¿¬·±²-ô º±®»·¹² ¹±ª»®²³»²¬-ô ¿²¼ º±®»·¹²
        ·²¼·ª·¼«¿´-ò Í»» Ð¿®¬ ×Êô ´·²»- ïë ¿²¼ ïê ¢¢¢
   ì    Þ»²»º·¬- °¿·¼ ¬± ±® º±® ³»³¾»®- ¢¢¢¢¢¢¢
   ë    Ý±³°»²-¿¬·±² ±º ½«®®»²¬ ±ºº·½»®-ô ¼·®»½¬±®-ô
        ¬®«-¬»»-ô ¿²¼ µ»§ »³°´±§»»- ¢¢¢¢¢¢¢¢                          ëïìôëìëò          ìèïôêçðò                  íîôèëëò
   ê    Ý±³°»²-¿¬·±² ²±¬ ·²½´«¼»¼ ¿¾±ª» ¬± ¼·-¯«¿´·º·»¼
        °»®-±²- ø¿- ¼»º·²»¼ «²¼»® -»½¬·±² ìçëèøº÷øï÷÷ ¿²¼
        °»®-±²- ¼»-½®·¾»¼ ·² -»½¬·±² ìçëèø½÷øí÷øÞ÷ ¢¢¢
   é    Ñ¬¸»® -¿´¿®·»- ¿²¼ ©¿¹»- ¢¢¢¢¢¢¢¢¢¢                           éççôíëèò          éìèôíïêò                  ëïôðìîò
   è    Ð»²-·±² °´¿² ¿½½®«¿´- ¿²¼ ½±²¬®·¾«¬·±²- ø·²½´«¼»
        -»½¬·±² ìðïøµ÷ ¿²¼ ìðíø¾÷ »³°´±§»® ½±²¬®·¾«¬·±²-÷
   ç    Ñ¬¸»® »³°´±§»» ¾»²»º·¬- ¢¢¢¢¢¢¢¢¢¢                            îìðôèéçò          îïìôïèêò                  îêôêçíò
  ïð    Ð¿§®±´´ ¬¿¨»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                ïððôðêïò           çëôïïðò                   ìôçëïò
  ïï    Ú»»- º±® -»®ª·½»- ø²±²»³°´±§»»-÷æ
    ¿   Ó¿²¿¹»³»²¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    ¾   Ô»¹¿´ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    ïíïôïëéò            éêôêêïò                 ëìôìçêò
    ½   ß½½±«²¬·²¹ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    èôèððò             ëôïììò                  íôêëêò
    ¼   Ô±¾¾§·²¹ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    »   Ð®±º»--·±²¿´ º«²¼®¿·-·²¹ -»®ª·½»-ò Í»» Ð¿®¬ ×Êô ´·²» ïé
    º   ×²ª»-¬³»²¬ ³¿²¿¹»³»²¬ º»»- ¢¢¢¢¢¢¢¢
    ¹   Ñ¬¸»®ò ø×º ´·²» ïï¹ ¿³±«²¬ »¨½»»¼- ïðû ±º ´·²» îëô
        ½±´«³² øß÷ ¿³±«²¬ô ´·-¬ ´·²» ïï¹ »¨°»²-»- ±² Í½¸ Ñò÷        îôîéíôçïéò      îôðïéôïççò                  îëêôéïèò
  ïî    ß¼ª»®¬·-·²¹ ¿²¼ °®±³±¬·±² ¢¢¢¢¢¢¢¢¢                               ìíêò            íìïò                       çëò
  ïí    Ñºº·½» »¨°»²-»-¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                ïëîôéðíò        ïðîôéêèò                   ìçôçíëò
  ïì    ×²º±®³¿¬·±² ¬»½¸²±´±¹§ ¢¢¢¢¢¢¢¢¢¢¢
  ïë    Î±§¿´¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
  ïê    Ñ½½«°¿²½§ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                   íçëôíìðò          îíðôëðîò                ïêìôèíèò
  ïé    Ì®¿ª»´ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                     ëîôïëèò           ìîôéíëò                  çôìîíò
  ïè    Ð¿§³»²¬- ±º ¬®¿ª»´ ±® »²¬»®¬¿·²³»²¬ »¨°»²-»-
        º±® ¿²§ º»¼»®¿´ô -¬¿¬»ô ±® ´±½¿´ °«¾´·½ ±ºº·½·¿´- ¢
  ïç    Ý±²º»®»²½»-ô ½±²ª»²¬·±²-ô ¿²¼ ³»»¬·²¹- ¢¢                      ííôëíçò            îèôíççò                   ëôïìðò
  îð    ×²¬»®»-¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                     íôëèïò             îôðèèò                   ïôìçíò
  îï    Ð¿§³»²¬- ¬± ¿ºº·´·¿¬»- ¢¢¢¢¢¢¢¢¢¢¢¢
  îî    Ü»°®»½·¿¬·±²ô ¼»°´»¬·±²ô ¿²¼ ¿³±®¬·¦¿¬·±² ¢¢                   çéôïíëò            èçôçêîò                  éôïéíò
  îí    ×²-«®¿²½» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    íðôëðëò            ïèôêïìò                 ïïôèçïò
  îì    Ñ¬¸»® »¨°»²-»-ò ×¬»³·¦» »¨°»²-»- ²±¬ ½±ª»®»¼
        ¿¾±ª» øÔ·-¬ ³·-½»´´¿²»±«- »¨°»²-»- ±² ´·²» îì»ò ×º
        ´·²» îì» ¿³±«²¬ »¨½»»¼- ïðû ±º ´·²» îëô ½±´«³² øß÷
        ¿³±«²¬ô ´·-¬ ´·²» îì» »¨°»²-»- ±² Í½¸»¼«´» Ñò÷
    ¿ ÌÛÍÌ×ÒÙ ÑÐÛÎßÌ×ÑÒÍ                                              ïééôíêëò          ïééôíêëò
    ¾
    ½
    ¼
    » ß´´ ±¬¸»® »¨°»²-»-
  îë Ì±¬¿´ º«²½¬·±²¿´ »¨°»²-»-ò ß¼¼ ´·²»- ï ¬¸®±«¹¸ îì»             ëôðïïôìéçò      ìôííïôðèðò                  êèðôíççò                  ðò
  îê Ö±·²¬ ½±-¬-ò Ý±³°´»¬» ¬¸·- ´·²» ±²´§ ·º ¬¸» ±®¹¿²·¦¿¬·±²
      ®»°±®¬»¼ ·² ½±´«³² øÞ÷ ¶±·²¬ ½±-¬- º®±³ ¿ ½±³¾·²»¼
      »¼«½¿¬·±²¿´ ½¿³°¿·¹² ¿²¼ º«²¼®¿·-·²¹ -±´·½·¬¿¬·±²ò
        Ý¸»½µ ¸»®»   ¤       ·º º±´´±©·²¹ ÍÑÐ çèóî øßÍÝ çëèóéîð÷

  çíîðïð ðïóîðóîð                                                                                                              Ú±®³ ççð øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                                           îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷                                        ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                       çëóìëéðîëí      Ð¿¹» ïï
    Ð¿®¬ È                            Þ¿´¿²½» Í¸»»¬
                                      Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ È ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡
                                                                                                                             øß÷            øÞ÷
                                                                                                                      Þ»¹·²²·²¹ ±º §»¿® Û²¼ ±º §»¿®
                                 ï   Ý¿-¸ ó ²±²ó·²¬»®»-¬ó¾»¿®·²¹ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                 íððò ï          ïëçôéëèò
                                 î   Í¿ª·²¹- ¿²¼ ¬»³°±®¿®§ ½¿-¸ ·²ª»-¬³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       ïôìêíôèèîò î          ìèìôìêíò
                                 í   Ð´»¼¹»- ¿²¼ ¹®¿²¬- ®»½»·ª¿¾´»ô ²»¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                      í
                                 ì   ß½½±«²¬- ®»½»·ª¿¾´»ô ²»¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                               êçëôèëëò ì       ïôíïéôêëìò
                                 ë   Ô±¿²- ¿²¼ ±¬¸»® ®»½»·ª¿¾´»- º®±³ ¿²§ ½«®®»²¬ ±® º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô
                                     ¬®«-¬»»ô µ»§ »³°´±§»»ô ½®»¿¬±® ±® º±«²¼»®ô -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®ô ±® íëû
                                     ½±²¬®±´´»¼ »²¬·¬§ ±® º¿³·´§ ³»³¾»® ±º ¿²§ ±º ¬¸»-» °»®-±²- ¢¢¢¢¢¢¢¢¢                          ë
                                 ê Ô±¿²- ¿²¼ ±¬¸»® ®»½»·ª¿¾´»- º®±³ ±¬¸»® ¼·-¯«¿´·º·»¼ °»®-±²- ø¿- ¼»º·²»¼
                                     «²¼»® -»½¬·±² ìçëèøº÷øï÷÷ô ¿²¼ °»®-±²- ¼»-½®·¾»¼ ·² -»½¬·±² ìçëèø½÷øí÷øÞ÷ ¢¢                  ê
                                 é Ò±¬»- ¿²¼ ´±¿²- ®»½»·ª¿¾´»ô ²»¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                         é
  ß--»¬-




                                 è ×²ª»²¬±®·»- º±® -¿´» ±® «-» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          è
                                 ç Ð®»°¿·¼ »¨°»²-»- ¿²¼ ¼»º»®®»¼ ½¸¿®¹»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             éïôèèèò    ç        ííôèéíò
                                ïð ¿ Ô¿²¼ô ¾«·´¼·²¹-ô ¿²¼ »¯«·°³»²¬æ ½±-¬ ±® ±¬¸»®
                                     ¾¿-·-ò Ý±³°´»¬» Ð¿®¬ Ê× ±º Í½¸»¼«´» Ü ¢¢¢ ïð¿                    çéçôìíìò
                                   ¾ Ô»--æ ¿½½«³«´¿¬»¼ ¼»°®»½·¿¬·±² ¢¢¢¢¢¢ ïð¾                        èëîôïíëò         ïéïôìêèò ïð½        ïîéôîççò
                                ïï ×²ª»-¬³»²¬- ó °«¾´·½´§ ¬®¿¼»¼ -»½«®·¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                   ïï
                                ïî ×²ª»-¬³»²¬- ó ±¬¸»® -»½«®·¬·»-ò Í»» Ð¿®¬ ×Êô ´·²» ïï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢                            ïî
                                ïí ×²ª»-¬³»²¬- ó °®±¹®¿³ó®»´¿¬»¼ò Í»» Ð¿®¬ ×Êô ´·²» ïï ¢¢¢¢¢¢¢¢¢¢¢¢¢                              ïí
                                ïì ×²¬¿²¹·¾´» ¿--»¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                               ïì
                                ïë Ñ¬¸»® ¿--»¬-ò Í»» Ð¿®¬ ×Êô ´·²» ïï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             ïôêíëò   ïë        ïôêíëò
                                ïê Ì±¬¿´ ¿--»¬-ò ß¼¼ ´·²»- ï ¬¸®±«¹¸ ïë ø³«-¬ »¯«¿´ ´·²» íí÷ ¡¡¡¡¡¡¡¡¡¡              îôìðëôðîèò   ïê    îôïîìôêèîò
                                ïé ß½½±«²¬- °¿§¿¾´» ¿²¼ ¿½½®«»¼ »¨°»²-»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                            ëçèôëéìò   ïé      èïïôîïéò
                                ïè Ù®¿²¬- °¿§¿¾´» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                 ïè
                                ïç Ü»º»®®»¼ ®»ª»²«» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                   ïôíîéôîëçò   ïç    ïôïêëôçðëò
                                îð Ì¿¨ó»¨»³°¬ ¾±²¼ ´·¿¾·´·¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          îð
                                îï Û-½®±© ±® ½«-¬±¼·¿´ ¿½½±«²¬ ´·¿¾·´·¬§ò Ý±³°´»¬» Ð¿®¬ ×Ê ±º Í½¸»¼«´» Ü ¢¢¢¢                     îï
                                îî Ô±¿²- ¿²¼ ±¬¸»® °¿§¿¾´»- ¬± ¿²§ ½«®®»²¬ ±® º±®³»® ±ºº·½»®ô ¼·®»½¬±®ô
  Ô·¿¾·´·¬·»-




                                     ¬®«-¬»»ô µ»§ »³°´±§»»ô ½®»¿¬±® ±® º±«²¼»®ô -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®ô ±® íëû
                                     ½±²¬®±´´»¼ »²¬·¬§ ±® º¿³·´§ ³»³¾»® ±º ¿²§ ±º ¬¸»-» °»®-±²- ¢¢¢¢¢¢¢¢¢                         îî
                                îí    Í»½«®»¼ ³±®¬¹¿¹»- ¿²¼ ²±¬»- °¿§¿¾´» ¬± «²®»´¿¬»¼ ¬¸·®¼ °¿®¬·»- ¢¢¢¢¢¢                       îí
                                îì    Ë²-»½«®»¼ ²±¬»- ¿²¼ ´±¿²- °¿§¿¾´» ¬± «²®»´¿¬»¼ ¬¸·®¼ °¿®¬·»- ¢¢¢¢¢¢¢¢                       îì
                                îë    Ñ¬¸»® ´·¿¾·´·¬·»- ø·²½´«¼·²¹ º»¼»®¿´ ·²½±³» ¬¿¨ô °¿§¿¾´»- ¬± ®»´¿¬»¼ ¬¸·®¼
                                      °¿®¬·»-ô ¿²¼ ±¬¸»® ´·¿¾·´·¬·»- ²±¬ ·²½´«¼»¼ ±² ´·²»- ïéóîì÷ò Ý±³°´»¬» Ð¿®¬ È
                                      ±º Í½¸»¼«´» Ü ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    îïðôçíïò îë        êëðôïéëò
                                îê    Ì±¬¿´ ´·¿¾·´·¬·»-ò ß¼¼ ´·²»- ïé ¬¸®±«¹¸ îë ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                  îôïíêôéêìò îê      îôêîéôîçéò
                                      Ñ®¹¿²·¦¿¬·±²- ¬¸¿¬ º±´´±© ÚßÍÞ ßÍÝ çëèô ½¸»½µ ¸»®» ¤ È
  Ò»¬ ß--»¬- ±® Ú«²¼ Þ¿´¿²½»-




                                      ¿²¼ ½±³°´»¬» ´·²»- îéô îèô íîô ¿²¼ ííò
                                îé    Ò»¬ ¿--»¬- ©·¬¸±«¬ ¼±²±® ®»-¬®·½¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       îêèôîêìò îé        óëðîôêïëò
                                îè    Ò»¬ ¿--»¬- ©·¬¸ ¼±²±® ®»-¬®·½¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                   îè
                                      Ñ®¹¿²·¦¿¬·±²- ¬¸¿¬ ¼± ²±¬ º±´´±© ÚßÍÞ ßÍÝ çëèô ½¸»½µ ¸»®» ¤
                                      ¿²¼ ½±³°´»¬» ´·²»- îç ¬¸®±«¹¸ ííò
                                îç    Ý¿°·¬¿´ -¬±½µ ±® ¬®«-¬ °®·²½·°¿´ô ±® ½«®®»²¬ º«²¼- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                          îç
                                íð    Ð¿·¼ó·² ±® ½¿°·¬¿´ -«®°´«-ô ±® ´¿²¼ô ¾«·´¼·²¹ô ±® »¯«·°³»²¬ º«²¼ ¢¢¢¢¢¢¢¢                   íð
                                íï    Î»¬¿·²»¼ »¿®²·²¹-ô »²¼±©³»²¬ô ¿½½«³«´¿¬»¼ ·²½±³»ô ±® ±¬¸»® º«²¼- ¢¢¢¢                       íï
                                íî    Ì±¬¿´ ²»¬ ¿--»¬- ±® º«²¼ ¾¿´¿²½»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                         îêèôîêìò   íî     óëðîôêïëò
                                íí    Ì±¬¿´ ´·¿¾·´·¬·»- ¿²¼ ²»¬ ¿--»¬-ñº«²¼ ¾¿´¿²½»- ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                îôìðëôðîèò   íí    îôïîìôêèîò
                                                                                                                                         Ú±®³ ççð øîðïç÷




  çíîðïï ðïóîðóîð


ðçìëïîïð éëçïîð ëðçëòéðð                                                       îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Ú±®³ ççð øîðïç÷         ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                              çëóìëéðîëí             Ð¿¹» ïî
   Ð¿®¬ È× Î»½±²½·´·¿¬·±² ±º Ò»¬ ß--»¬-
                 Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ È× ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡

   ï       Ì±¬¿´ ®»ª»²«» ø³«-¬ »¯«¿´ Ð¿®¬ Ê×××ô ½±´«³² øß÷ô ´·²» ïî÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                            ï          ìôîìðôêððò
   î       Ì±¬¿´ »¨°»²-»- ø³«-¬ »¯«¿´ Ð¿®¬ ×Èô ½±´«³² øß÷ô ´·²» îë÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             î          ëôðïïôìéçò
   í       Î»ª»²«» ´»-- »¨°»²-»-ò Í«¾¬®¿½¬ ´·²» î º®±³ ´·²» ï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                 í           óééðôèéçò
   ì       Ò»¬ ¿--»¬- ±® º«²¼ ¾¿´¿²½»- ¿¬ ¾»¹·²²·²¹ ±º §»¿® ø³«-¬ »¯«¿´ Ð¿®¬ Èô ´·²» íîô ½±´«³² øß÷÷ ¢¢¢¢¢¢¢¢¢¢            ì            îêèôîêìò
   ë       Ò»¬ «²®»¿´·¦»¼ ¹¿·²- ø´±--»-÷ ±² ·²ª»-¬³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    ë
   ê       Ü±²¿¬»¼ -»®ª·½»- ¿²¼ «-» ±º º¿½·´·¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                      ê
   é       ×²ª»-¬³»²¬ »¨°»²-»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                 é
   è       Ð®·±® °»®·±¼ ¿¼¶«-¬³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                              è
   ç       Ñ¬¸»® ½¸¿²¹»- ·² ²»¬ ¿--»¬- ±® º«²¼ ¾¿´¿²½»- ø»¨°´¿·² ±² Í½¸»¼«´» Ñ÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                         ç                         ðò
  ïð       Ò»¬ ¿--»¬- ±® º«²¼ ¾¿´¿²½»- ¿¬ »²¼ ±º §»¿®ò Ý±³¾·²» ´·²»- í ¬¸®±«¹¸ ç ø³«-¬ »¯«¿´ Ð¿®¬ Èô ´·²» íîô
           ½±´«³² øÞ÷÷ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                    ïð             óëðîôêïëò
   Ð¿®¬ È×× Ú·²¿²½·¿´ Í¬¿¬»³»²¬- ¿²¼ Î»°±®¬·²¹
                 Ý¸»½µ ·º Í½¸»¼«´» Ñ ½±²¬¿·²- ¿ ®»-°±²-» ±® ²±¬» ¬± ¿²§ ´·²» ·² ¬¸·- Ð¿®¬ È×× ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                            È
                                                                                                                        Ç»-                          Ò±
   ï       ß½½±«²¬·²¹ ³»¬¸±¼ «-»¼ ¬± °®»°¿®» ¬¸» Ú±®³ ççðæ             Ý¿-¸       È ß½½®«¿´            Ñ¬¸»®
           ×º ¬¸» ±®¹¿²·¦¿¬·±² ½¸¿²¹»¼ ·¬- ³»¬¸±¼ ±º ¿½½±«²¬·²¹ º®±³ ¿ °®·±® §»¿® ±® ½¸»½µ»¼ þÑ¬¸»®ôþ »¨°´¿·² ·² Í½¸»¼«´» Ñò
   î¿      É»®» ¬¸» ±®¹¿²·¦¿¬·±²ù- º·²¿²½·¿´ -¬¿¬»³»²¬- ½±³°·´»¼ ±® ®»ª·»©»¼ ¾§ ¿² ·²¼»°»²¼»²¬ ¿½½±«²¬¿²¬á ¢¢¢¢¢¢¢¢¢¢¢¢                    î¿   È
           ×º þÇ»-ôþ ½¸»½µ ¿ ¾±¨ ¾»´±© ¬± ·²¼·½¿¬» ©¸»¬¸»® ¬¸» º·²¿²½·¿´ -¬¿¬»³»²¬- º±® ¬¸» §»¿® ©»®» ½±³°·´»¼ ±® ®»ª·»©»¼ ±² ¿
           -»°¿®¿¬» ¾¿-·-ô ½±²-±´·¼¿¬»¼ ¾¿-·-ô ±® ¾±¬¸æ
                  Í»°¿®¿¬» ¾¿-·-         È Ý±²-±´·¼¿¬»¼ ¾¿-·-              Þ±¬¸ ½±²-±´·¼¿¬»¼ ¿²¼ -»°¿®¿¬» ¾¿-·-
       ¾   É»®» ¬¸» ±®¹¿²·¦¿¬·±²ù- º·²¿²½·¿´ -¬¿¬»³»²¬- ¿«¼·¬»¼ ¾§ ¿² ·²¼»°»²¼»²¬ ¿½½±«²¬¿²¬á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                          î¾        È
           ×º þÇ»-ôþ ½¸»½µ ¿ ¾±¨ ¾»´±© ¬± ·²¼·½¿¬» ©¸»¬¸»® ¬¸» º·²¿²½·¿´ -¬¿¬»³»²¬- º±® ¬¸» §»¿® ©»®» ¿«¼·¬»¼ ±² ¿ -»°¿®¿¬» ¾¿-·-ô
           ½±²-±´·¼¿¬»¼ ¾¿-·-ô ±® ¾±¬¸æ
                  Í»°¿®¿¬» ¾¿-·-             Ý±²-±´·¼¿¬»¼ ¾¿-·-            Þ±¬¸ ½±²-±´·¼¿¬»¼ ¿²¼ -»°¿®¿¬» ¾¿-·-
       ½   ×º þÇ»-þ ¬± ´·²» î¿ ±® î¾ô ¼±»- ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ½±³³·¬¬»» ¬¸¿¬ ¿--«³»- ®»-°±²-·¾·´·¬§ º±® ±ª»®-·¹¸¬ ±º ¬¸» ¿«¼·¬ô
           ®»ª·»©ô ±® ½±³°·´¿¬·±² ±º ·¬- º·²¿²½·¿´ -¬¿¬»³»²¬- ¿²¼ -»´»½¬·±² ±º ¿² ·²¼»°»²¼»²¬ ¿½½±«²¬¿²¬á¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                   î½   È
           ×º ¬¸» ±®¹¿²·¦¿¬·±² ½¸¿²¹»¼ »·¬¸»® ·¬- ±ª»®-·¹¸¬ °®±½»-- ±® -»´»½¬·±² °®±½»-- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®ô »¨°´¿·² ±² Í½¸»¼«´» Ñò
   í¿      ß- ¿ ®»-«´¬ ±º ¿ º»¼»®¿´ ¿©¿®¼ô ©¿- ¬¸» ±®¹¿²·¦¿¬·±² ®»¯«·®»¼ ¬± «²¼»®¹± ¿² ¿«¼·¬ ±® ¿«¼·¬- ¿- -»¬ º±®¬¸ ·² ¬¸» Í·²¹´» ß«¼·¬
           ß½¬ ¿²¼ ÑÓÞ Ý·®½«´¿® ßóïííá ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                     í¿        È
       ¾   ×º þÇ»-ôþ ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² «²¼»®¹± ¬¸» ®»¯«·®»¼ ¿«¼·¬ ±® ¿«¼·¬-á ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ «²¼»®¹± ¬¸» ®»¯«·®»¼ ¿«¼·¬
           ±® ¿«¼·¬-ô »¨°´¿·² ©¸§ ±² Í½¸»¼«´» Ñ ¿²¼ ¼»-½®·¾» ¿²§ -¬»°- ¬¿µ»² ¬± «²¼»®¹± -«½¸ ¿«¼·¬- ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                       í¾
                                                                                                                                          Ú±®³ ççð øîðïç÷




  çíîðïî ðïóîðóîð


ðçìëïîïð éëçïîð ëðçëòéðð                                    îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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   ÍÝØÛÜËÔÛ ß                                                                                                                                                   ÑÓÞ Ò±ò ïëìëóððìé

                                           Ð«¾´·½ Ý¸¿®·¬§ Í¬¿¬«- ¿²¼ Ð«¾´·½ Í«°°±®¬
   øÚ±®³ ççð ±® ççðóÛÆ÷
                                        Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ·- ¿ -»½¬·±² ëðïø½÷øí÷ ±®¹¿²·¦¿¬·±² ±® ¿ -»½¬·±²
                                                          ìçìéø¿÷øï÷ ²±²»¨»³°¬ ½¸¿®·¬¿¾´» ¬®«-¬ò
                                                                                                                                                                 îðïç
  Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                              ¤ ß¬¬¿½¸ ¬± Ú±®³ ççð ±® Ú±®³ ççðóÛÆò                                                                  Ñ°»² ¬± Ð«¾´·½
  ×²¬»®²¿´ Î»ª»²«» Í»®ª·½»
                                        ¤ Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ·²-¬®«½¬·±²- ¿²¼ ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                                                 ×²-°»½¬·±²
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                                                      Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                              ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                         çëóìëéðîëí
   Ð¿®¬ ×         Î»¿-±² º±® Ð«¾´·½ Ý¸¿®·¬§ Í¬¿¬«- øß´´ ±®¹¿²·¦¿¬·±²- ³«-¬ ½±³°´»¬» ¬¸·- °¿®¬ò÷ Í»» ·²-¬®«½¬·±²-ò
  Ì¸» ±®¹¿²·¦¿¬·±² ·- ²±¬ ¿ °®·ª¿¬» º±«²¼¿¬·±² ¾»½¿«-» ·¬ ·-æ øÚ±® ´·²»- ï ¬¸®±«¹¸ ïîô ½¸»½µ ±²´§ ±²» ¾±¨ò÷
   ï        ß ½¸«®½¸ô ½±²ª»²¬·±² ±º ½¸«®½¸»-ô ±® ¿--±½·¿¬·±² ±º ½¸«®½¸»- ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø·÷ò
   î        ß -½¸±±´ ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø··÷ò øß¬¬¿½¸ Í½¸»¼«´» Û øÚ±®³ ççð ±® ççðóÛÆ÷ò÷
   í        ß ¸±-°·¬¿´ ±® ¿ ½±±°»®¿¬·ª» ¸±-°·¬¿´ -»®ª·½» ±®¹¿²·¦¿¬·±² ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø···÷ò
   ì        ß ³»¼·½¿´ ®»-»¿®½¸ ±®¹¿²·¦¿¬·±² ±°»®¿¬»¼ ·² ½±²¶«²½¬·±² ©·¬¸ ¿ ¸±-°·¬¿´ ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø···÷ò Û²¬»® ¬¸» ¸±-°·¬¿´ù- ²¿³»ô
            ½·¬§ô ¿²¼ -¬¿¬»æ
   ë        ß² ±®¹¿²·¦¿¬·±² ±°»®¿¬»¼ º±® ¬¸» ¾»²»º·¬ ±º ¿ ½±´´»¹» ±® «²·ª»®-·¬§ ±©²»¼ ±® ±°»®¿¬»¼ ¾§ ¿ ¹±ª»®²³»²¬¿´ «²·¬ ¼»-½®·¾»¼ ·²
             -»½¬·±² ïéðø¾÷øï÷øß÷ø·ª÷ò øÝ±³°´»¬» Ð¿®¬ ××ò÷
    ê           ß º»¼»®¿´ô -¬¿¬»ô ±® ´±½¿´ ¹±ª»®²³»²¬ ±® ¹±ª»®²³»²¬¿´ «²·¬ ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷øª÷ò
    é           ß² ±®¹¿²·¦¿¬·±² ¬¸¿¬ ²±®³¿´´§ ®»½»·ª»- ¿ -«¾-¬¿²¬·¿´ °¿®¬ ±º ·¬- -«°°±®¬ º®±³ ¿ ¹±ª»®²³»²¬¿´ «²·¬ ±® º®±³ ¬¸» ¹»²»®¿´ °«¾´·½ ¼»-½®·¾»¼ ·²
                -»½¬·±² ïéðø¾÷øï÷øß÷øª·÷ò øÝ±³°´»¬» Ð¿®¬ ××ò÷
    è           ß ½±³³«²·¬§ ¬®«-¬ ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷øª·÷ò øÝ±³°´»¬» Ð¿®¬ ××ò÷
    ç           ß² ¿¹®·½«´¬«®¿´ ®»-»¿®½¸ ±®¹¿²·¦¿¬·±² ¼»-½®·¾»¼ ·² -»½¬·±² ïéðø¾÷øï÷øß÷ø·¨÷ ±°»®¿¬»¼ ·² ½±²¶«²½¬·±² ©·¬¸ ¿ ´¿²¼ó¹®¿²¬ ½±´´»¹»
                ±® «²·ª»®-·¬§ ±® ¿ ²±²ó´¿²¼ó¹®¿²¬ ½±´´»¹» ±º ¿¹®·½«´¬«®» ø-»» ·²-¬®«½¬·±²-÷ò Û²¬»® ¬¸» ²¿³»ô ½·¬§ô ¿²¼ -¬¿¬» ±º ¬¸» ½±´´»¹» ±®
                «²·ª»®-·¬§æ
  ïð     È    ß² ±®¹¿²·¦¿¬·±² ¬¸¿¬ ²±®³¿´´§ ®»½»·ª»-æ øï÷ ³±®» ¬¸¿² íí ïñíû ±º ·¬- -«°°±®¬ º®±³ ½±²¬®·¾«¬·±²-ô ³»³¾»®-¸·° º»»-ô ¿²¼ ¹®±-- ®»½»·°¬- º®±³
              ¿½¬·ª·¬·»- ®»´¿¬»¼ ¬± ·¬- »¨»³°¬ º«²½¬·±²- ó -«¾¶»½¬ ¬± ½»®¬¿·² »¨½»°¬·±²-ô ¿²¼ øî÷ ²± ³±®» ¬¸¿² íí ïñíû ±º ·¬- -«°°±®¬ º®±³ ¹®±-- ·²ª»-¬³»²¬
              ·²½±³» ¿²¼ «²®»´¿¬»¼ ¾«-·²»-- ¬¿¨¿¾´» ·²½±³» ø´»-- -»½¬·±² ëïï ¬¿¨÷ º®±³ ¾«-·²»--»- ¿½¯«·®»¼ ¾§ ¬¸» ±®¹¿²·¦¿¬·±² ¿º¬»® Ö«²» íðô ïçéëò
              Í»» -»½¬·±² ëðçø¿÷øî÷ò øÝ±³°´»¬» Ð¿®¬ ×××ò÷
  ïï          ß² ±®¹¿²·¦¿¬·±² ±®¹¿²·¦»¼ ¿²¼ ±°»®¿¬»¼ »¨½´«-·ª»´§ ¬± ¬»-¬ º±® °«¾´·½ -¿º»¬§ò Í»» -»½¬·±² ëðçø¿÷øì÷ò
  ïî          ß² ±®¹¿²·¦¿¬·±² ±®¹¿²·¦»¼ ¿²¼ ±°»®¿¬»¼ »¨½´«-·ª»´§ º±® ¬¸» ¾»²»º·¬ ±ºô ¬± °»®º±®³ ¬¸» º«²½¬·±²- ±ºô ±® ¬± ½¿®®§ ±«¬ ¬¸» °«®°±-»- ±º ±²» ±®
              ³±®» °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¼»-½®·¾»¼ ·² -»½¬·±² ëðçø¿÷øï÷ ±® -»½¬·±² ëðçø¿÷øî÷ò Í»» -»½¬·±² ëðçø¿÷øí÷ò Ý¸»½µ ¬¸» ¾±¨ ·²
              ´·²»- ïî¿ ¬¸®±«¹¸ ïî¼ ¬¸¿¬ ¼»-½®·¾»- ¬¸» ¬§°» ±º -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ¿²¼ ½±³°´»¬» ´·²»- ïî»ô ïîºô ¿²¼ ïî¹ò
     ¿           Ì§°» ×ò ß -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ±°»®¿¬»¼ô -«°»®ª·-»¼ô ±® ½±²¬®±´´»¼ ¾§ ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ô ¬§°·½¿´´§ ¾§ ¹·ª·²¹
                 ¬¸» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¬¸» °±©»® ¬± ®»¹«´¿®´§ ¿°°±·²¬ ±® »´»½¬ ¿ ³¿¶±®·¬§ ±º ¬¸» ¼·®»½¬±®- ±® ¬®«-¬»»- ±º ¬¸» -«°°±®¬·²¹
                 ±®¹¿²·¦¿¬·±²ò Ç±« ³«-¬ ½±³°´»¬» Ð¿®¬ ×Êô Í»½¬·±²- ß ¿²¼ Þò
     ¾           Ì§°» ××ò ß -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² -«°»®ª·-»¼ ±® ½±²¬®±´´»¼ ·² ½±²²»½¬·±² ©·¬¸ ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ô ¾§ ¸¿ª·²¹
                 ½±²¬®±´ ±® ³¿²¿¹»³»²¬ ±º ¬¸» -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ª»-¬»¼ ·² ¬¸» -¿³» °»®-±²- ¬¸¿¬ ½±²¬®±´ ±® ³¿²¿¹» ¬¸» -«°°±®¬»¼
                 ±®¹¿²·¦¿¬·±²ø-÷ò Ç±« ³«-¬ ½±³°´»¬» Ð¿®¬ ×Êô Í»½¬·±²- ß ¿²¼ Ýò
     ½           Ì§°» ××× º«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ò ß -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ±°»®¿¬»¼ ·² ½±²²»½¬·±² ©·¬¸ô ¿²¼ º«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ ©·¬¸ô
                 ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ø-»» ·²-¬®«½¬·±²-÷ò Ç±« ³«-¬ ½±³°´»¬» Ð¿®¬ ×Êô Í»½¬·±²- ßô Üô ¿²¼ Ûò
     ¼           Ì§°» ××× ²±²óº«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ò ß -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ±°»®¿¬»¼ ·² ½±²²»½¬·±² ©·¬¸ ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷
                 ¬¸¿¬ ·- ²±¬ º«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ò Ì¸» ±®¹¿²·¦¿¬·±² ¹»²»®¿´´§ ³«-¬ -¿¬·-º§ ¿ ¼·-¬®·¾«¬·±² ®»¯«·®»³»²¬ ¿²¼ ¿² ¿¬¬»²¬·ª»²»--
                 ®»¯«·®»³»²¬ ø-»» ·²-¬®«½¬·±²-÷ò Ç±« ³«-¬ ½±³°´»¬» Ð¿®¬ ×Êô Í»½¬·±²- ß ¿²¼ Üô ¿²¼ Ð¿®¬ Êò
     »           Ý¸»½µ ¬¸·- ¾±¨ ·º ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª»¼ ¿ ©®·¬¬»² ¼»¬»®³·²¿¬·±² º®±³ ¬¸» ×ÎÍ ¬¸¿¬ ·¬ ·- ¿ Ì§°» ×ô Ì§°» ××ô Ì§°» ×××
                 º«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ô ±® Ì§°» ××× ²±²óº«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²ò
     º   Û²¬»® ¬¸» ²«³¾»® ±º -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
     ¹   Ð®±ª·¼» ¬¸» º±´´±©·²¹ ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ò
              (i) Name of supported               (ii) EIN       (iii) Type of organization    ø·ª÷ ×- ¬¸» ±®¹¿²·¦¿¬·±² ´·-¬»¼    (v) Amount of monetary      (vi) Amount of other
                                                                                              ·² §±«® ¹±ª»®²·²¹ ¼±½«³»²¬á
                    organization                                 (described on lines 1-10                                        support (see instructions) support (see instructions)
                                                                 above (see instructions))       Ç»-                Ò±




  Ì±¬¿´
  ÔØß Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççð ±® ççðóÛÆò                          çíîðîï ðçóîëóïç         Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                     îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
             21-11221           Doc 2          Filed 06/30/21          Entered 06/30/21 19:05:36                     Main Document                   Pg
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                                   ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                           çëóìëéðîëí Ð¿¹» î
   Ð¿®¬ ××      Í«°°±®¬ Í½¸»¼«´» º±® Ñ®¹¿²·¦¿¬·±²- Ü»-½®·¾»¼ ·² Í»½¬·±²- ïéðø¾÷øï÷øß÷ø·ª÷ ¿²¼ ïéðø¾÷øï÷øß÷øª·÷
                øÝ±³°´»¬» ±²´§ ·º §±« ½¸»½µ»¼ ¬¸» ¾±¨ ±² ´·²» ëô éô ±® è ±º Ð¿®¬ × ±® ·º ¬¸» ±®¹¿²·¦¿¬·±² º¿·´»¼ ¬± ¯«¿´·º§ «²¼»® Ð¿®¬ ×××ò ×º ¬¸» ±®¹¿²·¦¿¬·±²
                º¿·´- ¬± ¯«¿´·º§ «²¼»® ¬¸» ¬»-¬- ´·-¬»¼ ¾»´±©ô °´»¿-» ½±³°´»¬» Ð¿®¬ ×××ò÷
  Í»½¬·±² ßò Ð«¾´·½ Í«°°±®¬
  Ý¿´»²¼¿® §»¿® ø±® º·-½¿´ §»¿® ¾»¹·²²·²¹ ·²÷ ¤     ø¿÷ îðïë           ø¾÷ îðïê            ø½÷ îðïé           ø¼÷ îðïè            ø»÷ îðïç           øº÷ Ì±¬¿´
   ï Ù·º¬-ô ¹®¿²¬-ô ½±²¬®·¾«¬·±²-ô ¿²¼
     ³»³¾»®-¸·° º»»- ®»½»·ª»¼ò øÜ± ²±¬
     ·²½´«¼» ¿²§ þ«²«-«¿´ ¹®¿²¬-òþ÷ ¢¢
   î Ì¿¨ ®»ª»²«»- ´»ª·»¼ º±® ¬¸» ±®¹¿²ó
     ·¦¿¬·±²ù- ¾»²»º·¬ ¿²¼ »·¬¸»® °¿·¼ ¬±
     ±® »¨°»²¼»¼ ±² ·¬- ¾»¸¿´º ¢¢¢¢
   í Ì¸» ª¿´«» ±º -»®ª·½»- ±® º¿½·´·¬·»-
     º«®²·-¸»¼ ¾§ ¿ ¹±ª»®²³»²¬¿´ «²·¬ ¬±
     ¬¸» ±®¹¿²·¦¿¬·±² ©·¬¸±«¬ ½¸¿®¹» ¢
   ì Ì±¬¿´ò ß¼¼ ´·²»- ï ¬¸®±«¹¸ í ¢¢¢
   ë Ì¸» °±®¬·±² ±º ¬±¬¿´ ½±²¬®·¾«¬·±²-
     ¾§ »¿½¸ °»®-±² ø±¬¸»® ¬¸¿² ¿
     ¹±ª»®²³»²¬¿´ «²·¬ ±® °«¾´·½´§
     -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²÷ ·²½´«¼»¼
     ±² ´·²» ï ¬¸¿¬ »¨½»»¼- îû ±º ¬¸»
     ¿³±«²¬ -¸±©² ±² ´·²» ïïô
     ½±´«³² øº÷ ¢¢¢¢¢¢¢¢¢¢¢¢
   ê Ð«¾´·½ -«°°±®¬ò Í«¾¬®¿½¬ ´·²» ë º®±³ ´·²» ìò
  Í»½¬·±² Þò Ì±¬¿´ Í«°°±®¬
  Ý¿´»²¼¿® §»¿® ø±® º·-½¿´ §»¿® ¾»¹·²²·²¹ ·²÷ ¤   ø¿÷ îðïë            ø¾÷ îðïê           ø½÷ îðïé             ø¼÷ îðïè          ø»÷ îðïç øº÷ Ì±¬¿´
   é ß³±«²¬- º®±³ ´·²» ì ¢¢¢¢¢¢¢
   è Ù®±-- ·²½±³» º®±³ ·²¬»®»-¬ô
     ¼·ª·¼»²¼-ô °¿§³»²¬- ®»½»·ª»¼ ±²
     -»½«®·¬·»- ´±¿²-ô ®»²¬-ô ®±§¿´¬·»-ô
     ¿²¼ ·²½±³» º®±³ -·³·´¿® -±«®½»- ¢
   ç Ò»¬ ·²½±³» º®±³ «²®»´¿¬»¼ ¾«-·²»--
     ¿½¬·ª·¬·»-ô ©¸»¬¸»® ±® ²±¬ ¬¸»
     ¾«-·²»-- ·- ®»¹«´¿®´§ ½¿®®·»¼ ±² ¢
  ïð Ñ¬¸»® ·²½±³»ò Ü± ²±¬ ·²½´«¼» ¹¿·²
     ±® ´±-- º®±³ ¬¸» -¿´» ±º ½¿°·¬¿´
     ¿--»¬- øÛ¨°´¿·² ·² Ð¿®¬ Ê×ò÷ ¢¢¢¢
  ïï Ì±¬¿´ -«°°±®¬ò ß¼¼ ´·²»- é ¬¸®±«¹¸ ïð
  ïî Ù®±-- ®»½»·°¬- º®±³ ®»´¿¬»¼ ¿½¬·ª·¬·»-ô »¬½ò ø-»» ·²-¬®«½¬·±²-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïî
  ïí Ú·®-¬ º·ª» §»¿®-ò ×º ¬¸» Ú±®³ ççð ·- º±® ¬¸» ±®¹¿²·¦¿¬·±²ù- º·®-¬ô -»½±²¼ô ¬¸·®¼ô º±«®¬¸ô ±® º·º¬¸ ¬¿¨ §»¿® ¿- ¿ -»½¬·±² ëðïø½÷øí÷
     ±®¹¿²·¦¿¬·±²ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®» ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
  Í»½¬·±² Ýò Ý±³°«¬¿¬·±² ±º Ð«¾´·½ Í«°°±®¬ Ð»®½»²¬¿¹»
  ïì Ð«¾´·½ -«°°±®¬ °»®½»²¬¿¹» º±® îðïç ø´·²» êô ½±´«³² øº÷ ¼·ª·¼»¼ ¾§ ´·²» ïïô ½±´«³² øº÷÷ ¢¢¢¢¢¢¢¢¢¢¢¢ ïì                                        û
  ïë Ð«¾´·½ -«°°±®¬ °»®½»²¬¿¹» º®±³ îðïè Í½¸»¼«´» ßô Ð¿®¬ ××ô ´·²» ïì ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïë                                                     û
  ïê¿ íí ïñíû -«°°±®¬ ¬»-¬ ó îðïçò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¬¸» ¾±¨ ±² ´·²» ïíô ¿²¼ ´·²» ïì ·- íí ïñíû ±® ³±®»ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼
      -¬±° ¸»®»ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤
    ¾ íí ïñíû -«°°±®¬ ¬»-¬ ó îðïèò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïí ±® ïê¿ô ¿²¼ ´·²» ïë ·- íí ïñíû ±® ³±®»ô ½¸»½µ ¬¸·- ¾±¨
      ¿²¼ -¬±° ¸»®»ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤
  ïé¿ ïðû óº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»- ¬»-¬ ó îðïçò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïíô ïê¿ô ±® ïê¾ô ¿²¼ ´·²» ïì ·- ïðû ±® ³±®»ô
      ¿²¼ ·º ¬¸» ±®¹¿²·¦¿¬·±² ³»»¬- ¬¸» þº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»-þ ¬»-¬ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®»ò Û¨°´¿·² ·² Ð¿®¬ Ê× ¸±© ¬¸» ±®¹¿²·¦¿¬·±²
      ³»»¬- ¬¸» þº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»-þ ¬»-¬ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤
    ¾ ïðû óº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»- ¬»-¬ ó îðïèò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïíô ïê¿ô ïê¾ô ±® ïé¿ô ¿²¼ ´·²» ïë ·- ïðû ±®
      ³±®»ô ¿²¼ ·º ¬¸» ±®¹¿²·¦¿¬·±² ³»»¬- ¬¸» þº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»-þ ¬»-¬ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®»ò Û¨°´¿·² ·² Ð¿®¬ Ê× ¸±© ¬¸»
      ±®¹¿²·¦¿¬·±² ³»»¬- ¬¸» þº¿½¬-ó¿²¼ó½·®½«³-¬¿²½»-þ ¬»-¬ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢ ¤
  ïè Ð®·ª¿¬» º±«²¼¿¬·±²ò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïíô ïê¿ô ïê¾ô ïé¿ô ±® ïé¾ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -»» ·²-¬®«½¬·±²- ¡¡¡ ¤
                                                                                                                Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç




  çíîðîî ðçóîëóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                     îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                               ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                                                               çëóìëéðîëí Ð¿¹» í
  Ð¿®¬ ××× Í«°°±®¬ Í½¸»¼«´» º±® Ñ®¹¿²·¦¿¬·±²- Ü»-½®·¾»¼ ·² Í»½¬·±² ëðçø¿÷øî÷
                øÝ±³°´»¬» ±²´§ ·º §±« ½¸»½µ»¼ ¬¸» ¾±¨ ±² ´·²» ïð ±º Ð¿®¬ × ±® ·º ¬¸» ±®¹¿²·¦¿¬·±² º¿·´»¼ ¬± ¯«¿´·º§ «²¼»® Ð¿®¬ ××ò ×º ¬¸» ±®¹¿²·¦¿¬·±² º¿·´- ¬±
                ¯«¿´·º§ «²¼»® ¬¸» ¬»-¬- ´·-¬»¼ ¾»´±©ô °´»¿-» ½±³°´»¬» Ð¿®¬ ××ò÷
  Í»½¬·±² ßò Ð«¾´·½ Í«°°±®¬
  Ý¿´»²¼¿® §»¿® ø±® º·-½¿´ §»¿® ¾»¹·²²·²¹ ·²÷ ¤         ø¿÷ îðïë        ø¾÷ îðïê            ø½÷ îðïé           ø¼÷ îðïè             ø»÷ îðïç          øº÷ Ì±¬¿´
   ï Ù·º¬-ô ¹®¿²¬-ô ½±²¬®·¾«¬·±²-ô ¿²¼
     ³»³¾»®-¸·° º»»- ®»½»·ª»¼ò øÜ± ²±¬
     ·²½´«¼» ¿²§ þ«²«-«¿´ ¹®¿²¬-òþ÷ ¢¢
   î Ù®±-- ®»½»·°¬- º®±³ ¿¼³·--·±²-ô
     ³»®½¸¿²¼·-» -±´¼ ±® -»®ª·½»- °»®ó
     º±®³»¼ô ±® º¿½·´·¬·»- º«®²·-¸»¼ ·²
     ¿²§ ¿½¬·ª·¬§ ¬¸¿¬ ·- ®»´¿¬»¼ ¬± ¬¸»
     ±®¹¿²·¦¿¬·±²ù- ¬¿¨ó»¨»³°¬ °«®°±-»                 êéêííëðò ëïêêïèêò êêèïïíìò ëçïíçïçò ìîíêëèèòîèéêïïééò
   í Ù®±-- ®»½»·°¬- º®±³ ¿½¬·ª·¬·»- ¬¸¿¬
     ¿®» ²±¬ ¿² «²®»´¿¬»¼ ¬®¿¼» ±® ¾«-ó
     ·²»-- «²¼»® -»½¬·±² ëïí ¢¢¢¢¢
   ì Ì¿¨ ®»ª»²«»- ´»ª·»¼ º±® ¬¸» ±®¹¿²ó
     ·¦¿¬·±²ù- ¾»²»º·¬ ¿²¼ »·¬¸»® °¿·¼ ¬±
     ±® »¨°»²¼»¼ ±² ·¬- ¾»¸¿´º ¢¢¢¢
   ë Ì¸» ª¿´«» ±º -»®ª·½»- ±® º¿½·´·¬·»-
     º«®²·-¸»¼ ¾§ ¿ ¹±ª»®²³»²¬¿´ «²·¬ ¬±
     ¬¸» ±®¹¿²·¦¿¬·±² ©·¬¸±«¬ ½¸¿®¹» ¢
   ê Ì±¬¿´ò ß¼¼ ´·²»- ï ¬¸®±«¹¸ ë ¢¢¢                  êéêííëðò ëïêêïèêò êêèïïíìò ëçïíçïçò ìîíêëèèòîèéêïïééò
   é ¿ ß³±«²¬- ·²½´«¼»¼ ±² ´·²»- ïô îô ¿²¼
       í ®»½»·ª»¼ º®±³ ¼·-¯«¿´·º·»¼ °»®-±²-                                                                                                                       ðò
    ¾ ß³±«²¬- ·²½´«¼»¼ ±² ´·²»- î ¿²¼ í ®»½»·ª»¼
       º®±³ ±¬¸»® ¬¸¿² ¼·-¯«¿´·º·»¼ °»®-±²- ¬¸¿¬
       »¨½»»¼ ¬¸» ¹®»¿¬»® ±º üëôððð ±® ïû ±º ¬¸»
       ¿³±«²¬ ±² ´·²» ïí º±® ¬¸» §»¿® ¢¢¢¢¢¢           ííëíëíîò îïéèêéìò íìçîîïïò íèíçëëçò ííïéïïèòïêïèïðçìò
    ½ ß¼¼ ´·²»- é¿ ¿²¼ é¾ ¢¢¢¢¢¢¢                      ííëíëíîò îïéèêéìò íìçîîïïò íèíçëëçò ííïéïïèòïêïèïðçìò
   è Ð«¾´·½ -«°°±®¬ò øÍ«¾¬®¿½¬ ´·²» é½ º®±³ ´·²» êò÷                                               ïîëèððèíò
  Í»½¬·±² Þò Ì±¬¿´ Í«°°±®¬
  Ý¿´»²¼¿® §»¿® ø±® º·-½¿´ §»¿® ¾»¹·²²·²¹ ·²÷ ¤         ø¿÷ îðïë        ø¾÷ îðïê            ø½÷ îðïé           ø¼÷ îðïè             ø»÷ îðïç          øº÷ Ì±¬¿´
   ç ß³±«²¬- º®±³ ´·²» ê ¢¢¢¢¢¢¢                       êéêííëðò ëïêêïèêò êêèïïíìò ëçïíçïçò ìîíêëèèòîèéêïïééò
  ïð¿ Ù®±-- ·²½±³» º®±³ ·²¬»®»-¬ô
      ¼·ª·¼»²¼-ô °¿§³»²¬- ®»½»·ª»¼ ±²
      -»½«®·¬·»- ´±¿²-ô ®»²¬-ô ®±§¿´¬·»-ô
      ¿²¼ ·²½±³» º®±³ -·³·´¿® -±«®½»- ¢                     éçðò              éîëò               èééò           ëôïçêò               ìôðïîò          ïïôêððò
    ¾ Ë²®»´¿¬»¼ ¾«-·²»-- ¬¿¨¿¾´» ·²½±³»
      ø´»-- -»½¬·±² ëïï ¬¿¨»-÷ º®±³ ¾«-·²»--»-
      ¿½¯«·®»¼ ¿º¬»® Ö«²» íðô ïçéë ¢¢¢¢
    ½ ß¼¼ ´·²»- ïð¿ ¿²¼ ïð¾ ¢¢¢¢¢¢                          éçðò              éîëò               èééò           ëôïçêò               ìôðïîò          ïïôêððò
  ïï Ò»¬ ·²½±³» º®±³ «²®»´¿¬»¼ ¾«-·²»--
      ¿½¬·ª·¬·»- ²±¬ ·²½´«¼»¼ ·² ´·²» ïð¾ô
      ©¸»¬¸»® ±® ²±¬ ¬¸» ¾«-·²»-- ·-
      ®»¹«´¿®´§ ½¿®®·»¼ ±² ¢¢¢¢¢¢¢
  ïî Ñ¬¸»® ·²½±³»ò Ü± ²±¬ ·²½´«¼» ¹¿·²
      ±® ´±-- º®±³ ¬¸» -¿´» ±º ½¿°·¬¿´
      ¿--»¬- øÛ¨°´¿·² ·² Ð¿®¬ Ê×ò÷ ¢¢¢¢
  ïí Ì±¬¿´ -«°°±®¬ò øß¼¼ ´·²»- çô ïð½ô ïïô ¿²¼ ïîò÷    êéêìïìðò ëïêêçïïò êêèîðïïò ëçïçïïëò ìîìðêððòîèééîéééò
  ïì Ú·®-¬ º·ª» §»¿®-ò ×º ¬¸» Ú±®³ ççð ·- º±® ¬¸» ±®¹¿²·¦¿¬·±²ù- º·®-¬ô -»½±²¼ô ¬¸·®¼ô º±«®¬¸ô ±® º·º¬¸ ¬¿¨ §»¿® ¿- ¿ -»½¬·±² ëðïø½÷øí÷ ±®¹¿²·¦¿¬·±²ô
     ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®» ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
  Í»½¬·±² Ýò Ý±³°«¬¿¬·±² ±º Ð«¾´·½ Í«°°±®¬ Ð»®½»²¬¿¹»
  ïë Ð«¾´·½ -«°°±®¬ °»®½»²¬¿¹» º±® îðïç ø´·²» èô ½±´«³² øº÷ô ¼·ª·¼»¼ ¾§ ´·²» ïíô ½±´«³² øº÷÷ ¢¢¢¢¢¢¢¢¢¢¢                       ïë                  ìíòéî           û
  ïê Ð«¾´·½ -«°°±®¬ °»®½»²¬¿¹» º®±³ îðïè Í½¸»¼«´» ßô Ð¿®¬ ×××ô ´·²» ïë ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                    ïê                  ëïòèï           û
  Í»½¬·±² Üò Ý±³°«¬¿¬·±² ±º ×²ª»-¬³»²¬ ×²½±³» Ð»®½»²¬¿¹»
   ïé ×²ª»-¬³»²¬ ·²½±³» °»®½»²¬¿¹» º±® îðïç ø´·²» ïð½ô ½±´«³² øº÷ô ¼·ª·¼»¼ ¾§ ´·²» ïíô ½±´«³² øº÷÷ ¢¢¢¢¢¢¢¢ ïé                                 òðì û
   ïè ×²ª»-¬³»²¬ ·²½±³» °»®½»²¬¿¹» º®±³ îðïè Í½¸»¼«´» ßô Ð¿®¬ ×××ô ´·²» ïé ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ïè                                               òðï û
   ïç ¿ íí ïñíû -«°°±®¬ ¬»-¬- ó îðïçò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¬¸» ¾±¨ ±² ´·²» ïìô ¿²¼ ´·²» ïë ·- ³±®» ¬¸¿² íí ïñíû ô ¿²¼ ´·²» ïé ·- ²±¬
        ³±®» ¬¸¿² íí ïñíû ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®»ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢¢¢¢¢¢¢ ¤ È
     ¾ íí ïñíû -«°°±®¬ ¬»-¬- ó îðïèò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïì ±® ´·²» ïç¿ô ¿²¼ ´·²» ïê ·- ³±®» ¬¸¿² íí ïñíû ô ¿²¼
        ´·²» ïè ·- ²±¬ ³±®» ¬¸¿² íí ïñíû ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -¬±° ¸»®»ò Ì¸» ±®¹¿²·¦¿¬·±² ¯«¿´·º·»- ¿- ¿ °«¾´·½´§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¢¢¢¢ ¤
   îð Ð®·ª¿¬» º±«²¼¿¬·±²ò ×º ¬¸» ±®¹¿²·¦¿¬·±² ¼·¼ ²±¬ ½¸»½µ ¿ ¾±¨ ±² ´·²» ïìô ïç¿ô ±® ïç¾ô ½¸»½µ ¬¸·- ¾±¨ ¿²¼ -»» ·²-¬®«½¬·±²- ¡¡¡¡¡¡¡¡ ¤
  çíîðîí ðçóîëóïç                                                                                                  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                       îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
            21-11221          Doc 2       Filed 06/30/21            Entered 06/30/21 19:05:36                  Main Document               Pg
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                                   ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                                                        çëóìëéðîëí Ð¿¹» ì
   Ð¿®¬ ×Ê      Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
                øÝ±³°´»¬» ±²´§ ·º §±« ½¸»½µ»¼ ¿ ¾±¨ ·² ´·²» ïî ±² Ð¿®¬ ×ò ×º §±« ½¸»½µ»¼ ïî¿ ±º Ð¿®¬ ×ô ½±³°´»¬» Í»½¬·±²- ß
                ¿²¼ Þò ×º §±« ½¸»½µ»¼ ïî¾ ±º Ð¿®¬ ×ô ½±³°´»¬» Í»½¬·±²- ß ¿²¼ Ýò ×º §±« ½¸»½µ»¼ ïî½ ±º Ð¿®¬ ×ô ½±³°´»¬»
                Í»½¬·±²- ßô Üô ¿²¼ Ûò ×º §±« ½¸»½µ»¼ ïî¼ ±º Ð¿®¬ ×ô ½±³°´»¬» Í»½¬·±²- ß ¿²¼ Üô ¿²¼ ½±³°´»¬» Ð¿®¬ Êò÷
  Í»½¬·±² ßò ß´´ Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
                                                                                                                                            Ç»-   Ò±
   ï    ß®» ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ´·-¬»¼ ¾§ ²¿³» ·² ¬¸» ±®¹¿²·¦¿¬·±²ù- ¹±ª»®²·²¹
        ¼±½«³»²¬-á If "No," describe in Ð¿®¬ Ê× how the supported organizations are designated. If designated by
        class or purpose, describe the designation. If historic and continuing relationship, explain.                                 ï
   î  Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿²§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¬¸¿¬ ¼±»- ²±¬ ¸¿ª» ¿² ×ÎÍ ¼»¬»®³·²¿¬·±² ±º -¬¿¬«-
      «²¼»® -»½¬·±² ëðçø¿÷øï÷ ±® øî÷á If "Yes," explain in Ð¿®¬ Ê× how the organization determined that the supported
      organization was described in section 509(a)(1) or (2).                                                                         î
   í¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¼»-½®·¾»¼ ·² -»½¬·±² ëðïø½÷øì÷ô øë÷ô ±® øê÷á If "Yes," answer
      (b) and (c) below.                                                                                                             í¿
     ¾ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ½±²º·®³ ¬¸¿¬ »¿½¸ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¯«¿´·º·»¼ «²¼»® -»½¬·±² ëðïø½÷øì÷ô øë÷ô ±® øê÷ ¿²¼
       -¿¬·-º·»¼ ¬¸» °«¾´·½ -«°°±®¬ ¬»-¬- «²¼»® -»½¬·±² ëðçø¿÷øî÷á If "Yes," describe in Ð¿®¬ Ê× when and how the
       organization made the determination.                                                                                          í¾
    ½ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² »²-«®» ¬¸¿¬ ¿´´ -«°°±®¬ ¬± -«½¸ ±®¹¿²·¦¿¬·±²- ©¿- «-»¼ »¨½´«-·ª»´§ º±® -»½¬·±² ïéðø½÷øî÷øÞ÷
      °«®°±-»-á If "Yes," explain in Ð¿®¬ Ê× what controls the organization put in place to ensure such use.                         í½
   ì¿ É¿- ¿²§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ²±¬ ±®¹¿²·¦»¼ ·² ¬¸» Ë²·¬»¼ Í¬¿¬»- øþº±®»·¹² -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²þ÷á If
      "Yes," and if you checked 12a or 12b in Part I, answer (b) and (c) below.                                                      ì¿
     ¾ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» «´¬·³¿¬» ½±²¬®±´ ¿²¼ ¼·-½®»¬·±² ·² ¼»½·¼·²¹ ©¸»¬¸»® ¬± ³¿µ» ¹®¿²¬- ¬± ¬¸» º±®»·¹²
       -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²á If "Yes," describe in Ð¿®¬ Ê× how the organization had such control and discretion
       despite being controlled or supervised by or in connection with its supported organizations.                                  ì¾
    ½ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² -«°°±®¬ ¿²§ º±®»·¹² -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ¬¸¿¬ ¼±»- ²±¬ ¸¿ª» ¿² ×ÎÍ ¼»¬»®³·²¿¬·±²
      «²¼»® -»½¬·±²- ëðïø½÷øí÷ ¿²¼ ëðçø¿÷øï÷ ±® øî÷á If "Yes," explain in Ð¿®¬ Ê× what controls the organization used
      to ensure that all support to the foreign supported organization was used exclusively for section 170(c)(2)(B)
      purposes.                                                                                                                      ì½
   ë¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¿¼¼ô -«¾-¬·¬«¬»ô ±® ®»³±ª» ¿²§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes,"
      answer (b) and (c) below (if applicable). Also, provide detail in Ð¿®¬ Ê×ô including (i) the names and EIN
      numbers of the supported organizations added, substituted, or removed; (ii) the reasons for each such action;
      (iii) the authority under the organization's organizing document authorizing such action; and (iv) how the action
      was accomplished (such as by amendment to the organizing document).                                                            ë¿
    ¾ Ì§°» × ±® Ì§°» ×× ±²´§ò É¿- ¿²§ ¿¼¼»¼ ±® -«¾-¬·¬«¬»¼ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² °¿®¬ ±º ¿ ½´¿-- ¿´®»¿¼§
      ¼»-·¹²¿¬»¼ ·² ¬¸» ±®¹¿²·¦¿¬·±²ù- ±®¹¿²·¦·²¹ ¼±½«³»²¬á                                                                          ë¾
    ½ Í«¾-¬·¬«¬·±²- ±²´§ò É¿- ¬¸» -«¾-¬·¬«¬·±² ¬¸» ®»-«´¬ ±º ¿² »ª»²¬ ¾»§±²¼ ¬¸» ±®¹¿²·¦¿¬·±²ù- ½±²¬®±´á                             ë½
   ê Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼» -«°°±®¬ ø©¸»¬¸»® ·² ¬¸» º±®³ ±º ¹®¿²¬- ±® ¬¸» °®±ª·-·±² ±º -»®ª·½»- ±® º¿½·´·¬·»-÷ ¬±
      ¿²§±²» ±¬¸»® ¬¸¿² ø·÷ ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-ô ø··÷ ·²¼·ª·¼«¿´- ¬¸¿¬ ¿®» °¿®¬ ±º ¬¸» ½¸¿®·¬¿¾´» ½´¿--
      ¾»²»º·¬»¼ ¾§ ±²» ±® ³±®» ±º ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-ô ±® ø···÷ ±¬¸»® -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²- ¬¸¿¬ ¿´-±
      -«°°±®¬ ±® ¾»²»º·¬ ±²» ±® ³±®» ±º ¬¸» º·´·²¹ ±®¹¿²·¦¿¬·±²ù- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-á If "Yes," provide detail in
      Ð¿®¬ Ê×ò                                                                                                                        ê
   é Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼» ¿ ¹®¿²¬ô ´±¿²ô ½±³°»²-¿¬·±²ô ±® ±¬¸»® -·³·´¿® °¿§³»²¬ ¬± ¿ -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®
      ø¿- ¼»º·²»¼ ·² -»½¬·±² ìçëèø½÷øí÷øÝ÷÷ô ¿ º¿³·´§ ³»³¾»® ±º ¿ -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®ô ±® ¿ íëû ½±²¬®±´´»¼ »²¬·¬§ ©·¬¸
      ®»¹¿®¼ ¬± ¿ -«¾-¬¿²¬·¿´ ½±²¬®·¾«¬±®á If "Yes," complete Part I of Schedule L (Form 990 or 990-EZ).                              é
   è Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ³¿µ» ¿ ´±¿² ¬± ¿ ¼·-¯«¿´·º·»¼ °»®-±² ø¿- ¼»º·²»¼ ·² -»½¬·±² ìçëè÷ ²±¬ ¼»-½®·¾»¼ ·² ´·²» éá
      If "Yes," complete Part I of Schedule L (Form 990 or 990-EZ).                                                                   è
   ç¿ É¿- ¬¸» ±®¹¿²·¦¿¬·±² ½±²¬®±´´»¼ ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸» ¬¿¨ §»¿® ¾§ ±²» ±® ³±®»
      ¼·-¯«¿´·º·»¼ °»®-±²- ¿- ¼»º·²»¼ ·² -»½¬·±² ìçìê ø±¬¸»® ¬¸¿² º±«²¼¿¬·±² ³¿²¿¹»®- ¿²¼ ±®¹¿²·¦¿¬·±²- ¼»-½®·¾»¼
      ·² -»½¬·±² ëðçø¿÷øï÷ ±® øî÷÷á If "Yes," provide detail in Ð¿®¬ Ê×ò                                                             ç¿
    ¾ Ü·¼ ±²» ±® ³±®» ¼·-¯«¿´·º·»¼ °»®-±²- ø¿- ¼»º·²»¼ ·² ´·²» ç¿÷ ¸±´¼ ¿ ½±²¬®±´´·²¹ ·²¬»®»-¬ ·² ¿²§ »²¬·¬§ ·² ©¸·½¸
      ¬¸» -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ¸¿¼ ¿² ·²¬»®»-¬á If "Yes," provide detail in Ð¿®¬ Ê×ò                                              ç¾
    ½ Ü·¼ ¿ ¼·-¯«¿´·º·»¼ °»®-±² ø¿- ¼»º·²»¼ ·² ´·²» ç¿÷ ¸¿ª» ¿² ±©²»®-¸·° ·²¬»®»-¬ ·²ô ±® ¼»®·ª» ¿²§ °»®-±²¿´ ¾»²»º·¬
      º®±³ô ¿--»¬- ·² ©¸·½¸ ¬¸» -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ¿´-± ¸¿¼ ¿² ·²¬»®»-¬á If "Yes," provide detail in Ð¿®¬ Ê×ò                   ç½
  ïð¿ É¿- ¬¸» ±®¹¿²·¦¿¬·±² -«¾¶»½¬ ¬± ¬¸» »¨½»-- ¾«-·²»-- ¸±´¼·²¹- ®«´»- ±º -»½¬·±² ìçìí ¾»½¿«-» ±º -»½¬·±²
      ìçìíøº÷ ø®»¹¿®¼·²¹ ½»®¬¿·² Ì§°» ×× -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²-ô ¿²¼ ¿´´ Ì§°» ××× ²±²óº«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼
      -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²-÷á If "Yes," answer 10b below.                                                                         ïð¿
    ¾ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿²§ »¨½»-- ¾«-·²»-- ¸±´¼·²¹- ·² ¬¸» ¬¿¨ §»¿®á (Use Schedule C, Form 4720, to
      determine whether the organization had excess business holdings.)                                                              ïð¾
  çíîðîì ðçóîëóïç                                                                                                Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                  îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                  ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                                                           çëóìëéðîëí Ð¿¹» ë
   Ð¿®¬ ×Ê     Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²- (continued)
                                                                                                                                               Ç»-   Ò±
  ïï Ø¿- ¬¸» ±®¹¿²·¦¿¬·±² ¿½½»°¬»¼ ¿ ¹·º¬ ±® ½±²¬®·¾«¬·±² º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹ °»®-±²-á
    ¿ ß °»®-±² ©¸± ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ½±²¬®±´-ô »·¬¸»® ¿´±²» ±® ¬±¹»¬¸»® ©·¬¸ °»®-±²- ¼»-½®·¾»¼ ·² ø¾÷ ¿²¼ ø½÷
      ¾»´±©ô ¬¸» ¹±ª»®²·²¹ ¾±¼§ ±º ¿ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²á                                                                            ïï¿
    ¾ ß º¿³·´§ ³»³¾»® ±º ¿ °»®-±² ¼»-½®·¾»¼ ·² ø¿÷ ¿¾±ª»á                                                                               ïï¾
    ½ ß íëû ½±²¬®±´´»¼ »²¬·¬§ ±º ¿ °»®-±² ¼»-½®·¾»¼ ·² ø¿÷ ±® ø¾÷ ¿¾±ª»á If "Yes" to a, b, or c, provide detail in Ð¿®¬ Ê×ò             ïï½
  Í»½¬·±² Þò Ì§°» × Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
                                                                                                                                               Ç»-   Ò±
   ï    Ü·¼ ¬¸» ¼·®»½¬±®-ô ¬®«-¬»»-ô ±® ³»³¾»®-¸·° ±º ±²» ±® ³±®» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¸¿ª» ¬¸» °±©»® ¬±
        ®»¹«´¿®´§ ¿°°±·²¬ ±® »´»½¬ ¿¬ ´»¿-¬ ¿ ³¿¶±®·¬§ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ¼·®»½¬±®- ±® ¬®«-¬»»- ¿¬ ¿´´ ¬·³»- ¼«®·²¹ ¬¸»
        ¬¿¨ §»¿®á If "No," describe in Ð¿®¬ Ê× how the supported organization(s) effectively operated, supervised, or
        controlled the organization's activities. If the organization had more than one supported organization,
        describe how the powers to appoint and/or remove directors or trustees were allocated among the supported
        organizations and what conditions or restrictions, if any, applied to such powers during the tax year.                           ï
   î    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ±°»®¿¬» º±® ¬¸» ¾»²»º·¬ ±º ¿²§ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±² ±¬¸»® ¬¸¿² ¬¸» -«°°±®¬»¼
        ±®¹¿²·¦¿¬·±²ø-÷ ¬¸¿¬ ±°»®¿¬»¼ô -«°»®ª·-»¼ô ±® ½±²¬®±´´»¼ ¬¸» -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²á If "Yes," explain in
        Ð¿®¬ Ê× how providing such benefit carried out the purposes of the supported organization(s) that operated,
        supervised, or controlled the supporting organization.                                                                           î
  Í»½¬·±² Ýò Ì§°» ×× Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
                                                                                                                                               Ç»-   Ò±
   ï    É»®» ¿ ³¿¶±®·¬§ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ¼·®»½¬±®- ±® ¬®«-¬»»- ¼«®·²¹ ¬¸» ¬¿¨ §»¿® ¿´-± ¿ ³¿¶±®·¬§ ±º ¬¸» ¼·®»½¬±®-
        ±® ¬®«-¬»»- ±º »¿½¸ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷á If "No," describe in Ð¿®¬ Ê× how control
        or management of the supporting organization was vested in the same persons that controlled or managed
        the supported organization(s).                                                                                                   ï
  Í»½¬·±² Üò ß´´ Ì§°» ××× Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
                                                                                                                                               Ç»-   Ò±
   ï    Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼» ¬± »¿½¸ ±º ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-ô ¾§ ¬¸» ´¿-¬ ¼¿§ ±º ¬¸» º·º¬¸ ³±²¬¸ ±º ¬¸»
        ±®¹¿²·¦¿¬·±²ù- ¬¿¨ §»¿®ô ø·÷ ¿ ©®·¬¬»² ²±¬·½» ¼»-½®·¾·²¹ ¬¸» ¬§°» ¿²¼ ¿³±«²¬ ±º -«°°±®¬ °®±ª·¼»¼ ¼«®·²¹ ¬¸» °®·±® ¬¿¨
        §»¿®ô ø··÷ ¿ ½±°§ ±º ¬¸» Ú±®³ ççð ¬¸¿¬ ©¿- ³±-¬ ®»½»²¬´§ º·´»¼ ¿- ±º ¬¸» ¼¿¬» ±º ²±¬·º·½¿¬·±²ô ¿²¼ ø···÷ ½±°·»- ±º ¬¸»
        ±®¹¿²·¦¿¬·±²ù- ¹±ª»®²·²¹ ¼±½«³»²¬- ·² »ºº»½¬ ±² ¬¸» ¼¿¬» ±º ²±¬·º·½¿¬·±²ô ¬± ¬¸» »¨¬»²¬ ²±¬ °®»ª·±«-´§ °®±ª·¼»¼á                 ï
   î    É»®» ¿²§ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ±ºº·½»®-ô ¼·®»½¬±®-ô ±® ¬®«-¬»»- »·¬¸»® ø·÷ ¿°°±·²¬»¼ ±® »´»½¬»¼ ¾§ ¬¸» -«°°±®¬»¼
        ±®¹¿²·¦¿¬·±²ø-÷ ±® ø··÷ -»®ª·²¹ ±² ¬¸» ¹±ª»®²·²¹ ¾±¼§ ±º ¿ -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²á If "No," explain in Ð¿®¬ Ê× how
        the organization maintained a close and continuous working relationship with the supported organization(s).                      î
   í    Þ§ ®»¿-±² ±º ¬¸» ®»´¿¬·±²-¸·° ¼»-½®·¾»¼ ·² øî÷ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±²ù- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¸¿ª» ¿
        -·¹²·º·½¿²¬ ª±·½» ·² ¬¸» ±®¹¿²·¦¿¬·±²ù- ·²ª»-¬³»²¬ °±´·½·»- ¿²¼ ·² ¼·®»½¬·²¹ ¬¸» «-» ±º ¬¸» ±®¹¿²·¦¿¬·±²ù-
        ·²½±³» ±® ¿--»¬- ¿¬ ¿´´ ¬·³»- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes," describe in Ð¿®¬ Ê× the role the organization's
        supported organizations played in this regard.                                                                                   í
  Í»½¬·±² Ûò Ì§°» ××× Ú«²½¬·±²¿´´§ ×²¬»¹®¿¬»¼ Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
   ï Check the box next to the method that the organization used to satisfy the Integral Part Test during the yearø-»» ·²-¬®«½¬·±²-÷ò
    ¿        Ì¸» ±®¹¿²·¦¿¬·±² -¿¬·-º·»¼ ¬¸» ß½¬·ª·¬·»- Ì»-¬ò Complete ´·²» î below.
    ¾        Ì¸» ±®¹¿²·¦¿¬·±² ·- ¬¸» °¿®»²¬ ±º »¿½¸ ±º ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-ò Complete ´·²» í below.
    ½        Ì¸» ±®¹¿²·¦¿¬·±² -«°°±®¬»¼ ¿ ¹±ª»®²³»²¬¿´ »²¬·¬§ò Describe in Ð¿®¬ Ê× how you supported a government entity (see instructions).
   î ß½¬·ª·¬·»- Ì»-¬ò ß²-©»® ø¿÷ ¿²¼ ø¾÷ ¾»´±©ò                                                                                            Ç»-       Ò±
    ¿ Ü·¼ -«¾-¬¿²¬·¿´´§ ¿´´ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ¿½¬·ª·¬·»- ¼«®·²¹ ¬¸» ¬¿¨ §»¿® ¼·®»½¬´§ º«®¬¸»® ¬¸» »¨»³°¬ °«®°±-»- ±º
      ¬¸» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¬± ©¸·½¸ ¬¸» ±®¹¿²·¦¿¬·±² ©¿- ®»-°±²-·ª»á If "Yes," then in Ð¿®¬ Ê× ·¼»²¬·º§
      ¬¸±-» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¿²¼ »¨°´¿·² how these activities directly furthered their exempt purposes,
      how the organization was responsive to those supported organizations, and how the organization determined
      that these activities constituted substantially all of its activities.                                                          î¿
     ¾ Ü·¼ ¬¸» ¿½¬·ª·¬·»- ¼»-½®·¾»¼ ·² ø¿÷ ½±²-¬·¬«¬» ¿½¬·ª·¬·»- ¬¸¿¬ô ¾«¬ º±® ¬¸» ±®¹¿²·¦¿¬·±²ù- ·²ª±´ª»³»²¬ô ±²» ±® ³±®»
       ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ©±«´¼ ¸¿ª» ¾»»² »²¹¿¹»¼ ·²á If "Yes," explain in Ð¿®¬ Ê× the
       reasons for the organization's position that its supported organization(s) would have engaged in these
       activities but for the organization's involvement.                                                                                î¾
    í Ð¿®»²¬ ±º Í«°°±®¬»¼ Ñ®¹¿²·¦¿¬·±²-ò ß²-©»® ø¿÷ ¿²¼ ø¾÷ ¾»´±©ò
     ¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¬¸» °±©»® ¬± ®»¹«´¿®´§ ¿°°±·²¬ ±® »´»½¬ ¿ ³¿¶±®·¬§ ±º ¬¸» ±ºº·½»®-ô ¼·®»½¬±®-ô ±®
        ¬®«-¬»»- ±º »¿½¸ ±º ¬¸» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-á Provide details in Ð¿®¬ Ê×ò                                                     í¿
     ¾ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² »¨»®½·-» ¿ -«¾-¬¿²¬·¿´ ¼»¹®»» ±º ¼·®»½¬·±² ±ª»® ¬¸» °±´·½·»-ô °®±¹®¿³-ô ¿²¼ ¿½¬·ª·¬·»- ±º »¿½¸
        ±º ·¬- -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-á If "Yes," describe in Ð¿®¬ Ê× the role played by the organization in this regard.                í¾
  çíîðîë ðçóîëóïç                                                                                                    Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                    ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                                                         çëóìëéðîëí Ð¿¹» ê
   Ð¿®¬ Ê       Ì§°» ××× Ò±²óÚ«²½¬·±²¿´´§ ×²¬»¹®¿¬»¼ ëðçø¿÷øí÷ Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²-
   ï         Ý¸»½µ ¸»®» ·º ¬¸» ±®¹¿²·¦¿¬·±² -¿¬·-º·»¼ ¬¸» ×²¬»¹®¿´ Ð¿®¬ Ì»-¬ ¿- ¿ ¯«¿´·º§·²¹ ¬®«-¬ ±² Ò±ªò îðô ïçéð ø»¨°´¿·² ·² Ð¿®¬ Ê×÷ò Í»» ·²-¬®«½¬·±²-ò ß´´
             ±¬¸»® Ì§°» ××× ²±²óº«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±²- ³«-¬ ½±³°´»¬» Í»½¬·±²- ß ¬¸®±«¹¸ Ûò
                                                                                                                                       øÞ÷ Ý«®®»²¬ Ç»¿®
  Í»½¬·±² ß ó ß¼¶«-¬»¼ Ò»¬ ×²½±³»                                                                          øß÷ Ð®·±® Ç»¿®                  ø±°¬·±²¿´÷
   ï     Ò»¬ -¸±®¬ó¬»®³ ½¿°·¬¿´ ¹¿·²                                                            ï
   î     Î»½±ª»®·»- ±º °®·±®ó§»¿® ¼·-¬®·¾«¬·±²-                                                 î
   í     Ñ¬¸»® ¹®±-- ·²½±³» ø-»» ·²-¬®«½¬·±²-÷                                                  í
   ì     ß¼¼ ´·²»- ï ¬¸®±«¹¸ íò                                                                 ì
   ë     Ü»°®»½·¿¬·±² ¿²¼ ¼»°´»¬·±²                                                             ë
   ê     Ð±®¬·±² ±º ±°»®¿¬·²¹ »¨°»²-»- °¿·¼ ±® ·²½«®®»¼ º±® °®±¼«½¬·±² ±®
         ½±´´»½¬·±² ±º ¹®±-- ·²½±³» ±® º±® ³¿²¿¹»³»²¬ô ½±²-»®ª¿¬·±²ô ±®
         ³¿·²¬»²¿²½» ±º °®±°»®¬§ ¸»´¼ º±® °®±¼«½¬·±² ±º ·²½±³» ø-»» ·²-¬®«½¬·±²-÷               ê
   é     Ñ¬¸»® »¨°»²-»- ø-»» ·²-¬®«½¬·±²-÷                                                      é
   è     ß¼¶«-¬»¼ Ò»¬ ×²½±³» ø-«¾¬®¿½¬ ´·²»- ëô êô ¿²¼ é º®±³ ´·²» ì÷                           è
                                                                                                                                       øÞ÷ Ý«®®»²¬ Ç»¿®
  Í»½¬·±² Þ ó Ó·²·³«³ ß--»¬ ß³±«²¬                                                                         øß÷ Ð®·±® Ç»¿®                  ø±°¬·±²¿´÷
   ï     ß¹¹®»¹¿¬» º¿·® ³¿®µ»¬ ª¿´«» ±º ¿´´ ²±²ó»¨»³°¬ó«-» ¿--»¬- ø-»»
         ·²-¬®«½¬·±²- º±® -¸±®¬ ¬¿¨ §»¿® ±® ¿--»¬- ¸»´¼ º±® °¿®¬ ±º §»¿®÷æ
     ¿   ßª»®¿¹» ³±²¬¸´§ ª¿´«» ±º -»½«®·¬·»-                                                   ï¿
     ¾   ßª»®¿¹» ³±²¬¸´§ ½¿-¸ ¾¿´¿²½»-                                                         ï¾
     ½   Ú¿·® ³¿®µ»¬ ª¿´«» ±º ±¬¸»® ²±²ó»¨»³°¬ó«-» ¿--»¬-                                      ï½
     ¼   Ì±¬¿´ ø¿¼¼ ´·²»- ï¿ô ï¾ô ¿²¼ ï½÷                                                      ï¼
     »   Ü·-½±«²¬ ½´¿·³»¼ º±® ¾´±½µ¿¹» ±® ±¬¸»®
         º¿½¬±®- ø»¨°´¿·² ·² ¼»¬¿·´ ·² Ð¿®¬ Ê×÷æ
   î     ß½¯«·-·¬·±² ·²¼»¾¬»¼²»-- ¿°°´·½¿¾´» ¬± ²±²ó»¨»³°¬ó«-» ¿--»¬-                           î
   í     Í«¾¬®¿½¬ ´·²» î º®±³ ´·²» ï¼ò                                                          í
   ì     Ý¿-¸ ¼»»³»¼ ¸»´¼ º±® »¨»³°¬ «-»ò Û²¬»® ïóïñîû ±º ´·²» í øº±® ¹®»¿¬»® ¿³±«²¬ô
         -»» ·²-¬®«½¬·±²-÷ò                                                                     ì
   ë     Ò»¬ ª¿´«» ±º ²±²ó»¨»³°¬ó«-» ¿--»¬- ø-«¾¬®¿½¬ ´·²» ì º®±³ ´·²» í÷                       ë
   ê     Ó«´¬·°´§ ´·²» ë ¾§ òðíëò                                                               ê
   é     Î»½±ª»®·»- ±º °®·±®ó§»¿® ¼·-¬®·¾«¬·±²-                                                 é
   è     Ó·²·³«³ ß--»¬ ß³±«²¬ ø¿¼¼ ´·²» é ¬± ´·²» ê÷                                            è

  Í»½¬·±² Ý ó Ü·-¬®·¾«¬¿¾´» ß³±«²¬                                                                                                       Ý«®®»²¬ Ç»¿®

   ï     ß¼¶«-¬»¼ ²»¬ ·²½±³» º±® °®·±® §»¿® øº®±³ Í»½¬·±² ßô ´·²» èô Ý±´«³² ß÷                     ï
   î     Û²¬»® èëû ±º ´·²» ïò                                                                      î
   í     Ó·²·³«³ ¿--»¬ ¿³±«²¬ º±® °®·±® §»¿® øº®±³ Í»½¬·±² Þô ´·²» èô Ý±´«³² ß÷                    í
   ì     Û²¬»® ¹®»¿¬»® ±º ´·²» î ±® ´·²» íò                                                        ì
   ë     ×²½±³» ¬¿¨ ·³°±-»¼ ·² °®·±® §»¿®                                                          ë
   ê     Ü·-¬®·¾«¬¿¾´» ß³±«²¬ò Í«¾¬®¿½¬ ´·²» ë º®±³ ´·²» ìô «²´»-- -«¾¶»½¬ ¬±
         »³»®¹»²½§ ¬»³°±®¿®§ ®»¼«½¬·±² ø-»» ·²-¬®«½¬·±²-÷ò                                         ê
   é           Ý¸»½µ ¸»®» ·º ¬¸» ½«®®»²¬ §»¿® ·- ¬¸» ±®¹¿²·¦¿¬·±²ù- º·®-¬ ¿- ¿ ²±²óº«²½¬·±²¿´´§ ·²¬»¹®¿¬»¼ Ì§°» ××× -«°°±®¬·²¹ ±®¹¿²·¦¿¬·±² ø-»»
               ·²-¬®«½¬·±²-÷ò
                                                                                                                      Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç




  çíîðîê ðçóîëóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                    ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                             çëóìëéðîëí Ð¿¹» é
   Ð¿®¬ Ê       Ì§°» ××× Ò±²óÚ«²½¬·±²¿´´§ ×²¬»¹®¿¬»¼ ëðçø¿÷øí÷ Í«°°±®¬·²¹ Ñ®¹¿²·¦¿¬·±²- (continued)
  Í»½¬·±² Ü ó Ü·-¬®·¾«¬·±²-                                                                                                 Ý«®®»²¬ Ç»¿®
   ï ß³±«²¬- °¿·¼ ¬± -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¬± ¿½½±³°´·-¸ »¨»³°¬ °«®°±-»-
   î ß³±«²¬- °¿·¼ ¬± °»®º±®³ ¿½¬·ª·¬§ ¬¸¿¬ ¼·®»½¬´§ º«®¬¸»®- »¨»³°¬ °«®°±-»- ±º -«°°±®¬»¼
       ±®¹¿²·¦¿¬·±²-ô ·² »¨½»-- ±º ·²½±³» º®±³ ¿½¬·ª·¬§
   í ß¼³·²·-¬®¿¬·ª» »¨°»²-»- °¿·¼ ¬± ¿½½±³°´·-¸ »¨»³°¬ °«®°±-»- ±º -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²-
   ì ß³±«²¬- °¿·¼ ¬± ¿½¯«·®» »¨»³°¬ó«-» ¿--»¬-
   ë Ï«¿´·º·»¼ -»¬ó¿-·¼» ¿³±«²¬- ø°®·±® ×ÎÍ ¿°°®±ª¿´ ®»¯«·®»¼÷
   ê Ñ¬¸»® ¼·-¬®·¾«¬·±²- ø¼»-½®·¾» ·² Ð¿®¬ Ê×÷ò Í»» ·²-¬®«½¬·±²-ò
   é Ì±¬¿´ ¿²²«¿´ ¼·-¬®·¾«¬·±²-ò ß¼¼ ´·²»- ï ¬¸®±«¹¸ êò
   è Ü·-¬®·¾«¬·±²- ¬± ¿¬¬»²¬·ª» -«°°±®¬»¼ ±®¹¿²·¦¿¬·±²- ¬± ©¸·½¸ ¬¸» ±®¹¿²·¦¿¬·±² ·- ®»-°±²-·ª»
       ø°®±ª·¼» ¼»¬¿·´- ·² Ð¿®¬ Ê×÷ò Í»» ·²-¬®«½¬·±²-ò
   ç Ü·-¬®·¾«¬¿¾´» ¿³±«²¬ º±® îðïç º®±³ Í»½¬·±² Ýô ´·²» ê
  ïð Ô·²» è ¿³±«²¬ ¼·ª·¼»¼ ¾§ ´·²» ç ¿³±«²¬
                                                                               ø·÷                       ø··÷                    ø···÷
  Í»½¬·±² Û ó Ü·-¬®·¾«¬·±² ß´´±½¿¬·±²- ø-»» ·²-¬®«½¬·±²-÷            Û¨½»-- Ü·-¬®·¾«¬·±²-         Ë²¼»®¼·-¬®·¾«¬·±²-        Ü·-¬®·¾«¬¿¾´»
                                                                                                      Ð®»óîðïç             ß³±«²¬ º±® îðïç

   ï    Ü·-¬®·¾«¬¿¾´» ¿³±«²¬ º±® îðïç º®±³ Í»½¬·±² Ýô ´·²» ê
   î    Ë²¼»®¼·-¬®·¾«¬·±²-ô ·º ¿²§ô º±® §»¿®- °®·±® ¬± îðïç ø®»¿-±²ó
        ¿¾´» ½¿«-» ®»¯«·®»¼ó »¨°´¿·² ·² Ð¿®¬ Ê×÷ò Í»» ·²-¬®«½¬·±²-ò
   í    Û¨½»-- ¼·-¬®·¾«¬·±²- ½¿®®§±ª»®ô ·º ¿²§ô ¬± îðïç
    ¿   Ú®±³ îðïì
    ¾   Ú®±³ îðïë
    ½   Ú®±³ îðïê
    ¼   Ú®±³ îðïé
    »   Ú®±³ îðïè
    º   Ì±¬¿´ ±º ´·²»- í¿ ¬¸®±«¹¸ »
    ¹   ß°°´·»¼ ¬± «²¼»®¼·-¬®·¾«¬·±²- ±º °®·±® §»¿®-
    ¸   ß°°´·»¼ ¬± îðïç ¼·-¬®·¾«¬¿¾´» ¿³±«²¬
    ·   Ý¿®®§±ª»® º®±³ îðïì ²±¬ ¿°°´·»¼ ø-»» ·²-¬®«½¬·±²-÷
    ¶   Î»³¿·²¼»®ò Í«¾¬®¿½¬ ´·²»- í¹ô í¸ô ¿²¼ í· º®±³ íºò
   ì    Ü·-¬®·¾«¬·±²- º±® îðïç º®±³ Í»½¬·±² Üô
        ´·²» éæ                             ü
    ¿   ß°°´·»¼ ¬± «²¼»®¼·-¬®·¾«¬·±²- ±º °®·±® §»¿®-
    ¾   ß°°´·»¼ ¬± îðïç ¼·-¬®·¾«¬¿¾´» ¿³±«²¬
    ½   Î»³¿·²¼»®ò Í«¾¬®¿½¬ ´·²»- ì¿ ¿²¼ ì¾ º®±³ ìò
   ë    Î»³¿·²·²¹ «²¼»®¼·-¬®·¾«¬·±²- º±® §»¿®- °®·±® ¬± îðïçô ·º
        ¿²§ò Í«¾¬®¿½¬ ´·²»- í¹ ¿²¼ ì¿ º®±³ ´·²» îò Ú±® ®»-«´¬ ¹®»¿¬»®
        ¬¸¿² ¦»®±ô »¨°´¿·² ·² Ð¿®¬ Ê×ò Í»» ·²-¬®«½¬·±²-ò
   ê    Î»³¿·²·²¹ «²¼»®¼·-¬®·¾«¬·±²- º±® îðïçò Í«¾¬®¿½¬ ´·²»- í¸
        ¿²¼ ì¾ º®±³ ´·²» ïò Ú±® ®»-«´¬ ¹®»¿¬»® ¬¸¿² ¦»®±ô »¨°´¿·² ·²
        Ð¿®¬ Ê×ò Í»» ·²-¬®«½¬·±²-ò
   é    Û¨½»-- ¼·-¬®·¾«¬·±²- ½¿®®§±ª»® ¬± îðîðò ß¼¼ ´·²»- í¶
        ¿²¼ ì½ò
   è    Þ®»¿µ¼±©² ±º ´·²» éæ
    ¿   Û¨½»-- º®±³ îðïë
    ¾   Û¨½»-- º®±³ îðïê
    ½   Û¨½»-- º®±³ îðïé
    ¼   Û¨½»-- º®±³ îðïè
    »   Û¨½»-- º®±³ îðïç
                                                                                                           Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç




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ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                   ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò
  Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç                                                                                 çëóìëéðîëí Ð¿¹» è
   Ð¿®¬ Ê×      Í«°°´»³»²¬¿´ ×²º±®³¿¬·±²ò Ð®±ª·¼» ¬¸» »¨°´¿²¿¬·±²- ®»¯«·®»¼ ¾§ Ð¿®¬ ××ô ´·²» ïðå Ð¿®¬ ××ô ´·²» ïé¿ ±® ïé¾å Ð¿®¬ ×××ô ´·²» ïîå
                Ð¿®¬ ×Êô Í»½¬·±² ßô ´·²»- ïô îô í¾ô í½ô ì¾ô ì½ô ë¿ô êô ç¿ô ç¾ô ç½ô ïï¿ô ïï¾ô ¿²¼ ïï½å Ð¿®¬ ×Êô Í»½¬·±² Þô ´·²»- ï ¿²¼ îå Ð¿®¬ ×Êô Í»½¬·±² Ýô
                ´·²» ïå Ð¿®¬ ×Êô Í»½¬·±² Üô ´·²»- î ¿²¼ íå Ð¿®¬ ×Êô Í»½¬·±² Ûô ´·²»- ï½ô î¿ô î¾ô í¿ô ¿²¼ í¾å Ð¿®¬ Êô ´·²» ïå Ð¿®¬ Êô Í»½¬·±² Þô ´·²» ï»å Ð¿®¬ Êô
                Í»½¬·±² Üô ´·²»- ëô êô ¿²¼ èå ¿²¼ Ð¿®¬ Êô Í»½¬·±² Ûô ´·²»- îô ëô ¿²¼ êò ß´-± ½±³°´»¬» ¬¸·- °¿®¬ º±® ¿²§ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò
                øÍ»» ·²-¬®«½¬·±²-ò÷




  çíîðîè ðçóîëóïç                                                                                                       Í½¸»¼«´» ß øÚ±®³ ççð ±® ççðóÛÆ÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                     îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                                                                                                                         ÑÓÞ Ò±ò ïëìëóððìé
  SCHEDULE D                                   Í«°°´»³»²¬¿´ Ú·²¿²½·¿´ Í¬¿¬»³»²¬-
  øÚ±®³ ççð÷                                 ¤ Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô
                                           Ð¿®¬ ×Êô ´·²» êô éô èô çô ïðô ïï¿ô ïï¾ô ïï½ô ïï¼ô ïï»ô ïïºô ïî¿ô ±® ïî¾ò
                                                                                                                                          îðïç
                                                                                                                                          Ñ°»² ¬± Ð«¾´·½
  Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                                        ¤ ß¬¬¿½¸ ¬± Ú±®³ ççðò
  ×²¬»®²¿´ Î»ª»²«» Í»®ª·½»               ¤Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ·²-¬®«½¬·±²- ¿²¼ ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                          ×²-°»½¬·±²
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                                Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                              ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                 çëóìëéðîëí
   Ð¿®¬ ×         Ñ®¹¿²·¦¿¬·±²- Ó¿·²¬¿·²·²¹ Ü±²±® ß¼ª·-»¼ Ú«²¼- ±® Ñ¬¸»® Í·³·´¿® Ú«²¼- ±® ß½½±«²¬-ò Ý±³°´»¬» ·º ¬¸»
                  ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» êò
                                                                               ø¿÷ Ü±²±® ¿¼ª·-»¼ º«²¼-                 ø¾÷ Ú«²¼- ¿²¼ ±¬¸»® ¿½½±«²¬-
    ï Ì±¬¿´ ²«³¾»® ¿¬ »²¼ ±º §»¿® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    î ß¹¹®»¹¿¬» ª¿´«» ±º ½±²¬®·¾«¬·±²- ¬± ø¼«®·²¹ §»¿®÷ ¢¢¢¢
    í ß¹¹®»¹¿¬» ª¿´«» ±º ¹®¿²¬- º®±³ ø¼«®·²¹ §»¿®÷ ¢¢¢¢¢¢
    ì ß¹¹®»¹¿¬» ª¿´«» ¿¬ »²¼ ±º §»¿® ¢¢¢¢¢¢¢¢¢¢¢¢¢
    ë Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²º±®³ ¿´´ ¼±²±®- ¿²¼ ¼±²±® ¿¼ª·-±®- ·² ©®·¬·²¹ ¬¸¿¬ ¬¸» ¿--»¬- ¸»´¼ ·² ¼±²±® ¿¼ª·-»¼ º«²¼-
      ¿®» ¬¸» ±®¹¿²·¦¿¬·±²ù- °®±°»®¬§ô -«¾¶»½¬ ¬± ¬¸» ±®¹¿²·¦¿¬·±²ù- »¨½´«-·ª» ´»¹¿´ ½±²¬®±´á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           Ç»-               Ò±
   ê Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²º±®³ ¿´´ ¹®¿²¬»»-ô ¼±²±®-ô ¿²¼ ¼±²±® ¿¼ª·-±®- ·² ©®·¬·²¹ ¬¸¿¬ ¹®¿²¬ º«²¼- ½¿² ¾» «-»¼ ±²´§
      º±® ½¸¿®·¬¿¾´» °«®°±-»- ¿²¼ ²±¬ º±® ¬¸» ¾»²»º·¬ ±º ¬¸» ¼±²±® ±® ¼±²±® ¿¼ª·-±®ô ±® º±® ¿²§ ±¬¸»® °«®°±-» ½±²º»®®·²¹
      ·³°»®³·--·¾´» °®·ª¿¬» ¾»²»º·¬á ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                          Ç»-               Ò±
   Ð¿®¬ ×× Ý±²-»®ª¿¬·±² Û¿-»³»²¬-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» éò
    ï    Ð«®°±-»ø-÷ ±º ½±²-»®ª¿¬·±² »¿-»³»²¬- ¸»´¼ ¾§ ¬¸» ±®¹¿²·¦¿¬·±² ø½¸»½µ ¿´´ ¬¸¿¬ ¿°°´§÷ò
              Ð®»-»®ª¿¬·±² ±º ´¿²¼ º±® °«¾´·½ «-» øº±® »¨¿³°´»ô ®»½®»¿¬·±² ±® »¼«½¿¬·±²÷       Ð®»-»®ª¿¬·±² ±º ¿ ¸·-¬±®·½¿´´§ ·³°±®¬¿²¬ ´¿²¼ ¿®»¿
              Ð®±¬»½¬·±² ±º ²¿¬«®¿´ ¸¿¾·¬¿¬                                                    Ð®»-»®ª¿¬·±² ±º ¿ ½»®¬·º·»¼ ¸·-¬±®·½ -¬®«½¬«®»
              Ð®»-»®ª¿¬·±² ±º ±°»² -°¿½»
    î    Ý±³°´»¬» ´·²»- î¿ ¬¸®±«¹¸ î¼ ·º ¬¸» ±®¹¿²·¦¿¬·±² ¸»´¼ ¿ ¯«¿´·º·»¼ ½±²-»®ª¿¬·±² ½±²¬®·¾«¬·±² ·² ¬¸» º±®³ ±º ¿ ½±²-»®ª¿¬·±² »¿-»³»²¬ ±² ¬¸» ´¿-¬
         ¼¿§ ±º ¬¸» ¬¿¨ §»¿®ò                                                                                                 Ø»´¼ ¿¬ ¬¸» Û²¼ ±º ¬¸» Ì¿¨ Ç»¿®
     ¿   Ì±¬¿´ ²«³¾»® ±º ½±²-»®ª¿¬·±² »¿-»³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                         î¿
     ¾   Ì±¬¿´ ¿½®»¿¹» ®»-¬®·½¬»¼ ¾§ ½±²-»®ª¿¬·±² »¿-»³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                   î¾
     ½   Ò«³¾»® ±º ½±²-»®ª¿¬·±² »¿-»³»²¬- ±² ¿ ½»®¬·º·»¼ ¸·-¬±®·½ -¬®«½¬«®» ·²½´«¼»¼ ·² ø¿÷ ¢¢¢¢¢¢¢¢¢¢¢¢                 î½
     ¼   Ò«³¾»® ±º ½±²-»®ª¿¬·±² »¿-»³»²¬- ·²½´«¼»¼ ·² ø½÷ ¿½¯«·®»¼ ¿º¬»® éñîëñðêô ¿²¼ ²±¬ ±² ¿ ¸·-¬±®·½ -¬®«½¬«®»
         ´·-¬»¼ ·² ¬¸» Ò¿¬·±²¿´ Î»¹·-¬»® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          î¼
    í    Ò«³¾»® ±º ½±²-»®ª¿¬·±² »¿-»³»²¬- ³±¼·º·»¼ô ¬®¿²-º»®®»¼ô ®»´»¿-»¼ô »¨¬·²¹«·-¸»¼ô ±® ¬»®³·²¿¬»¼ ¾§ ¬¸» ±®¹¿²·¦¿¬·±² ¼«®·²¹ ¬¸» ¬¿¨
         §»¿® ¤
    ì    Ò«³¾»® ±º -¬¿¬»- ©¸»®» °®±°»®¬§ -«¾¶»½¬ ¬± ½±²-»®ª¿¬·±² »¿-»³»²¬ ·- ´±½¿¬»¼ ¤
    ë    Ü±»- ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿ ©®·¬¬»² °±´·½§ ®»¹¿®¼·²¹ ¬¸» °»®·±¼·½ ³±²·¬±®·²¹ô ·²-°»½¬·±²ô ¸¿²¼´·²¹ ±º
         ª·±´¿¬·±²-ô ¿²¼ »²º±®½»³»²¬ ±º ¬¸» ½±²-»®ª¿¬·±² »¿-»³»²¬- ·¬ ¸±´¼-á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    Ç»-             Ò±
    ê    Í¬¿ºº ¿²¼ ª±´«²¬»»® ¸±«®- ¼»ª±¬»¼ ¬± ³±²·¬±®·²¹ô ·²-°»½¬·²¹ô ¸¿²¼´·²¹ ±º ª·±´¿¬·±²-ô ¿²¼ »²º±®½·²¹ ½±²-»®ª¿¬·±² »¿-»³»²¬- ¼«®·²¹ ¬¸» §»¿®
         ¤
    é    ß³±«²¬ ±º »¨°»²-»- ·²½«®®»¼ ·² ³±²·¬±®·²¹ô ·²-°»½¬·²¹ô ¸¿²¼´·²¹ ±º ª·±´¿¬·±²-ô ¿²¼ »²º±®½·²¹ ½±²-»®ª¿¬·±² »¿-»³»²¬- ¼«®·²¹ ¬¸» §»¿®
         ¤ü
    è    Ü±»- »¿½¸ ½±²-»®ª¿¬·±² »¿-»³»²¬ ®»°±®¬»¼ ±² ´·²» îø¼÷ ¿¾±ª» -¿¬·-º§ ¬¸» ®»¯«·®»³»²¬- ±º -»½¬·±² ïéðø¸÷øì÷øÞ÷ø·÷
         ¿²¼ -»½¬·±² ïéðø¸÷øì÷øÞ÷ø··÷á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                      Ç»-               Ò±
    ç    ×² Ð¿®¬ È×××ô ¼»-½®·¾» ¸±© ¬¸» ±®¹¿²·¦¿¬·±² ®»°±®¬- ½±²-»®ª¿¬·±² »¿-»³»²¬- ·² ·¬- ®»ª»²«» ¿²¼ »¨°»²-» -¬¿¬»³»²¬ ¿²¼
         ¾¿´¿²½» -¸»»¬ô ¿²¼ ·²½´«¼»ô ·º ¿°°´·½¿¾´»ô ¬¸» ¬»¨¬ ±º ¬¸» º±±¬²±¬» ¬± ¬¸» ±®¹¿²·¦¿¬·±²ù- º·²¿²½·¿´ -¬¿¬»³»²¬- ¬¸¿¬ ¼»-½®·¾»- ¬¸»
         ±®¹¿²·¦¿¬·±²ù- ¿½½±«²¬·²¹ º±® ½±²-»®ª¿¬·±² »¿-»³»²¬-ò
   Ð¿®¬ ×××       Ñ®¹¿²·¦¿¬·±²- Ó¿·²¬¿·²·²¹ Ý±´´»½¬·±²- ±º ß®¬ô Ø·-¬±®·½¿´ Ì®»¿-«®»-ô ±® Ñ¬¸»® Í·³·´¿® ß--»¬-ò
                  Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» èò
   ï¿ ×º ¬¸» ±®¹¿²·¦¿¬·±² »´»½¬»¼ô ¿- °»®³·¬¬»¼ «²¼»® ÚßÍÞ ßÍÝ çëèô ²±¬ ¬± ®»°±®¬ ·² ·¬- ®»ª»²«» -¬¿¬»³»²¬ ¿²¼ ¾¿´¿²½» -¸»»¬ ©±®µ-
      ±º ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬- ¸»´¼ º±® °«¾´·½ »¨¸·¾·¬·±²ô »¼«½¿¬·±²ô ±® ®»-»¿®½¸ ·² º«®¬¸»®¿²½» ±º °«¾´·½
      -»®ª·½»ô °®±ª·¼» ·² Ð¿®¬ È××× ¬¸» ¬»¨¬ ±º ¬¸» º±±¬²±¬» ¬± ·¬- º·²¿²½·¿´ -¬¿¬»³»²¬- ¬¸¿¬ ¼»-½®·¾»- ¬¸»-» ·¬»³-ò
    ¾ ×º ¬¸» ±®¹¿²·¦¿¬·±² »´»½¬»¼ô ¿- °»®³·¬¬»¼ «²¼»® ÚßÍÞ ßÍÝ çëèô ¬± ®»°±®¬ ·² ·¬- ®»ª»²«» -¬¿¬»³»²¬ ¿²¼ ¾¿´¿²½» -¸»»¬ ©±®µ- ±º
      ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬- ¸»´¼ º±® °«¾´·½ »¨¸·¾·¬·±²ô »¼«½¿¬·±²ô ±® ®»-»¿®½¸ ·² º«®¬¸»®¿²½» ±º °«¾´·½ -»®ª·½»ô
      °®±ª·¼» ¬¸» º±´´±©·²¹ ¿³±«²¬- ®»´¿¬·²¹ ¬± ¬¸»-» ·¬»³-æ
      ø·÷ Î»ª»²«» ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» ï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤ ü
      ø··÷ ß--»¬- ·²½´«¼»¼ ·² Ú±®³ ççðô Ð¿®¬ È ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤ ü
   î ×º ¬¸» ±®¹¿²·¦¿¬·±² ®»½»·ª»¼ ±® ¸»´¼ ©±®µ- ±º ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬- º±® º·²¿²½·¿´ ¹¿·²ô °®±ª·¼»
      ¬¸» º±´´±©·²¹ ¿³±«²¬- ®»¯«·®»¼ ¬± ¾» ®»°±®¬»¼ «²¼»® ÚßÍÞ ßÍÝ çëè ®»´¿¬·²¹ ¬± ¬¸»-» ·¬»³-æ
    ¿ Î»ª»²«» ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» ï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤ ü
    ¾ ß--»¬- ·²½´«¼»¼ ·² Ú±®³ ççðô Ð¿®¬ È ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤ ü
  ÔØß Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççðò                                                     Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç
  çíîðëï ïðóðîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                    îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç    ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                çëóìëéðîëí Ð¿¹» î
   Ð¿®¬ ×××     Ñ®¹¿²·¦¿¬·±²- Ó¿·²¬¿·²·²¹ Ý±´´»½¬·±²- ±º ß®¬ô Ø·-¬±®·½¿´ Ì®»¿-«®»-ô ±® Ñ¬¸»® Í·³·´¿® ß--»¬-(continued)
   í  Ë-·²¹ ¬¸» ±®¹¿²·¦¿¬·±²ù- ¿½¯«·-·¬·±²ô ¿½½»--·±²ô ¿²¼ ±¬¸»® ®»½±®¼-ô ½¸»½µ ¿²§ ±º ¬¸» º±´´±©·²¹ ¬¸¿¬ ³¿µ» -·¹²·º·½¿²¬ «-» ±º ·¬-
      ½±´´»½¬·±² ·¬»³- ø½¸»½µ ¿´´ ¬¸¿¬ ¿°°´§÷æ
    ¿       Ð«¾´·½ »¨¸·¾·¬·±²                                          ¼          Ô±¿² ±® »¨½¸¿²¹» °®±¹®¿³
    ¾       Í½¸±´¿®´§ ®»-»¿®½¸                                         »          Ñ¬¸»®
    ½       Ð®»-»®ª¿¬·±² º±® º«¬«®» ¹»²»®¿¬·±²-
   ì Ð®±ª·¼» ¿ ¼»-½®·°¬·±² ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ½±´´»½¬·±²- ¿²¼ »¨°´¿·² ¸±© ¬¸»§ º«®¬¸»® ¬¸» ±®¹¿²·¦¿¬·±²ù- »¨»³°¬ °«®°±-» ·² Ð¿®¬ È×××ò
   ë Ü«®·²¹ ¬¸» §»¿®ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² -±´·½·¬ ±® ®»½»·ª» ¼±²¿¬·±²- ±º ¿®¬ô ¸·-¬±®·½¿´ ¬®»¿-«®»-ô ±® ±¬¸»® -·³·´¿® ¿--»¬-
      ¬± ¾» -±´¼ ¬± ®¿·-» º«²¼- ®¿¬¸»® ¬¸¿² ¬± ¾» ³¿·²¬¿·²»¼ ¿- °¿®¬ ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- ½±´´»½¬·±²á ¡¡¡¡¡¡¡¡¡¡¡¡                   Ç»-                   Ò±
   Ð¿®¬ ×Ê Û-½®±© ¿²¼ Ý«-¬±¼·¿´ ß®®¿²¹»³»²¬-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» çô ±®
              ®»°±®¬»¼ ¿² ¿³±«²¬ ±² Ú±®³ ççðô Ð¿®¬ Èô ´·²» îïò
   ï¿ ×- ¬¸» ±®¹¿²·¦¿¬·±² ¿² ¿¹»²¬ô ¬®«-¬»»ô ½«-¬±¼·¿² ±® ±¬¸»® ·²¬»®³»¼·¿®§ º±® ½±²¬®·¾«¬·±²- ±® ±¬¸»® ¿--»¬- ²±¬ ·²½´«¼»¼
      ±² Ú±®³ ççðô Ð¿®¬ Èá ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                Ç»-             Ò±
    ¾ ×º þÇ»-ôþ »¨°´¿·² ¬¸» ¿®®¿²¹»³»²¬ ·² Ð¿®¬ È××× ¿²¼ ½±³°´»¬» ¬¸» º±´´±©·²¹ ¬¿¾´»æ
                                                                                                                             ß³±«²¬
    ½ Þ»¹·²²·²¹ ¾¿´¿²½» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                   ï½
    ¼ ß¼¼·¬·±²- ¼«®·²¹ ¬¸» §»¿® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                              ï¼
    » Ü·-¬®·¾«¬·±²- ¼«®·²¹ ¬¸» §»¿® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ï»
    º Û²¼·²¹ ¾¿´¿²½» ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                    ïº
   î¿ Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ·²½´«¼» ¿² ¿³±«²¬ ±² Ú±®³ ççðô Ð¿®¬ Èô ´·²» îïô º±® »-½®±© ±® ½«-¬±¼·¿´ ¿½½±«²¬ ´·¿¾·´·¬§á ¢¢¢¢¢   Ç»-                           Ò±
    ¾ ×º þÇ»-ôþ »¨°´¿·² ¬¸» ¿®®¿²¹»³»²¬ ·² Ð¿®¬ È×××ò Ý¸»½µ ¸»®» ·º ¬¸» »¨°´¿²¿¬·±² ¸¿- ¾»»² °®±ª·¼»¼ ±² Ð¿®¬ È××× ¡¡¡¡¡¡¡¡¡¡¡¡¡
   Ð¿®¬ Ê Û²¼±©³»²¬ Ú«²¼-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïðò
                                                       ø¿÷ Ý«®®»²¬ §»¿®     ø¾÷ Ð®·±® §»¿®     ø½÷ Ì©± §»¿®- ¾¿½µ   ø¼÷ Ì¸®»» §»¿®- ¾¿½µ   ø»÷ Ú±«® §»¿®- ¾¿½µ
   ï¿   Þ»¹·²²·²¹ ±º §»¿® ¾¿´¿²½» ¢¢¢¢¢¢¢
    ¾   Ý±²¬®·¾«¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    ½   Ò»¬ ·²ª»-¬³»²¬ »¿®²·²¹-ô ¹¿·²-ô ¿²¼ ´±--»-
    ¼   Ù®¿²¬- ±® -½¸±´¿®-¸·°- ¢¢¢¢¢¢¢¢¢
    »   Ñ¬¸»® »¨°»²¼·¬«®»- º±® º¿½·´·¬·»-
        ¿²¼ °®±¹®¿³- ¢¢¢¢¢¢¢¢¢¢¢¢¢
    º   ß¼³·²·-¬®¿¬·ª» »¨°»²-»- ¢¢¢¢¢¢¢¢
    ¹   Û²¼ ±º §»¿® ¾¿´¿²½» ¢¢¢¢¢¢¢¢¢¢
   î    Ð®±ª·¼» ¬¸» »-¬·³¿¬»¼ °»®½»²¬¿¹» ±º ¬¸» ½«®®»²¬ §»¿® »²¼ ¾¿´¿²½» ø´·²» ï¹ô ½±´«³² ø¿÷÷ ¸»´¼ ¿-æ
    ¿   Þ±¿®¼ ¼»-·¹²¿¬»¼ ±® ¯«¿-·ó»²¼±©³»²¬ ¤                                   û
    ¾   Ð»®³¿²»²¬ »²¼±©³»²¬ ¤                                  û
    ½   Ì»®³ »²¼±©³»²¬ ¤                                 û
        Ì¸» °»®½»²¬¿¹»- ±² ´·²»- î¿ô î¾ô ¿²¼ î½ -¸±«´¼ »¯«¿´ ïððû ò
   í¿   ß®» ¬¸»®» »²¼±©³»²¬ º«²¼- ²±¬ ·² ¬¸» °±--»--·±² ±º ¬¸» ±®¹¿²·¦¿¬·±² ¬¸¿¬ ¿®» ¸»´¼ ¿²¼ ¿¼³·²·-¬»®»¼ º±® ¬¸» ±®¹¿²·¦¿¬·±²
        ¾§æ                                                                                                                                          Ç»-    Ò±
        ø·÷ Ë²®»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                        í¿ø·÷
        ø··÷ Î»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                        í¿ø··÷
    ¾   ×º þÇ»-þ ±² ´·²» í¿ø··÷ô ¿®» ¬¸» ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ´·-¬»¼ ¿- ®»¯«·®»¼ ±² Í½¸»¼«´» Îá ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                        í¾
   ì    Ü»-½®·¾» ·² Ð¿®¬ È××× ¬¸» ·²¬»²¼»¼ «-»- ±º ¬¸» ±®¹¿²·¦¿¬·±²ù- »²¼±©³»²¬ º«²¼-ò
   Ð¿®¬ Ê×      Ô¿²¼ô Þ«·´¼·²¹-ô ¿²¼ Û¯«·°³»²¬ò
                Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïï¿ò Í»» Ú±®³ ççðô Ð¿®¬ Èô ´·²» ïðò
                    Ü»-½®·°¬·±² ±º °®±°»®¬§                  ø¿÷ Ý±-¬ ±® ±¬¸»®       ø¾÷ Ý±-¬ ±® ±¬¸»®        ø½÷ ß½½«³«´¿¬»¼              ø¼÷ Þ±±µ ª¿´«»
                                                            ¾¿-·- ø·²ª»-¬³»²¬÷         ¾¿-·- ø±¬¸»®÷            ¼»°®»½·¿¬·±²
   ï¿ Ô¿²¼ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    ¾ Þ«·´¼·²¹- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
    ½ Ô»¿-»¸±´¼ ·³°®±ª»³»²¬- ¢¢¢¢¢¢¢¢¢¢                                                    ìëôìïëò         íìôðêðò           ïïôíëëò
    ¼ Û¯«·°³»²¬ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                        íéëôéïéò         íëìôðèèò           îïôêîçò
    » Ñ¬¸»® ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                         ëëèôíðîò         ìêíôçèéò           çìôíïëò
  Ì±¬¿´ò ß¼¼ ´·²»- ï¿ ¬¸®±«¹¸ ï»ò (Column (d) must equal Form 990, Part X, column (B), line 10c.) ¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤          ïîéôîççò
                                                                                                               Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç




  çíîðëî ïðóðîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                  îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                               çëóìëéðîëí Ð¿¹» í
   Ð¿®¬ Ê×× ×²ª»-¬³»²¬- ó Ñ¬¸»® Í»½«®·¬·»-ò
                 Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïï¾ò Í»» Ú±®³ ççðô Ð¿®¬ Èô ´·²» ïîò
    ø¿÷ Ü»-½®·°¬·±² ±º -»½«®·¬§ ±® ½¿¬»¹±®§ ø·²½´«¼·²¹ ²¿³» ±º -»½«®·¬§÷ ø¾÷ Þ±±µ ª¿´«»     ø½÷ Ó»¬¸±¼ ±º ª¿´«¿¬·±²æ Ý±-¬ ±® »²¼ó±ºó§»¿® ³¿®µ»¬ ª¿´«»
  øï÷ Ú·²¿²½·¿´ ¼»®·ª¿¬·ª»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢
  øî÷ Ý´±-»´§ ¸»´¼ »¯«·¬§ ·²¬»®»-¬- ¢¢¢¢¢¢¢¢¢¢¢
  øí÷ Ñ¬¸»®
     øß÷
     øÞ÷
     øÝ÷
     øÜ÷
     øÛ÷
     øÚ÷
     øÙ÷
     øØ÷
  Ì±¬¿´ò øÝ±´ò ø¾÷ ³«-¬ »¯«¿´ Ú±®³ ççðô Ð¿®¬ Èô ½±´ò øÞ÷ ´·²» ïîò÷ ¤
   Ð¿®¬ Ê××× ×²ª»-¬³»²¬- ó Ð®±¹®¿³ Î»´¿¬»¼ò
                 Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïï½ò Í»» Ú±®³ ççðô Ð¿®¬ Èô ´·²» ïíò
                  ø¿÷ Ü»-½®·°¬·±² ±º ·²ª»-¬³»²¬                   ø¾÷ Þ±±µ ª¿´«»             ø½÷ Ó»¬¸±¼ ±º ª¿´«¿¬·±²æ Ý±-¬ ±® »²¼ó±ºó§»¿® ³¿®µ»¬ ª¿´«»
     øï÷
     øî÷
     øí÷
     øì÷
     øë÷
     øê÷
     øé÷
     øè÷
     øç÷
  Ì±¬¿´ò øÝ±´ò ø¾÷ ³«-¬ »¯«¿´ Ú±®³ ççðô Ð¿®¬ Èô ½±´ò øÞ÷ ´·²» ïíò÷ ¤
   Ð¿®¬ ×È       Ñ¬¸»® ß--»¬-ò
                 Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïï¼ò Í»» Ú±®³ ççðô Ð¿®¬ Èô ´·²» ïëò
                                                         ø¿÷ Ü»-½®·°¬·±²                                                               ø¾÷ Þ±±µ ª¿´«»
     øï÷
     øî÷
     øí÷
     øì÷
     øë÷
     øê÷
     øé÷
     øè÷
     øç÷
  Ì±¬¿´ò (Column (b) must equal Form 990, Part X, col. (B) line 15.) ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
   Ð¿®¬ È        Ñ¬¸»® Ô·¿¾·´·¬·»-ò
                 Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïï» ±® ïïºò Í»» Ú±®³ ççðô Ð¿®¬ Èô ´·²» îëò
  ïò                           ø¿÷ Ü»-½®·°¬·±² ±º ´·¿¾·´·¬§                                                                            ø¾÷ Þ±±µ ª¿´«»
     øï÷ Ú»¼»®¿´ ·²½±³» ¬¿¨»-
     øî÷ ÑÚÚ×ÝÛ ÔÛßÍÛ                                                                                                                           ïêíôçéëò
     øí÷   ÐßÇÝØÛÝÕ            ÐÎÑÌÛÝÌ×ÑÒ              ÐÎÑÙÎßÓ         ÔÑßÒ                                                                     ìèêôîððò
     øì÷
     øë÷
     øê÷
     øé÷
     øè÷
     øç÷
  Ì±¬¿´ò (Column (b) must equal Form 990, Part X, col. (B) line 25.) ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤                                             êëðôïéëò
  îò Ô·¿¾·´·¬§ º±® «²½»®¬¿·² ¬¿¨ °±-·¬·±²-ò ×² Ð¿®¬ È×××ô °®±ª·¼» ¬¸» ¬»¨¬ ±º ¬¸» º±±¬²±¬» ¬± ¬¸» ±®¹¿²·¦¿¬·±²ù- º·²¿²½·¿´ -¬¿¬»³»²¬- ¬¸¿¬ ®»°±®¬- ¬¸»
      ±®¹¿²·¦¿¬·±²ù- ´·¿¾·´·¬§ º±® «²½»®¬¿·² ¬¿¨ °±-·¬·±²- «²¼»® ÚßÍÞ ßÍÝ éìðò Ý¸»½µ ¸»®» ·º ¬¸» ¬»¨¬ ±º ¬¸» º±±¬²±¬» ¸¿- ¾»»² °®±ª·¼»¼ ·² Ð¿®¬ È×××¡ È
                                                                                                                                  Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç

  çíîðëí ïðóðîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                         îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç      ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                         çëóìëéðîëí Ð¿¹» ì
  Ð¿®¬ È×       Î»½±²½·´·¿¬·±² ±º Î»ª»²«» °»® ß«¼·¬»¼ Ú·²¿²½·¿´ Í¬¿¬»³»²¬- É·¬¸ Î»ª»²«» °»® Î»¬«®²ò
                Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïî¿ò
   ï    Ì±¬¿´ ®»ª»²«»ô ¹¿·²-ô ¿²¼ ±¬¸»® -«°°±®¬ °»® ¿«¼·¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                     ï
   î    ß³±«²¬- ·²½´«¼»¼ ±² ´·²» ï ¾«¬ ²±¬ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» ïîæ
    ¿   Ò»¬ «²®»¿´·¦»¼ ¹¿·²- ø´±--»-÷ ±² ·²ª»-¬³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                     î¿
    ¾   Ü±²¿¬»¼ -»®ª·½»- ¿²¼ «-» ±º º¿½·´·¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       î¾
    ½   Î»½±ª»®·»- ±º °®·±® §»¿® ¹®¿²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           î½
    ¼   Ñ¬¸»® øÜ»-½®·¾» ·² Ð¿®¬ È×××ò÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           î¼
    »   ß¼¼ ´·²»- î¿ ¬¸®±«¹¸ î¼ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                             î»
   í    Í«¾¬®¿½¬ ´·²» î» º®±³ ´·²» ï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                          í
   ì    ß³±«²¬- ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» ïîô ¾«¬ ²±¬ ±² ´·²» ïæ
    ¿   ×²ª»-¬³»²¬ »¨°»²-»- ²±¬ ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» é¾ ¢¢¢¢¢¢¢¢           ì¿
    ¾   Ñ¬¸»® øÜ»-½®·¾» ·² Ð¿®¬ È×××ò÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           ì¾
    ½   ß¼¼ ´·²»- ì¿ ¿²¼ ì¾ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                               ì½
   ë    Ì±¬¿´ ®»ª»²«»ò ß¼¼ ´·²»- í ¿²¼ ì½ò (This must equal Form 990, Part I, line 12.) ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                ë
   Ð¿®¬ È×× Î»½±²½·´·¿¬·±² ±º Û¨°»²-»- °»® ß«¼·¬»¼ Ú·²¿²½·¿´ Í¬¿¬»³»²¬- É·¬¸ Û¨°»²-»- °»® Î»¬«®²ò
                Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïî¿ò
   ï    Ì±¬¿´ »¨°»²-»- ¿²¼ ´±--»- °»® ¿«¼·¬»¼ º·²¿²½·¿´ -¬¿¬»³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ï
   î    ß³±«²¬- ·²½´«¼»¼ ±² ´·²» ï ¾«¬ ²±¬ ±² Ú±®³ ççðô Ð¿®¬ ×Èô ´·²» îëæ
    ¿   Ü±²¿¬»¼ -»®ª·½»- ¿²¼ «-» ±º º¿½·´·¬·»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                       î¿
    ¾   Ð®·±® §»¿® ¿¼¶«-¬³»²¬- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                î¾
    ½   Ñ¬¸»® ´±--»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                     î½
    ¼   Ñ¬¸»® øÜ»-½®·¾» ·² Ð¿®¬ È×××ò÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           î¼
    »   ß¼¼ ´·²»- î¿ ¬¸®±«¹¸ î¼ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                             î»
   í    Í«¾¬®¿½¬ ´·²» î» º®±³ ´·²» ï ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                          í
   ì    ß³±«²¬- ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ ×Èô ´·²» îëô ¾«¬ ²±¬ ±² ´·²» ïæ
    ¿   ×²ª»-¬³»²¬ »¨°»²-»- ²±¬ ·²½´«¼»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê×××ô ´·²» é¾ ¢¢¢¢¢¢¢¢           ì¿
    ¾   Ñ¬¸»® øÜ»-½®·¾» ·² Ð¿®¬ È×××ò÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           ì¾
    ½   ß¼¼ ´·²»- ì¿ ¿²¼ ì¾ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                               ì½
   ë    Ì±¬¿´ »¨°»²-»-ò ß¼¼ ´·²»- í ¿²¼ ì½ò (This must equal Form 990, Part I, line 18.) ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                ë
   Ð¿®¬ È××× Í«°°´»³»²¬¿´ ×²º±®³¿¬·±²ò
  Ð®±ª·¼» ¬¸» ¼»-½®·°¬·±²- ®»¯«·®»¼ º±® Ð¿®¬ ××ô ´·²»- íô ëô ¿²¼ çå Ð¿®¬ ×××ô ´·²»- ï¿ ¿²¼ ìå Ð¿®¬ ×Êô ´·²»- ï¾ ¿²¼ î¾å Ð¿®¬ Êô ´·²» ìå Ð¿®¬ Èô ´·²» îå Ð¿®¬ È×ô
  ´·²»- î¼ ¿²¼ ì¾å ¿²¼ Ð¿®¬ È××ô ´·²»- î¼ ¿²¼ ì¾ò ß´-± ½±³°´»¬» ¬¸·- °¿®¬ ¬± °®±ª·¼» ¿²§ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò



  ÐßÎÌ Èô Ô×ÒÛ îæ

  ÝßÛ ×Í ßÒ ÑÎÙßÒ×ÆßÌ×ÑÒ ÎÛÝÑÙÒ×ÆÛÜ ßÍ ÛÈÛÓÐÌ ÚÎÑÓ ÚÛÜÛÎßÔ ßÒÜ ÍÌßÌÛ ×ÒÝÑÓÛ

  ÌßÈÛÍ ËÒÜÛÎ ÍÛÝÌ×ÑÒ ëðïøÝ÷øí÷ ÑÚ ÌØÛ ×ÒÌÛÎÒßÔ ÎÛÊÛÒËÛ ÝÑÜÛ ßÒÜ Í×Ó×ÔßÎ

  ÍÌßÌÛ ÍÌßÌËÌÛÍò ÒÑ ÐÎÑÊ×Í×ÑÒ ÚÑÎ ×ÒÝÑÓÛ ÌßÈÛÍ ØßÍ ÞÛÛÒ ÎÛÚÔÛÝÌÛÜ ×Ò ÌØÛ

  ßÝÝÑÓÐßÒÇ×ÒÙ ÝÑÒÍÑÔ×ÜßÌÛÜ Ú×ÒßÒÝ×ßÔ ÍÌßÌÛÓÛÒÌÍò



  ß× ÉßÍ ß ÜÛÔßÉßÎÛ Ô×Ó×ÌÛÜ Ô×ßÞ×Ô×ÌÇ ÝÑÓÐßÒÇ ÌØßÌ ×Í ÉØÑÔÔÇóÑÉÒÛÜ ÞÇ ÝßÛò

  ß× ØßÍ ÛÔÛÝÌÛÜ ÌÑ ÞÛ ÌÎÛßÌÛÜ ßÍ ß ÌßÈßÞÔÛ ÝÑÎÐÑÎßÌ×ÑÒ ÚÑÎ ×ÒÝÑÓÛ ÌßÈ

  ÐËÎÐÑÍÛÍò               ßÍ ÑÚ ÖËÔÇ íïô îðïçô ß× ØßÜ ÚÛÜÛÎßÔ ßÝÝËÓËÔßÌÛÜ ÌßÈ ÔÑÍÍ

  ÝßÎÎÇÚÑÎÉßÎÜ ×Ò ÌØÛ ßÓÑËÒÌ ÑÚ üïôíèðôðððò ÓßÒßÙÛÓÛÒÌ ÛÈÐÛÝÌÍ ÌÑ Ú×ÔÛ ß

  Ú×ÒßÔ ÎÛÌËÎÒ ÚÑÎ Ú×ÍÝßÔ ÇÛßÎ îðîð ÍËÞÍÛÏËÛÒÌ ÌÑ ÌØÛ ÜßÌÛ ÑÚ ÌØÛ

  ßÝÝÑËÒÌßÒÌÍù ÎÛÐÑÎÌò
  çíîðëì ïðóðîóïç                                                                                                                     Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                      îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç   ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                    çëóìëéðîëí Ð¿¹» ë
  Ð¿®¬ È××× Í«°°´»³»²¬¿´ ×²º±®³¿¬·±² (continued)



  ÚÑÎ ÌØÛ ÇÛßÎ ÛÒÜÛÜ ÖËÔÇ íïô îðîðô ÝßÛ ßÒÜ ß× Ü×Ü ÒÑÌ ×ÜÛÒÌ×ÚÇ ßÒÇ

  ËÒÝÛÎÌß×Ò ÌßÈ ÐÑÍ×Ì×ÑÒÍ ÌßÕÛÒ ÑÎ ÛÈÐÛÝÌÛÜ ÌÑ ÞÛ ÌßÕÛÒô ÉØ×ÝØ ÉÑËÔÜ ÎÛÏË×ÎÛ

  ßÜÖËÍÌÓÛÒÌÍ ÑÎ Ü×ÍÝÔÑÍËÎÛ ×Ò ÌØÛ ÝÑÒÍÑÔ×ÜßÌÛÜ Ú×ÒßÒÝ×ßÔ ÍÌßÌÛÓÛÒÌÍò ÞÑÌØ

  ÝßÛ ßÒÜ ß× ßÎÛ ÐÑÌÛÒÌ×ßÔÔÇ ÍËÞÖÛÝÌ ÌÑ ÚÛÜÛÎßÔô ÍÌßÌÛ ßÒÜ ÔÑÝßÔ

  ÛÈßÓ×ÒßÌ×ÑÒÍ ÚÑÎ ÇÛßÎÍ ÍËÞÍÛÏËÛÒÌ ÌÑ ÖËÔÇ íïô îðïêò




                                                                                      Í½¸»¼«´» Ü øÚ±®³ ççð÷ îðïç
  çíîðëë ïðóðîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                    îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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                                                                                                                                           ÑÓÞ Ò±ò ïëìëóððìé
  SCHEDULE F                      Í¬¿¬»³»²¬ ±º ß½¬·ª·¬·»- Ñ«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»-
  øÚ±®³ ççð÷                     ¤ Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïì¾ô ïëô ±® ïêò
                                                               ¤ ß¬¬¿½¸ ¬± Ú±®³ ççðò
                                                                                                                                            îðïç
  Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                                                                                                           Ñ°»² ¬± Ð«¾´·½
  ×²¬»®²¿´ Î»ª»²«» Í»®ª·½»           ¤ Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ·²-¬®«½¬·±²- ¿²¼ ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                          ×²-°»½¬·±²
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                                 Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®

  ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                         çëóìëéðîëí
  Ð¿®¬ × Ù»²»®¿´ ×²º±®³¿¬·±² ±² ß½¬·ª·¬·»- Ñ«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±²
                Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïì¾ò
    ï    Ú±® ¹®¿²¬³¿µ»®-ò Ü±»- ¬¸» ±®¹¿²·¦¿¬·±² ³¿·²¬¿·² ®»½±®¼- ¬± -«¾-¬¿²¬·¿¬» ¬¸» ¿³±«²¬ ±º ·¬- ¹®¿²¬- ¿²¼ ±¬¸»® ¿--·-¬¿²½»ô
         ¬¸» ¹®¿²¬»»-ù »´·¹·¾·´·¬§ º±® ¬¸» ¹®¿²¬- ±® ¿--·-¬¿²½»ô ¿²¼ ¬¸» -»´»½¬·±² ½®·¬»®·¿ «-»¼ ¬± ¿©¿®¼ ¬¸» ¹®¿²¬- ±® ¿--·-¬¿²½»á ¢¢       Ç»-          Ò±

    î    Ú±® ¹®¿²¬³¿µ»®-ò Ü»-½®·¾» ·² Ð¿®¬ Ê ¬¸» ±®¹¿²·¦¿¬·±²ù- °®±½»¼«®»- º±® ³±²·¬±®·²¹ ¬¸» «-» ±º ·¬- ¹®¿²¬- ¿²¼ ±¬¸»® ¿--·-¬¿²½» ±«¬-·¼» ¬¸»
         Ë²·¬»¼ Í¬¿¬»-ò
    í    ß½¬·ª·¬·»- °»® Î»¹·±²ò øÌ¸» º±´´±©·²¹ Ð¿®¬ ×ô ´·²» í ¬¿¾´» ½¿² ¾» ¼«°´·½¿¬»¼ ·º ¿¼¼·¬·±²¿´ -°¿½» ·- ²»»¼»¼ò÷
             ø¿÷ Î»¹·±²            ø¾÷ Ò«³¾»® ±º ø½÷ Ò«³¾»® ±º ø¼÷ ß½¬·ª·¬·»- ½±²¼«½¬»¼ ·² ¬¸» ®»¹·±²             ø»÷ ×º ¿½¬·ª·¬§ ´·-¬»¼ ·² ø¼÷    øº÷ Ì±¬¿´
                                        ±ºº·½»-        »³°´±§»»-ô      ø¾§ ¬§°»÷ ø-«½¸ ¿-ô º«²¼®¿·-·²¹ô °®±ó        ·- ¿ °®±¹®¿³ -»®ª·½»ô       »¨°»²¼·¬«®»-
                                                       ¿¹»²¬-ô ¿²¼                                                                                 º±® ¿²¼
                                    ·² ¬¸» ®»¹·±²     ·²¼»°»²¼»²¬ ¹®¿³ -»®ª·½»-ô ·²ª»-¬³»²¬-ô ¹®¿²¬- ¬±            ¼»-½®·¾» -°»½·º·½ ¬§°»
                                                       ½±²¬®¿½¬±®-                                                                              ·²ª»-¬³»²¬-
                                                                         ®»½·°·»²¬- ´±½¿¬»¼ ·² ¬¸» ®»¹·±²÷       ±º -»®ª·½»ø-÷ ·² ¬¸» ®»¹·±²    ·² ¬¸» ®»¹·±²
                                                      ·² ¬¸» ®»¹·±²



                                                                 ÍßÔÛÍ ßÝÌ×Ê×Ì×ÛÍ ÌßÎÙÛÌ×ÒÙ
  ÔßÌ×Ò ßÓÛÎ×Ýß                                                ï ËÒ×ÊÛÎÍ×Ì×ÛÍ                             ßÍÍÛÍÍÓÛÒÌ ÐÎÑÜËÝÌÍ                        ìïôìèïò


                                                                 ÍßÔÛÍ ßÝÌ×Ê×Ì×ÛÍ ÌßÎÙÛÌ×ÒÙ
  ßËÍÌÎßÔ×ß                                                    ï ËÒ×ÊÛÎÍ×Ì×ÛÍ                             ßÍÍÛÍÍÓÛÒÌ ÐÎÑÜËÝÌÍ                        ïèôðððò




   í ¿ Í«¾¬±¬¿´ ¢¢¢¢¢¢                  ð             î                                                                                              ëçôìèïò
     ¾ Ì±¬¿´ º®±³ ½±²¬·²«¿¬·±²
       -¸»»¬- ¬± Ð¿®¬ × ¢¢¢             ð             ð                                                                                                        ðò
     ½ Ì±¬¿´- ø¿¼¼ ´·²»- í¿
       ¿²¼ í¾÷ ¡¡¡¡¡¡                   ð             î                                                                                              ëçôìèïò
  ÔØß Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççðò                                                    Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç



  çíîðéï ïðóïîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç          ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                    çëóìëéðîëí                                                      Ð¿¹» î
 Ð¿®¬ ××  Ù®¿²¬- ¿²¼ Ñ¬¸»® ß--·-¬¿²½» ¬± Ñ®¹¿²·¦¿¬·±²- ±® Û²¬·¬·»- Ñ«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïëô º±® ¿²§
          ®»½·°·»²¬ ©¸± ®»½»·ª»¼ ³±®» ¬¸¿² üëôðððò Ð¿®¬ ×× ½¿² ¾» ¼«°´·½¿¬»¼ ·º ¿¼¼·¬·±²¿´ -°¿½» ·- ²»»¼»¼ò


 ï                                                                                                                                  ø¹÷ ß³±«²¬ ±º        ø¸÷ Ü»-½®·°¬·±²        ø·÷ Ó»¬¸±¼ ±º
                             ø¾÷ ×ÎÍ ½±¼» -»½¬·±²                            ø¼÷ Ð«®°±-» ±º          ø»÷ ß³±«²¬      øº÷ Ó¿²²»® ±º
 ø¿÷ Ò¿³» ±º ±®¹¿²·¦¿¬·±²                             ø½÷ Î»¹·±²                                                                       ²±²½¿-¸             ±º ²±²½¿-¸       ª¿´«¿¬·±² ø¾±±µô ÚÓÊô
                            ¿²¼ Û×Ò ø·º ¿°°´·½¿¾´»÷                               ¹®¿²¬             ±º ½¿-¸ ¹®¿²¬ ½¿-¸ ¼·-¾«®-»³»²¬ ¿--·-¬¿²½»             ¿--·-¬¿²½»          ¿°°®¿·-¿´ô ±¬¸»®÷
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 î    Û²¬»® ¬±¬¿´ ²«³¾»® ±º ®»½·°·»²¬ ±®¹¿²·¦¿¬·±²- ´·-¬»¼ ¿¾±ª» ¬¸¿¬ ¿®» ®»½±¹²·¦»¼ ¿- ½¸¿®·¬·»- ¾§ ¬¸» º±®»·¹² ½±«²¬®§ô ®»½±¹²·¦»¼ ¿- ¬¿¨ó»¨»³°¬
      ¾§ ¬¸» ×ÎÍô ±® º±® ©¸·½¸ ¬¸» ¹®¿²¬»» ±® ½±«²-»´ ¸¿- °®±ª·¼»¼ ¿ -»½¬·±² ëðïø½÷øí÷ »¯«·ª¿´»²½§ ´»¬¬»® ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢ ¤
 í    Û²¬»® ¬±¬¿´ ²«³¾»® ±º ±¬¸»® ±®¹¿²·¦¿¬·±²- ±® »²¬·¬·»- ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡ ¤
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                                                                                                                                                                     Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç

çíîðéî ïðóïîóïç
Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç             ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                çëóìëéðîëí                                                     Ð¿¹» í
 Ð¿®¬ ××× Ù®¿²¬- ¿²¼ Ñ¬¸»® ß--·-¬¿²½» ¬± ×²¼·ª·¼«¿´- Ñ«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ïêò
          Ð¿®¬ ××× ½¿² ¾» ¼«°´·½¿¬»¼ ·º ¿¼¼·¬·±²¿´ -°¿½» ·- ²»»¼»¼ò
                                                              ø½÷ Ò«³¾»® ±º   ø¼÷ ß³±«²¬ ±º           ø»÷ Ó¿²²»® ±º             øº÷ ß³±«²¬ ±º       ø¹÷ Ü»-½®·°¬·±² ±º       ø¸÷ Ó»¬¸±¼ ±º
     ø¿÷ Ì§°» ±º ¹®¿²¬ ±® ¿--·-¬¿²½»         ø¾÷ Î»¹·±²         ®»½·°·»²¬-      ½¿-¸ ¹®¿²¬          ½¿-¸ ¼·-¾«®-»³»²¬              ²±²½¿-¸         ²±²½¿-¸ ¿--·-¬¿²½»           ª¿´«¿¬·±²
                                                                                                                                  ¿--·-¬¿²½»                                  ø¾±±µô ÚÓÊô
                                                                                                                                                                            ¿°°®¿·-¿´ô ±¬¸»®÷
                                                                                                                                                                                                             21-11221
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  Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                   çëóìëéðîëí             Ð¿¹» ì
   Ð¿®¬ ×Ê      Ú±®»·¹² Ú±®³-

   ï      É¿- ¬¸» ±®¹¿²·¦¿¬·±² ¿ ËòÍò ¬®¿²-º»®±® ±º °®±°»®¬§ ¬± ¿ º±®»·¹² ½±®°±®¿¬·±² ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes," the
          organization may be required to file Form 926, Return by a U.S. Transferor of Property to a Foreign
          Corporation (see Instructions for Form 926) ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                    Ç»-    È Ò±

   î      Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿² ·²¬»®»-¬ ·² ¿ º±®»·¹² ¬®«-¬ ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes," the organization
          may be required to separately file Form 3520, Annual Return To Report Transactions With Foreign
          Trusts and Receipt of Certain Foreign Gifts, and/or Form 3520-A, Annual Information Return of Foreign
          Trust With a U.S. Owner (see Instructions for Forms 3520 and 3520-A; don't file with Form 990)¢¢¢¢¢¢¢¢¢¢¢           Ç»-    È Ò±

   í      Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿² ±©²»®-¸·° ·²¬»®»-¬ ·² ¿ º±®»·¹² ½±®°±®¿¬·±² ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes,"
          the organization may be required to file Form 5471, Information Return of U.S. Persons With Respect to
          Certain Foreign Corporations (see Instructions for Form 5471) ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                           Ç»-    È Ò±

   ì      É¿- ¬¸» ±®¹¿²·¦¿¬·±² ¿ ¼·®»½¬ ±® ·²¼·®»½¬ -¸¿®»¸±´¼»® ±º ¿ °¿--·ª» º±®»·¹² ·²ª»-¬³»²¬ ½±³°¿²§ ±® ¿
          ¯«¿´·º·»¼ »´»½¬·²¹ º«²¼ ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes," the organization may be required to file Form 8621,
          Information Return by a Shareholder of a Passive Foreign Investment Company or Qualified Electing Fund
          (see Instructions for Form 8621) ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          Ç»-    È Ò±

   ë      Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿² ±©²»®-¸·° ·²¬»®»-¬ ·² ¿ º±®»·¹² °¿®¬²»®-¸·° ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If "Yes,"
          the organization may be required to file Form 8865, Return of U.S. Persons With Respect to Certain
          Foreign Partnerships (see Instructions for Form 8865) ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                               Ç»-    È Ò±

   ê      Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¸¿ª» ¿²§ ±°»®¿¬·±²- ·² ±® ®»´¿¬»¼ ¬± ¿²§ ¾±§½±¬¬·²¹ ½±«²¬®·»- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®á If
          "Yes," the organization may be required to separately file Form 5713, International Boycott Report (see
          Instructions for Form 5713; don't file with Form 990) ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                              Ç»-    È Ò±

                                                                                                                    Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç




  çíîðéì ïðóïîóïç


ðçìëïîïð éëçïîð ëðçëòéðð                              îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                              çëóìëéðîëí                 Ð¿¹» ë
   Ð¿®¬ Ê       Í«°°´»³»²¬¿´ ×²º±®³¿¬·±²
                Ð®±ª·¼» ¬¸» ·²º±®³¿¬·±² ®»¯«·®»¼ ¾§ Ð¿®¬ ×ô ´·²» î ø³±²·¬±®·²¹ ±º º«²¼-÷å Ð¿®¬ ×ô ´·²» íô ½±´«³² øº÷ ø¿½½±«²¬·²¹ ³»¬¸±¼å ¿³±«²¬- ±º
                ·²ª»-¬³»²¬- ª-ò »¨°»²¼·¬«®»- °»® ®»¹·±²÷å Ð¿®¬ ××ô ´·²» ï ø¿½½±«²¬·²¹ ³»¬¸±¼÷å Ð¿®¬ ××× ø¿½½±«²¬·²¹ ³»¬¸±¼÷å ¿²¼ Ð¿®¬ ×××ô ½±´«³² ø½÷
                ø»-¬·³¿¬»¼ ²«³¾»® ±º ®»½·°·»²¬-÷ô ¿- ¿°°´·½¿¾´»ò ß´-± ½±³°´»¬» ¬¸·- °¿®¬ ¬± °®±ª·¼» ¿²§ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò Í»» ·²-¬®«½¬·±²-ò




  çíîðéë ïðóïîóïç                                                                                                              Í½¸»¼«´» Ú øÚ±®³ ççð÷ îðïç

ðçìëïîïð éëçïîð ëðçëòéðð                                   îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  ÍÝØÛÜËÔÛ Ö                                         Ý±³°»²-¿¬·±² ×²º±®³¿¬·±²                                                        ÑÓÞ Ò±ò ïëìëóððìé

  øÚ±®³ ççð÷                            Ú±® ½»®¬¿·² Ñºº·½»®-ô Ü·®»½¬±®-ô Ì®«-¬»»-ô Õ»§ Û³°´±§»»-ô ¿²¼ Ø·¹¸»-¬
                                                               Ý±³°»²-¿¬»¼ Û³°´±§»»-
                                    ¤ Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» îíò
                                                                                                                                      îðïç
  Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                                   ¤ ß¬¬¿½¸ ¬± Ú±®³ ççðò                                                 Ñ°»² ¬± Ð«¾´·½
  ×²¬»®²¿´ Î»ª»²«» Í»®ª·½»            ¤ Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ·²-¬®«½¬·±²- ¿²¼ ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                        ×²-°»½¬·±²
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                               Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                              ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                             çëóìëéðîëí
   Ð¿®¬ ×        Ï«»-¬·±²- Î»¹¿®¼·²¹ Ý±³°»²-¿¬·±²
                                                                                                                                              Ç»-    Ò±
   ï¿ Ý¸»½µ ¬¸» ¿°°®±°®·¿¬» ¾±¨ø»-÷ ·º ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼»¼ ¿²§ ±º ¬¸» º±´´±©·²¹ ¬± ±® º±® ¿ °»®-±² ´·-¬»¼ ±² Ú±®³ ççðô
      Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ò Ý±³°´»¬» Ð¿®¬ ××× ¬± °®±ª·¼» ¿²§ ®»´»ª¿²¬ ·²º±®³¿¬·±² ®»¹¿®¼·²¹ ¬¸»-» ·¬»³-ò
           Ú·®-¬ó½´¿-- ±® ½¸¿®¬»® ¬®¿ª»´                                        Ø±«-·²¹ ¿´´±©¿²½» ±® ®»-·¼»²½» º±® °»®-±²¿´ «-»
           Ì®¿ª»´ º±® ½±³°¿²·±²-                                                Ð¿§³»²¬- º±® ¾«-·²»-- «-» ±º °»®-±²¿´ ®»-·¼»²½»
           Ì¿¨ ·²¼»³²·º·½¿¬·±² ¿²¼ ¹®±--ó«° °¿§³»²¬-                            Ø»¿´¬¸ ±® -±½·¿´ ½´«¾ ¼«»- ±® ·²·¬·¿¬·±² º»»-
           Ü·-½®»¬·±²¿®§ -°»²¼·²¹ ¿½½±«²¬                                       Ð»®-±²¿´ -»®ª·½»- ø-«½¸ ¿- ³¿·¼ô ½¸¿«ºº»«®ô ½¸»º÷


    ¾ ×º ¿²§ ±º ¬¸» ¾±¨»- ±² ´·²» ï¿ ¿®» ½¸»½µ»¼ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² º±´´±© ¿ ©®·¬¬»² °±´·½§ ®»¹¿®¼·²¹ °¿§³»²¬ ±®
      ®»·³¾«®-»³»²¬ ±® °®±ª·-·±² ±º ¿´´ ±º ¬¸» »¨°»²-»- ¼»-½®·¾»¼ ¿¾±ª»á ×º þÒ±ôþ ½±³°´»¬» Ð¿®¬ ××× ¬± »¨°´¿·² ¢¢¢¢¢¢¢¢¢¢¢               ï¾
   î Ü·¼ ¬¸» ±®¹¿²·¦¿¬·±² ®»¯«·®» -«¾-¬¿²¬·¿¬·±² °®·±® ¬± ®»·³¾«®-·²¹ ±® ¿´´±©·²¹ »¨°»²-»- ·²½«®®»¼ ¾§ ¿´´ ¼·®»½¬±®-ô
      ¬®«-¬»»-ô ¿²¼ ±ºº·½»®-ô ·²½´«¼·²¹ ¬¸» ÝÛÑñÛ¨»½«¬·ª» Ü·®»½¬±®ô ®»¹¿®¼·²¹ ¬¸» ·¬»³- ½¸»½µ»¼ ±² ´·²» ï¿á ¢¢¢¢¢¢¢¢¢¢¢¢                 î

   í    ×²¼·½¿¬» ©¸·½¸ô ·º ¿²§ô ±º ¬¸» º±´´±©·²¹ ¬¸» ±®¹¿²·¦¿¬·±² «-»¼ ¬± »-¬¿¾´·-¸ ¬¸» ½±³°»²-¿¬·±² ±º ¬¸» ±®¹¿²·¦¿¬·±²ù-
        ÝÛÑñÛ¨»½«¬·ª» Ü·®»½¬±®ò Ý¸»½µ ¿´´ ¬¸¿¬ ¿°°´§ò Ü± ²±¬ ½¸»½µ ¿²§ ¾±¨»- º±® ³»¬¸±¼- «-»¼ ¾§ ¿ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±² ¬±
        »-¬¿¾´·-¸ ½±³°»²-¿¬·±² ±º ¬¸» ÝÛÑñÛ¨»½«¬·ª» Ü·®»½¬±®ô ¾«¬ »¨°´¿·² ·² Ð¿®¬ ×××ò
             Ý±³°»²-¿¬·±² ½±³³·¬¬»»                                             É®·¬¬»² »³°´±§³»²¬ ½±²¬®¿½¬
             ×²¼»°»²¼»²¬ ½±³°»²-¿¬·±² ½±²-«´¬¿²¬                                Ý±³°»²-¿¬·±² -«®ª»§ ±® -¬«¼§
         È Ú±®³ ççð ±º ±¬¸»® ±®¹¿²·¦¿¬·±²-                                  È ß°°®±ª¿´ ¾§ ¬¸» ¾±¿®¼ ±® ½±³°»²-¿¬·±² ½±³³·¬¬»»

   ì  Ü«®·²¹ ¬¸» §»¿®ô ¼·¼ ¿²§ °»®-±² ´·-¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ô ©·¬¸ ®»-°»½¬ ¬± ¬¸» º·´·²¹
      ±®¹¿²·¦¿¬·±² ±® ¿ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²æ
    ¿ Î»½»·ª» ¿ -»ª»®¿²½» °¿§³»²¬ ±® ½¸¿²¹»ó±ºó½±²¬®±´ °¿§³»²¬á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                          ì¿              È
    ¾ Ð¿®¬·½·°¿¬» ·²ô ±® ®»½»·ª» °¿§³»²¬ º®±³ô ¿ -«°°´»³»²¬¿´ ²±²¯«¿´·º·»¼ ®»¬·®»³»²¬ °´¿²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                         ì¾              È
    ½ Ð¿®¬·½·°¿¬» ·²ô ±® ®»½»·ª» °¿§³»²¬ º®±³ô ¿² »¯«·¬§ó¾¿-»¼ ½±³°»²-¿¬·±² ¿®®¿²¹»³»²¬á¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                             ì½              È
      ×º þÇ»-þ ¬± ¿²§ ±º ´·²»- ì¿ó½ô ´·-¬ ¬¸» °»®-±²- ¿²¼ °®±ª·¼» ¬¸» ¿°°´·½¿¾´» ¿³±«²¬- º±® »¿½¸ ·¬»³ ·² Ð¿®¬ ×××ò

      Ñ²´§ -»½¬·±² ëðïø½÷øí÷ô ëðïø½÷øì÷ô ¿²¼ ëðïø½÷øîç÷ ±®¹¿²·¦¿¬·±²- ³«-¬ ½±³°´»¬» ´·²»- ëóçò
   ë  Ú±® °»®-±²- ´·-¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² °¿§ ±® ¿½½®«» ¿²§ ½±³°»²-¿¬·±²
      ½±²¬·²¹»²¬ ±² ¬¸» ®»ª»²«»- ±ºæ
    ¿ Ì¸» ±®¹¿²·¦¿¬·±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                       ë¿         È
    ¾ ß²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                   ë¾         È
      ×º þÇ»-þ ±² ´·²» ë¿ ±® ë¾ô ¼»-½®·¾» ·² Ð¿®¬ ×××ò
   ê Ú±® °»®-±²- ´·-¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² °¿§ ±® ¿½½®«» ¿²§ ½±³°»²-¿¬·±²
      ½±²¬·²¹»²¬ ±² ¬¸» ²»¬ »¿®²·²¹- ±ºæ
    ¿ Ì¸» ±®¹¿²·¦¿¬·±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                       ê¿         È
    ¾ ß²§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²á ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                   ê¾         È
      ×º þÇ»-þ ±² ´·²» ê¿ ±® ê¾ô ¼»-½®·¾» ·² Ð¿®¬ ×××ò
   é Ú±® °»®-±²- ´·-¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² °®±ª·¼» ¿²§ ²±²º·¨»¼ °¿§³»²¬-
      ²±¬ ¼»-½®·¾»¼ ±² ´·²»- ë ¿²¼ êá ×º þÇ»-ôþ ¼»-½®·¾» ·² Ð¿®¬ ××× ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                               é         È
   è É»®» ¿²§ ¿³±«²¬- ®»°±®¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ô °¿·¼ ±® ¿½½®«»¼ °«®-«¿²¬ ¬± ¿ ½±²¬®¿½¬ ¬¸¿¬ ©¿- -«¾¶»½¬ ¬± ¬¸»
      ·²·¬·¿´ ½±²¬®¿½¬ »¨½»°¬·±² ¼»-½®·¾»¼ ·² Î»¹«´¿¬·±²- -»½¬·±² ëíòìçëèóìø¿÷øí÷á ×º þÇ»-ôþ ¼»-½®·¾» ·² Ð¿®¬ ××× ¢¢¢¢¢¢¢¢¢¢¢        è         È
   ç ×º þÇ»-þ ±² ´·²» èô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² ¿´-± º±´´±© ¬¸» ®»¾«¬¬¿¾´» °®»-«³°¬·±² °®±½»¼«®» ¼»-½®·¾»¼ ·²
      Î»¹«´¿¬·±²- -»½¬·±² ëíòìçëèóêø½÷á ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                ç
  ÔØß Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççðò                                            Í½¸»¼«´» Ö øÚ±®³ ççð÷ îðïç




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ðçìëïîïð éëçïîð ëðçëòéðð                                  îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
Í½¸»¼«´» Ö øÚ±®³ ççð÷ îðïç          ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                       çëóìëéðîëí                                                                               Ð¿¹» î
 Ð¿®¬ ×× Ñºº·½»®-ô Ü·®»½¬±®-ô Ì®«-¬»»-ô Õ»§ Û³°´±§»»-ô ¿²¼ Ø·¹¸»-¬ Ý±³°»²-¿¬»¼ Û³°´±§»»-ò Ë-» ¼«°´·½¿¬» ½±°·»- ·º ¿¼¼·¬·±²¿´ -°¿½» ·- ²»»¼»¼ò
Ú±® »¿½¸ ·²¼·ª·¼«¿´ ©¸±-» ½±³°»²-¿¬·±² ³«-¬ ¾» ®»°±®¬»¼ ±² Í½¸»¼«´» Öô ®»°±®¬ ½±³°»²-¿¬·±² º®±³ ¬¸» ±®¹¿²·¦¿¬·±² ±² ®±© ø·÷ ¿²¼ º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²-ô ¼»-½®·¾»¼ ·² ¬¸» ·²-¬®«½¬·±²-ô ±² ®±© ø··÷ò
Ü± ²±¬ ´·-¬ ¿²§ ·²¼·ª·¼«¿´- ¬¸¿¬ ¿®»²ù¬ ´·-¬»¼ ±² Ú±®³ ççðô Ð¿®¬ Ê××ò
Ò±¬»æ Ì¸» -«³ ±º ½±´«³²- øÞ÷ø·÷óø···÷ º±® »¿½¸ ´·-¬»¼ ·²¼·ª·¼«¿´ ³«-¬ »¯«¿´ ¬¸» ¬±¬¿´ ¿³±«²¬ ±º Ú±®³ ççðô Ð¿®¬ Ê××ô Í»½¬·±² ßô ´·²» ï¿ô ¿°°´·½¿¾´» ½±´«³² øÜ÷ ¿²¼ øÛ÷ ¿³±«²¬- º±® ¬¸¿¬ ·²¼·ª·¼«¿´ò
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                                                         øÞ÷ Þ®»¿µ¼±©² ±º Éóî ¿²¼ñ±® ïðççóÓ×ÍÝ ½±³°»²-¿¬·±²           øÝ÷ Î»¬·®»³»²¬ ¿²¼       øÜ÷ Ò±²¬¿¨¿¾´»      øÛ÷ Ì±¬¿´ ±º ½±´«³²-    øÚ÷ Ý±³°»²-¿¬·±²
                                                                                                                         ±¬¸»® ¼»º»®®»¼            ¾»²»º·¬-              øÞ÷ø·÷óøÜ÷           ·² ½±´«³² øÞ÷
                  øß÷ Ò¿³» ¿²¼ Ì·¬´»
                                                           ø·÷ Þ¿-»            ø··÷ Þ±²«- ú           ø···÷ Ñ¬¸»®        ½±³°»²-¿¬·±²                                                     ®»°±®¬»¼ ¿- ¼»º»®®»¼
                                                         ½±³°»²-¿¬·±²            ·²½»²¬·ª»           ®»°±®¬¿¾´»                                                                             ±² °®·±® Ú±®³ ççð
                                                                              ½±³°»²-¿¬·±²         ½±³°»²-¿¬·±²
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øï÷ ÎÑÙÛÎ ÞÛÒÖßÓ×Ò                                ø·÷     îîéôîêìò                         ðò                   ðò             ìôéëðò                   îèìò             îíîôîçèò                         ðò
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Í½¸»¼«´» Ö øÚ±®³ ççð÷ îðïç         ÝÑËÒÝ×Ô               ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                     çëóìëéðîëí                           Ð¿¹» í
 Ð¿®¬ ××× Í«°°´»³»²¬¿´ ×²º±®³¿¬·±²
Ð®±ª·¼» ¬¸» ·²º±®³¿¬·±²ô »¨°´¿²¿¬·±²ô ±® ¼»-½®·°¬·±²- ®»¯«·®»¼ º±® Ð¿®¬ ×ô ´·²»- ï¿ô ï¾ô íô ì¿ô ì¾ô ì½ô ë¿ô ë¾ô ê¿ô ê¾ô éô ¿²¼ èô ¿²¼ º±® Ð¿®¬ ××ò ß´-± ½±³°´»¬» ¬¸·- °¿®¬ º±® ¿²§ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò
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                                                                                                                            ÑÓÞ Ò±ò ïëìëóððìé
  ÍÝØÛÜËÔÛ Ñ                    Í«°°´»³»²¬¿´ ×²º±®³¿¬·±² ¬± Ú±®³ ççð ±® ççðóÛÆ
  øÚ±®³ ççð ±® ççðóÛÆ÷                 Ý±³°´»¬» ¬± °®±ª·¼» ·²º±®³¿¬·±² º±® ®»-°±²-»- ¬± -°»½·º·½ ¯«»-¬·±²- ±²
                                           Ú±®³ ççð ±® ççðóÛÆ ±® ¬± °®±ª·¼» ¿²§ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò
                                                                                                                             îðïç
  Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                             ¤ ß¬¬¿½¸ ¬± Ú±®³ ççð ±® ççðóÛÆò                                     Ñ°»² ¬± Ð«¾´·½
  ×²¬»®²¿´ Î»ª»²«» Í»®ª·½»                   ¤ Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                         ×²-°»½¬·±²
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                      Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                                 ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                              çëóìëéðîëí

  ÚÑÎÓ ççðô ÐßÎÌ ×ô Ô×ÒÛ ×ô ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÑÎÙßÒ×ÆßÌ×ÑÒ Ó×ÍÍ×ÑÒæ

  ÌÑ ßÜÊßÒÝÛ ÑÐÐÑÎÌËÒ×Ì×ÛÍ ÚÑÎ ß ÏËßÔ×ÌÇ ÛÜËÝßÌ×ÑÒ ÞÇ ÝÑÒÜËÝÌ×ÒÙ

  ÛÜËÝßÌ×ÑÒ ÐÑÔ×ÝÇ ÎÛÍÛßÎÝØô Ü×ÍÍÛÓ×ÒßÌ×ÒÙ ×ÒÚÑÎÓßÌ×ÑÒ ÞßÍÛÜ ÑÒ ÌØ×Í

  ÎÛÍÛßÎÝØô ßÒÜ ÐÎÑÊ×Ü×ÒÙ ßÍÍÛÍÍÓÛÒÌÍ ßÒÜ ÑÌØÛÎ ÍÛÎÊ×ÝÛÍ ÌÑ ØÛÔÐ ÐÎÑÓÑÌÛ

  ÌÛßÝØ×ÒÙ ßÒÜ ÔÛßÎÒ×ÒÙ ×Ò ÌØÛ îïÍÌ ÝÛÒÌËÎÇò




  ÚÑÎÓ ççðô ÐßÎÌ Ê×ô ÍÛÝÌ×ÑÒ ßô Ô×ÒÛ íæ

  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÓÐßÒÇñÐÛÎÍÑÒÍ ÐÛÎÚÑÎÓÛÜ ÓßÒßÙÛÓÛÒÌ ÜËÌ×ÛÍ ÑÒ ÞÛØßÔÚ ÑÚ ÝßÛ

  ÜËÎ×ÒÙ ÌØÛ Ú×ÍÝßÔ ÇÛßÎæ ÞËÆ ÜÛÊ ÝÑÒÍËÔÌ×ÒÙ ó ÝÛÑô ÍËÜÜÛÒÔÇ ÑÎßÒÙÛ ó ÝÌÑô

  ßÒÜ ×ÒÙÓßÎ ÞÛÎÙ ó ÝÚÑ



  ÚÑÎÓ ççðô ÐßÎÌ Ê×ô ÍÛÝÌ×ÑÒ Þô Ô×ÒÛ ïïÞæ

  ÌØÛ ççð ×Í ÐÎÛÐßÎÛÜ ÞÇ ÌØÛ ×ÒÜÛÐÛÒÜÛÒÌ ßËÜ×ÌÑÎÍ ßÒÜ ßÍÍ×ÍÌÛÜ ÞÇ ÌØÛ

  ÑÎÙßÒ×ÆßÌ×ÑÒùÍ ÍÌßÚÚò                       ÌØÛ ççð ×Í ÎÛÊ×ÛÉÛÜ ÞÇ ÌØÛ ßËÜ×Ì ÝÑÓÓ×ÌÌÛÛ ÞÛÚÑÎÛ ×Ì

  ×Í ÍËÞÓ×ÌÌÛÜò                 ß ÝÑÐÇ ÑÚ ÌØÛ ÎÛÐÑÎÌ ×Í ßÔÍÑ ÐÎÑÊ×ÜÛÜ ÌÑ ßÔÔ ÓÛÓÞÛÎÍ ÑÚ ÌØÛ

  ÞÑßÎÜ ÑÚ Ü×ÎÛÝÌÑÎÍò



  ÚÑÎÓ ççðô ÐßÎÌ Ê×ô ÍÛÝÌ×ÑÒ Þô Ô×ÒÛ ïîÝæ

  ßÔÔ ÝßÒÜ×ÜßÌÛÍ ÚÑÎ ÓÛÓÞÛÎÍØ×Ð ÑÒ ÌØÛ ÞÑßÎÜô ÑÚÚ×ÝÛÎÍô ßÒÜ ÍÌßÚÚ ÓÛÓÞÛÎÍ ßÎÛ

  ßÜÊ×ÍÛÜ ×Ò ÉÎ×Ì×ÒÙ ÑÚ ÌØÛ ÝÑÒÚÔ×ÝÌ ÑÚ ×ÒÌÛÎÛÍÌ ÐÑÔ×ÝÇ ÐÎ×ÑÎ ÌÑ ßÍÍËÓ×ÒÙ

  ÌØÛ×Î ÎÛÍÐÑÒÍ×Þ×Ô×Ì×ÛÍò                         ÌØÛÇ ÓËÍÌ ÎÛÊÛßÔ ÐÑÌÛÒÌ×ßÔ ÝÑÒÚÔ×ÝÌÍ ßÒÜ ÎÛÏËÛÍÌ

  ÌØÛ ÞÑßÎÜ ÌÑ ÓßÕÛ ß ÜÛÌÛÎÓ×ÒßÌ×ÑÒò ÒÑ Ü×ÎÛÝÌÑÎ ÓßÇ ÊÑÌÛ ÑÒ ßÒÇ ÓßÌÌÛÎ ËÒÜÛÎ

  ÝÑÒÍ×ÜÛÎßÌ×ÑÒ ßÌ ß ÞÑßÎÜ ÑÎ ÞÑßÎÜ ÝÑÓÓ×ÌÌÛÛ ÓÛÛÌ×ÒÙ ×Ò ÉØ×ÝØ ÍËÝØ Ü×ÎÛÝÌÑÎ

  ØßÍ ßÒ ßÝÌËßÔ ÝÑÒÚÔ×ÝÌ ÑÚ ×ÒÌÛÎÛÍÌò


  ÔØß Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççð ±® ççðóÛÆò                  Í½¸»¼«´» Ñ øÚ±®³ ççð ±® ççðóÛÆ÷ øîðïç÷
  çíîîïï ðçóðêóïç


ðçìëïîïð éëçïîð ëðçëòéðð                               îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
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  Í½¸»¼«´» Ñ øÚ±®³ ççð ±® ççðóÛÆ÷ øîðïç÷                                                                            Ð¿¹» î
  Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                 Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                            ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                çëóìëéðîëí

  ÚÑÎÓ ççðô ÐßÎÌ Ê×ô ÍÛÝÌ×ÑÒ Ýô Ô×ÒÛ ïçæ

  ÌØÛ ÙÑÊÛÎÒ×ÒÙ ÜÑÝËÓÛÒÌÍô ÝÑÒÚÔ×ÝÌ ÑÚ ×ÒÌÛÎÛÍÌ ÐÑÔ×ÝÇ ßÒÜ Ú×ÒßÒÝ×ßÔ

  ÍÌßÌÛÓÛÒÌÍ ßÎÛ ÓßÜÛ ßÊß×ÔßÞÔÛ ËÐÑÒ ÎÛÏËÛÍÌò



  ÚÑÎÓ ççðô ÐßÎÌ ×Èô Ô×ÒÛ ïïÙô ÑÌØÛÎ ÚÛÛÍæ

  ÍËÞÝÑÒÌÎßÝÌÑÎÍæ

  ÐÎÑÙÎßÓ ÍÛÎÊ×ÝÛ ÛÈÐÛÒÍÛÍ                                                                             îôðïéôïççò

  ÓßÒßÙÛÓÛÒÌ ßÒÜ ÙÛÒÛÎßÔ ÛÈÐÛÒÍÛÍ                                                                          îëêôéïèò

  ÚËÒÜÎß×Í×ÒÙ ÛÈÐÛÒÍÛÍ                                                                                                ðò

  ÌÑÌßÔ ÛÈÐÛÒÍÛÍ                                                                                       îôîéíôçïéò

  ÌÑÌßÔ ÑÌØÛÎ ÚÛÛÍ ÑÒ ÚÑÎÓ ççðô ÐßÎÌ ×Èô Ô×ÒÛ ïïÙô ÝÑÔ ß                                               îôîéíôçïéò



  ÚÑÎÓ ççðô ÐßÎÌ È××ô Ô×ÒÛ îÝ

  ÒÑ ÝØßÒÙÛ ÚÎÑÓ ÌØÛ ÐÎ×ÑÎ ÇÛßÎò




  çíîîïî ðçóðêóïç                                                                   Í½¸»¼«´» Ñ øÚ±®³ ççð ±® ççðóÛÆ÷ øîðïç÷

ðçìëïîïð éëçïîð ëðçëòéðð                         îðïçòðëððð ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×Ñ ëðçëÁéðï
                                                                                                                                                                                           ÑÓÞ Ò±ò ïëìëóððìé
ÍÝØÛÜËÔÛ Î                                                      Related Organizations and Unrelated Partnerships
øÚ±®³ ççð÷                                             ¤ Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ííô íìô íë¾ô íêô ±® íéò
                                                                                         ¤ ß¬¬¿½¸ ¬± Ú±®³ ççðò
                                                                                                                                                                                             2019
                                                                                                                                                                                           Ñ°»² ¬± Ð«¾´·½
Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§
×²¬»®²¿´ Î»ª»²«» Í»®ª·½»                                         ¤ Ù± ¬± ©©©ò·®-ò¹±ªñÚ±®³ççð º±® ·²-¬®«½¬·±²- ¿²¼ ¬¸» ´¿¬»-¬ ·²º±®³¿¬·±²ò                                                   ×²-°»½¬·±²
Ò¿³» ±º ¬¸» ±®¹¿²·¦¿¬·±²                                                                                                                                               Û³°´±§»® ·¼»²¬·º·½¿¬·±² ²«³¾»®
                                      ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                                    çëóìëéðîëí
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 Ð¿®¬ ×       ×¼»²¬·º·½¿¬·±² ±º Ü·-®»¹¿®¼»¼ Û²¬·¬·»-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» ííò

                                ø¿÷                                              ø¾÷                              ø½÷                      ø¼÷                  ø»÷                         øº÷
              Ò¿³»ô ¿¼¼®»--ô ¿²¼ Û×Ò ø·º ¿°°´·½¿¾´»÷                       Ð®·³¿®§ ¿½¬·ª·¬§             Ô»¹¿´ ¼±³·½·´» ø-¬¿¬» ±®       Ì±¬¿´ ·²½±³»    Û²¼ó±ºó§»¿® ¿--»¬-         Ü·®»½¬ ½±²¬®±´´·²¹
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                     ±º ¼·-®»¹¿®¼»¼ »²¬·¬§                                                                  º±®»·¹² ½±«²¬®§÷                                                            »²¬·¬§
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              ×¼»²¬·º·½¿¬·±² ±º Î»´¿¬»¼ Ì¿¨óÛ¨»³°¬ Ñ®¹¿²·¦¿¬·±²-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» íìô ¾»½¿«-» ·¬ ¸¿¼ ±²» ±® ³±®» ®»´¿¬»¼ ¬¿¨ó»¨»³°¬
 Ð¿®¬ ××
              ±®¹¿²·¦¿¬·±²- ¼«®·²¹ ¬¸» ¬¿¨ §»¿®ò
                                  ø¿÷                                           ø¾÷                           ø½÷                       ø¼÷             ø»÷                   øº÷                        ø¹÷
                                                                                                                                                                                                  Í»½¬·±² ëïîø¾÷øïí÷
                      Ò¿³»ô ¿¼¼®»--ô ¿²¼ Û×Ò                              Ð®·³¿®§ ¿½¬·ª·¬§           Ô»¹¿´ ¼±³·½·´» ø-¬¿¬» ±®      Û¨»³°¬ Ý±¼»    Ð«¾´·½ ½¸¿®·¬§      Ü·®»½¬ ½±²¬®±´´·²¹             ½±²¬®±´´»¼
                       ±º ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²                                                           º±®»·¹² ½±«²¬®§÷             -»½¬·±²    -¬¿¬«- ø·º -»½¬·±²         »²¬·¬§                      »²¬·¬§á
                                                                                                                                                     ëðïø½÷øí÷÷                                   Ç»-          Ò±
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Ú±® Ð¿°»®©±®µ Î»¼«½¬·±² ß½¬ Ò±¬·½»ô -»» ¬¸» ×²-¬®«½¬·±²- º±® Ú±®³ ççðò                                                                                                       Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç

çíîïêï ðçóïðóïç     ÔØß
Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç      ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                                                            çëóìëéðîëí                      Ð¿¹» î

 Ð¿®¬ ×××   ×¼»²¬·º·½¿¬·±² ±º Î»´¿¬»¼ Ñ®¹¿²·¦¿¬·±²- Ì¿¨¿¾´» ¿- ¿ Ð¿®¬²»®-¸·°ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» íìô ¾»½¿«-» ·¬ ¸¿¼ ±²» ±® ³±®» ®»´¿¬»¼
            ±®¹¿²·¦¿¬·±²- ¬®»¿¬»¼ ¿- ¿ °¿®¬²»®-¸·° ¼«®·²¹ ¬¸» ¬¿¨ §»¿®ò
                    ø¿÷                            ø¾÷              ø½÷              ø¼÷                         ø»÷                   øº÷                ø¹÷             ø¸÷                   ø·÷         ø¶÷         øµ÷
                                                                    Ô»¹¿´
        Ò¿³»ô ¿¼¼®»--ô ¿²¼ Û×Ò               Ð®·³¿®§ ¿½¬·ª·¬§     ¼±³·½·´»    Ü·®»½¬ ½±²¬®±´´·²¹       Ð®»¼±³·²¿²¬ ·²½±³»         Í¸¿®» ±º ¬±¬¿´       Í¸¿®» ±º      Ü·-°®±°±®¬·±²¿¬»      Ý±¼» ÊóËÞ×    Ù»²»®¿´ ±® Ð»®½»²¬¿¹»
         ±º ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²                                  ø-¬¿¬» ±®         »²¬·¬§              ø®»´¿¬»¼ô «²®»´¿¬»¼ô        ·²½±³»            »²¼ó±ºó§»¿®      ¿´´±½¿¬·±²-á
                                                                                                                                                                                          ¿³±«²¬ ·² ¾±¨ ³¿²¿¹·²¹ ±©²»®-¸·°
                                                                   º±®»·¹²                           »¨½´«¼»¼ º®±³ ¬¿¨ «²¼»®                            ¿--»¬-                           îð ±º Í½¸»¼«´» °¿®¬²»®á
                                                                                                        -»½¬·±²- ëïîóëïì÷
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                                                                  ½±«²¬®§÷                                                                                            Ç»-       Ò±       Õóï øÚ±®³ ïðêë÷ Ç»- Ò±
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            ×¼»²¬·º·½¿¬·±² ±º Î»´¿¬»¼ Ñ®¹¿²·¦¿¬·±²- Ì¿¨¿¾´» ¿- ¿ Ý±®°±®¿¬·±² ±® Ì®«-¬ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» íìô ¾»½¿«-» ·¬ ¸¿¼ ±²» ±® ³±®» ®»´¿¬»¼
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 Ð¿®¬ ×Ê
            ±®¹¿²·¦¿¬·±²- ¬®»¿¬»¼ ¿- ¿ ½±®°±®¿¬·±² ±® ¬®«-¬ ¼«®·²¹ ¬¸» ¬¿¨ §»¿®ò
                              ø¿÷                                            ø¾÷                        ø½÷                  ø¼÷                 ø»÷              øº÷                       ø¹÷                ø¸÷            ø·÷
                                                                                                                                                                                                                         Í»½¬·±²
                  Ò¿³»ô ¿¼¼®»--ô ¿²¼ Û×Ò                               Ð®·³¿®§ ¿½¬·ª·¬§            Ô»¹¿´ ¼±³·½·´»    Ü·®»½¬ ½±²¬®±´´·²¹    Ì§°» ±º »²¬·¬§    Í¸¿®» ±º ¬±¬¿´              Í¸¿®» ±º          Ð»®½»²¬¿¹»   ëïîø¾÷øïí÷
                   ±º ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²                                                            ø-¬¿¬» ±®            »²¬·¬§         øÝ ½±®°ô Í ½±®°ô     ·²½±³»                   »²¼ó±ºó§»¿®        ±©²»®-¸·°    ½±²¬®±´´»¼
                                                                                                       º±®»·¹²                                                                                                           »²¬·¬§á
                                                                                                      ½±«²¬®§÷                                ±® ¬®«-¬÷                                   ¿--»¬-
                                                                                                                                                                                                                        Ç»-         Ò±
ßÍÍÛÍÍÓÛÒÌ ×ÒÌÛÎÒßÌ×ÑÒßÔ ÔÔÝ ó ìéóïìêìííç                                                                           ÝÑËÒÝ×Ô ÚÑÎ
ïéíî ïÍÌ ßÊÛÒËÛ                                                 ÛÜËÝßÌ×ÑÒßÔ                                         ß×Ü ÌÑ
                                                                                                                                                                                                                                         Entered 06/30/21 19:05:36




ÒÛÉ ÇÑÎÕô ÒÇ ïðïîè                                              ßÍÍÛÍÍÓÛÒÌ                             ÜÛ           ÛÜËÝßÌ×ÑÒ             Ý ÝÑÎÐ                            ðò                        ðò        ïððû                È
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çíîïêî ðçóïðóïç                                                                                                                                                                                 Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç
Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç          ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                                        çëóìëéðîëí                Ð¿¹» í

 Ð¿®¬ Ê        Ì®¿²-¿½¬·±²- É·¬¸ Î»´¿¬»¼ Ñ®¹¿²·¦¿¬·±²-ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» íìô íë¾ô ±® íêò

 Ò±¬»æ Ý±³°´»¬» ´·²» ï ·º ¿²§ »²¬·¬§ ·- ´·-¬»¼ ·² Ð¿®¬- ××ô ×××ô ±® ×Ê ±º ¬¸·- -½¸»¼«´»ò                                                                                                          Ç»-     Ò±
 ï Ü«®·²¹ ¬¸» ¬¿¨ §»¿®ô ¼·¼ ¬¸» ±®¹¿²·¦¿¬·±² »²¹¿¹» ·² ¿²§ ±º ¬¸» º±´´±©·²¹ ¬®¿²-¿½¬·±²- ©·¬¸ ±²» ±® ³±®» ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²- ´·-¬»¼ ·² Ð¿®¬- ××ó×Êá
  ¿ Î»½»·°¬ ±º ø·÷ ·²¬»®»-¬ô ø··÷ ¿²²«·¬·»-ô ø···÷ ®±§¿´¬·»-ô ±® ø·ª÷ ®»²¬ º®±³ ¿ ½±²¬®±´´»¼ »²¬·¬§ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                           ï¿            È
                                                                                                                                                                                                                             21-11221




      ¾ Ù·º¬ô ¹®¿²¬ô ±® ½¿°·¬¿´ ½±²¬®·¾«¬·±² ¬± ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                           ï¾            È
      ½ Ù·º¬ô ¹®¿²¬ô ±® ½¿°·¬¿´ ½±²¬®·¾«¬·±² º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                          ï½            È
      ¼ Ô±¿²- ±® ´±¿² ¹«¿®¿²¬»»- ¬± ±® º±® ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                               ï¼            È
      » Ô±¿²- ±® ´±¿² ¹«¿®¿²¬»»- ¾§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                   ï»            È
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      º Ü·ª·¼»²¼- º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                         ïº            È
      ¹ Í¿´» ±º ¿--»¬- ¬± ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                       ï¹            È
      ¸ Ð«®½¸¿-» ±º ¿--»¬- º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                     ï¸            È
      ·   Û¨½¸¿²¹» ±º ¿--»¬- ©·¬¸ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                    ï·           È
      ¶   Ô»¿-» ±º º¿½·´·¬·»-ô »¯«·°³»²¬ô ±® ±¬¸»® ¿--»¬- ¬± ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                     ï¶           È

          Ô»¿-» ±º º¿½·´·¬·»-ô »¯«·°³»²¬ô ±® ±¬¸»® ¿--»¬- º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                 È
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      ´   Ð»®º±®³¿²½» ±º -»®ª·½»- ±® ³»³¾»®-¸·° ±® º«²¼®¿·-·²¹ -±´·½·¬¿¬·±²- º±® ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ï´           È
      ³   Ð»®º±®³¿²½» ±º -»®ª·½»- ±® ³»³¾»®-¸·° ±® º«²¼®¿·-·²¹ -±´·½·¬¿¬·±²- ¾§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                            ï³            È
      ²   Í¸¿®·²¹ ±º º¿½·´·¬·»-ô »¯«·°³»²¬ô ³¿·´·²¹ ´·-¬-ô ±® ±¬¸»® ¿--»¬- ©·¬¸ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                         ï²            È
      ± Í¸¿®·²¹ ±º °¿·¼ »³°´±§»»- ©·¬¸ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                  ï±            È

      ° Î»·³¾«®-»³»²¬ °¿·¼ ¬± ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ º±® »¨°»²-»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                ï°            È
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      ¯ Î»·³¾«®-»³»²¬ °¿·¼ ¾§ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ º±® »¨°»²-»- ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                                ï¯            È

      ® Ñ¬¸»® ¬®¿²-º»® ±º ½¿-¸ ±® °®±°»®¬§ ¬± ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢                                                             ï®    È
      - Ñ¬¸»® ¬®¿²-º»® ±º ½¿-¸ ±® °®±°»®¬§ º®±³ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ø-÷ ¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡¡                                                            ï-    È
 î        ×º ¬¸» ¿²-©»® ¬± ¿²§ ±º ¬¸» ¿¾±ª» ·- þÇ»-ôþ -»» ¬¸» ·²-¬®«½¬·±²- º±® ·²º±®³¿¬·±² ±² ©¸± ³«-¬ ½±³°´»¬» ¬¸·- ´·²»ô ·²½´«¼·²¹ ½±ª»®»¼ ®»´¿¬·±²-¸·°- ¿²¼ ¬®¿²-¿½¬·±² ¬¸®»-¸±´¼-ò
                                               ø¿÷                                                   ø¾÷                   ø½÷                                            ø¼÷
                                  Ò¿³» ±º ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²                                   Ì®¿²-¿½¬·±²          ß³±«²¬ ·²ª±´ª»¼                    Ó»¬¸±¼ ±º ¼»¬»®³·²·²¹ ¿³±«²¬ ·²ª±´ª»¼
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øï÷       ßÍÍÛÍÍÓÛÒÌ ×ÒÌÛÎÒßÌ×ÑÒßÔô ÔÔÝ                                                              Î                 ïôíéçôëëíòÝßÍØ

øî÷       ßÍÍÛÍÍÓÛÒÌ ×ÒÌÛÎÒßÌ×ÑÒßÔô ÔÔÝ                                                              Í                 ïôíéçôëëíòÝßÍØ

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çíîïêí ðçóïðóïç                                                                                                                                                                  Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç
Í½¸»¼«´» Î øÚ±®³ ççð÷ îðïç      ÝÑËÒÝ×Ô ÚÑÎ ß×Ü ÌÑ ÛÜËÝßÌ×ÑÒô ×ÒÝò                                                                                                           çëóìëéðîëí            Ð¿¹» ì

 Ð¿®¬ Ê×    Ë²®»´¿¬»¼ Ñ®¹¿²·¦¿¬·±²- Ì¿¨¿¾´» ¿- ¿ Ð¿®¬²»®-¸·°ò Ý±³°´»¬» ·º ¬¸» ±®¹¿²·¦¿¬·±² ¿²-©»®»¼ þÇ»-þ ±² Ú±®³ ççðô Ð¿®¬ ×Êô ´·²» íéò

Ð®±ª·¼» ¬¸» º±´´±©·²¹ ·²º±®³¿¬·±² º±® »¿½¸ »²¬·¬§ ¬¿¨»¼ ¿- ¿ °¿®¬²»®-¸·° ¬¸®±«¹¸ ©¸·½¸ ¬¸» ±®¹¿²·¦¿¬·±² ½±²¼«½¬»¼ ³±®» ¬¸¿² º·ª» °»®½»²¬ ±º ·¬- ¿½¬·ª·¬·»- ø³»¿-«®»¼ ¾§ ¬±¬¿´ ¿--»¬- ±® ¹®±-- ®»ª»²«»÷
¬¸¿¬ ©¿- ²±¬ ¿ ®»´¿¬»¼ ±®¹¿²·¦¿¬·±²ò Í»» ·²-¬®«½¬·±²- ®»¹¿®¼·²¹ »¨½´«-·±² º±® ½»®¬¿·² ·²ª»-¬³»²¬ °¿®¬²»®-¸·°-ò
                                                                                                                                                                                                                        21-11221




                    ø¿÷                               ø¾÷                    ø½÷                   ø¼÷            ø»÷           øº÷               ø¹÷            ø¸÷         ø·÷         ø¶÷       øµ÷
                                                                                                                 ß®» ¿´´
           Ò¿³»ô ¿¼¼®»--ô ¿²¼ Û×Ò              Ð®·³¿®§ ¿½¬·ª·¬§        Ô»¹¿´ ¼±³·½·´»     Ð®»¼±³·²¿²¬ ·²½±³» °¿®¬²»®- -»½ò   Í¸¿®» ±º          Í¸¿®» ±º       Ü·-°®±°±®ó Ý±¼» ÊóËÞ× Ù»²»®¿´ ±® Ð»®½»²¬¿¹»
                                                                                           ø®»´¿¬»¼ô «²®»´¿¬»¼ô ëðïø½÷øí÷                                        ¬·±²¿¬»
                  ±º »²¬·¬§                                           ø-¬¿¬» ±® º±®»·¹²                                        ¬±¬¿´          »²¼ó±ºó§»¿®            ¿³±«²¬ ·² ¾±¨ îð ³¿²¿¹·²¹ ±©²»®-¸·°
                                                                                                                                                              ¿´´±½¿¬·±²-á
                                                                                        »¨½´«¼»¼ º®±³ ¬¿¨ «²¼»® ±®¹-òá                                                ±º Í½¸»¼«´» Õóï °¿®¬²»®á
                                                                          ½±«²¬®§÷         -»½¬·±²- ëïîóëïì÷ Yes No          ·²½±³»             ¿--»¬-        Yes No    øÚ±®³ ïðêë÷ Yes N±
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çíîïêì ðçóïðóïç
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                                                 COUNCIL FOR AID TO
                                                  EDUCATION, INC.

                                                Consolidated Financial Statements
                                                      July 31, 2020 and 2019
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COUNCIL FOR AID TO EDUCATION, INC.
July 31, 2020 and 2019

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                                                                                           Kreischer Miller LLP, Certi ed Public Accountants
                                                                                     100 Witmer Road, Suite 350, Horsham, PA 19044-2369
                                                                                        215-441-4600          fax: 215-672-8224         www.kmco.com


 Independent Accountants' Compilation Report

 The Board of Trustees
 Council for Aid to Education, Inc.
 New York, New York

 Management is responsible for the accompanying consolidated financial statements of Council for
 Aid to Education, Inc., which comprise the consolidated statement of financial position as of July 31,
 2020 and related consolidated statements of activities, functional expenses, and cash flows for the
 year then ended, and the related notes to the consolidated financial statements in accordance with
 accounting principles generally accepted in the United States of America. We have performed a
 compilation engagement in accordance with Statements on Standards for Accounting and Review
 Services promulgated by the Accounting and Review Services Committee of the AICPA. We did
 not audit or review the consolidated financial statements, nor were we required to perform any
 procedures to verify the accuracy or the completeness of the information provided by management.
 We do not express an opinion, a conclusion, nor provide any form of assurance on these
 consolidated financial statements.

 The consolidated financial statements of Council for Aid to Education, Inc. as of July 31, 2019 were
 compiled by other accountants whose report dated November 15, 2019, stated that they have not
 audited or reviewed the July 31, 2019 consolidated financial statements and, accordingly, do not
 express an opinion, a conclusion, nor provide any form of assurance about whether the
 consolidated financial statements are in accordance with accounting principles generally accepted in
 the United States of America.




 Horsham, Pennsylvania
 October 14, 2020




Audit & Accounting | Tax Strategies | Business Advisory | Technology Solutions | Human Capital Resources

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COUNCIL FOR AID TO EDUCATION, INC.

Consolidated Statements of Financial Position
July 31, 2020 and 2019

                                                                   2020            2019
ASSETS
Current assets:
 Cash                                                          $     644,221   $ 1,464,182
 Accounts receivable                                               1,317,654       648,695
 Contract receivable                                                     -          47,160
 Prepaid expenses                                                     33,873        71,888

Total current assets                                               1,995,748       2,231,925

Property and equipment, net                                         127,299         171,468
Security deposit                                                      1,635           1,635

                                                               $ 2,124,682     $ 2,405,028

LIABILITIES AND NET ASSETS
Current liabilities:
  Accounts payable and accrued expenses                        $     811,217   $     598,574
  Deferred revenue                                                 1,165,905       1,327,259
  Paycheck Protection Program loan, current portion                  213,831             -

Total current liabilities                                          2,190,953       1,925,833

Accrued lease expense                                               163,975         210,931
Paycheck Protection Program loan, net of current portion            272,369             -

Total liabilities                                                  2,627,297       2,136,764

Net assets (deficit) without donor restrictions                    (502,615)        268,264

                                                               $ 2,124,682     $ 2,405,028



See accompanying notes to consolidated financial statements.




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COUNCIL FOR AID TO EDUCATION, INC.

Consolidated Statements of Activities
Years Ended July 31, 2020 and 2019

                                                                                 2020            2019

Support and revenue
  Custom assessments                                                         $ 3,124,655     $ 3,966,116
  Standard assessments                                                         1,111,933       1,947,803
  Assessment International                                                           -            40,093
  Other income                                                                     4,012           5,196

  Total support and revenue                                                      4,240,600       5,959,208

Expenses
  Program services
   Custom assessments                                                            2,644,955       2,536,324
   Standard assessments                                                          1,686,125       1,646,916
   Assessment International                                                            -             3,330

  Total program services                                                         4,331,080       4,186,570

  Supporting services
   CAE: management and general                                                    680,399        1,935,175
   AI: management and general                                                         -            711,256

  Total expenses                                                                 5,011,479       6,833,001

Change in net assets                                                             (770,879)       (873,793)

Net assets without donor restrictions, beginning of year                          268,264        1,142,057

Net assets (deficit) without donor restrictions, end of year                 $   (502,615)   $    268,264



See accompanying notes to consolidated financial statements.




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COUNCIL FOR AID TO EDUCATION, INC.

Consolidated Statements of Functional Expenses
Year Ended July 31, 2020
                                                                                                                                                   21-11221




                                                                         Program Services        Supporting Services
                                                                                                                                                   Doc 2




                                                                 Custom            Standard
                                                               Assessments        Assessments           CAE                 Total
Salaries                                                       $     606,254      $    623,752   $             83,897    $ 1,313,903
Employee Benefits                                                    124,166            90,020                 26,693        240,879
Payroll taxes                                                         50,152            44,958                  4,951        100,061
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Professional fees                                                     39,919            41,886                 58,152        139,957
Office expenses                                                       45,342            56,275                 49,297        150,914
Occupancy                                                            113,155           117,347                164,838        395,340
Travel                                                                22,705            20,030                  9,423         52,158
Conference and meetings                                               17,287            11,112                  5,140         33,539
                                                                                                                                         49 of 60




Interest                                                               1,025             1,063                  1,493          3,581
Subcontractors                                                     1,611,076           406,123                256,718      2,273,917
Insurance                                                              8,163            10,451                 11,891         30,505
Marketing                                                                  90              251                      95           436
Testing operations                                                       -             177,365                    -          177,365
                                                                                                                                       Entered 06/30/21 19:05:36




Printing and other production expenses                                   697               454                    638          1,789
Depreciation and amortization                                          4,924            85,038                  7,173         97,135

                                                               $ 2,644,955        $ 1,686,125    $            680,399    $ 5,011,479


See accompanying notes to consolidated financial statements.
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COUNCIL FOR AID TO EDUCATION, INC.

Consolidated Statements of Functional Expenses
Year Ended July 31, 2019
                                                                                                                                                                21-11221




                                                           Program Services                           Supporting Services
                                                                                                                                                                Doc 2




                                            Custom          Standard            Assessment
                                          Assessments      Assessments         International         CAE                AI               Total
Salaries                                   $     580,488   $   620,453     $              804    $   1,167,476   $          204,035   $ 2,573,256
Employee Benefits                                134,509       133,489                    -             97,174               40,265       405,437
Payroll taxes                                     28,865        38,957                      53          87,561                8,569       164,005
Professional fees                                 24,243        15,629                    171           81,064               20,362       141,469
Office expenses                                   36,297        39,946                    -             89,740                9,911       175,894
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Occupancy                                         74,644        47,373                    -            249,601               20,762       392,380
Travel                                            14,736        40,282                    -              8,642               12,681        76,341
Conference and meetings                            8,588        26,354                    127            7,820                7,612        50,501
Subcontractors                                 1,621,652        79,494                  2,175          109,776              383,153     2,196,250
Insurance                                          4,036         8,405                    -             23,355                  -          35,796
                                                                                                                                                      50 of 60




Marketing                                            526         1,530                    -                204                2,845         5,105
Miscellaneous                                      1,161           787                    -              3,884                  322         6,154
Testing operations                                 3,924       517,585                    -                -                    -         521,509
Depreciation and amortization                      2,655        76,632                    -              8,878                  739        88,904

                                           $ 2,536,324     $ 1,646,916     $            3,330    $   1,935,175   $          711,256   $ 6,833,001
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COUNCIL FOR AID TO EDUCATION, INC.

Consolidated Statements of Cash Flows
Years Ended July 31, 2020 and 2019

                                                                      2020             2019
Cash flows from operating activities:
 Change in net assets                                            $    (770,879)    $   (873,793)
 Adjustments to reconcile change in net assets to
   net cash used in operating activities:
   Depreciation and amortization                                        97,135           88,904
   (Increase) decrease in
      Accounts receivable                                             (668,959)        (422,554)
      Contract receivable                                               47,160          436,775
      Prepaid expense                                                   38,015            2,477
   Increase (decrease) in:
      Accounts payable and accrued expenses                            212,643          205,169
      Deferred revenue                                                (161,354)         498,663
      Accrued lease expense                                            (46,956)         (36,994)

Net cash used in operating activities                                (1,253,195)       (101,353)

Cash flows from investing activity:
   Purchases of property and equipment                                 (52,966)          (74,306)

Net cash used in investing activity                                    (52,966)          (74,306)

Cash flows from financing activity:
   Proceeds from Paycheck Protection Program loan                      486,200                -

Net cash provided by financing activity                                486,200                -

Net decrease in cash                                                  (819,961)        (175,659)

Cash, beginning of year                                              1,464,182         1,639,841

Cash, end of year                                                $     644,221     $ 1,464,182

Supplemental disclosure of cash flow information:
   Taxes paid                                                    $           -     $     11,775



  See accompanying notes to consolidated financial statements.




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(1)   Nature of Organization

      The Council for Aid to Education, Inc. (CAE) is a tax-exempt, nonprofit corporation that
      derives its financial support from contributions, grants and contracts, and the provision of
      services to educational institutions. CAE does not solicit or disburse funds for education.
      Its mission is to provide services and to conduct research to aid educational institutions.

      The consolidated financial statements of CAE include the accounts of Assessment
      International LLC (AI), a Delaware Limited Liability Company wholly-owned by CAE. AI
      was organized for the planned purpose of conducting certain CAE-related activities that
      may become profit making in the future. All intercompany balances and transactions have
      been eliminated in consolidation. AI ceased operations as of July 31, 2019 and the
      Certificate of Cancellation was executed in the State of Delaware on November 31, 2019.

      CAE's programs comprise of the following:

      College and Career Readiness Assessments

      CAE is a leader in developing performance-based, authentic assessments that measure
      students' strengths and opportunities for improvement in the essential college and career
      readiness skills most in demand by higher education institutions and employers - critical
      thinking, problem solving, and written communication.

      Assessment Services

      CAE provides a range of assessment services to ministries of education, major consortia,
      foundations, and leading higher education and secondary education institutions. Those
      services include designing customized performance-task assessment solutions that
      measure the constructs most important to students and educators.

      Assessment International

      Included test development services provided to for-profit companies and the use of CAE
      assessments by employers for recruiting purposes.




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(2)   Summary of Significant Accounting Policies

      Basis of Accounting

      The consolidated financial statements of CAE have been prepared in accordance with U.S.
      generally accepted accounting principles (US GAAP), which require CAE to report
      information regarding its financial position and activities according to the following net
      asset classifications:

      Net assets without donor restrictions - Net assets that are not subject to donor-imposed
      restrictions and may be expended for any purpose in performing the primary objectives of
      the organization. These net assets may be used at the discretion of CAE's management
      and the Board of Directors.

      Net assets with donor restrictions - Net assets subject to stipulations imposed by donors,
      and grantors. Some donor restrictions are temporary in nature; those restrictions will be
      met by actions of CAE or by the passage of time. There were no net assets with donor
      restrictions for the years ended July 31, 2020 and 2019, respectively.

      Measure of Operations

      The consolidated statements of activities report all changes in net assets, including changes
      in net assets from operating and non-operating activities. Operating activities consist of
      those items attributable to CAE's ongoing programs. Non-operating activities are limited
      to resources that generate return from other activities considered to be of a more unusual
      or nonrecurring nature.

      Accounts Receivable

      Accounts receivable are stated at net realizable value. There is no allowance for doubtful
      accounts based on the assessment of the current status of individual accounts.
      Management believes that all outstanding balances are collectible and an allowance for
      doubtful accounts is not required.




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(2)   Summary of Significant Accounting Policies, Continued

      Adopted Accounting Pronouncement - Revenue Recognition

      As of August 1, 2019, CAE adopted Accounting Standards Update (ASU) 2014-09, Revenue
      from Contracts with Customers, which outlines a single comprehensive model for entities to
      use in accounting for revenue arising from contracts with customers and, supersedes or
      replaces nearly all GAAP revenue recognition guidance. The standard establishes a new
      contract and control-based revenue recognition model, changes the basis for deciding
      when revenue is recognized over time or at a point in time, and expands disclosures about
      revenue. The standard has been applied on the modified-retrospective method using the
      cumulative effect method on contracts existing on August 1, 2019. As part of the adoption,
      CAE elected to follow the practical expedient of applying the standard only to contracts
      that were not completed as of August 1, 2019. There was no adjustment to opening net
      assets as of August 1, 2019 as a result of adopting the standard.

      Revenue Recognition

      CAE applies the five-step revenue model under Financial Accounting Standards Board
      (FASB) Accounting Standards Codifications (ASC) 606, Revenue from Contracts with Customers
      (Topic 606) to determine when revenue is earned and recognized. Topic 606 applies to
      exchange transactions with customers that are bound by contracts or similar arrangements
      and establishes a performance obligation approach to revenue recognition. CAE
      recognizes revenue when it satisfies its performance obligations in accordance to Topic
      606.

      CAE has contracts with educational institutions to provide assessments and assessment
      services. Standard contracts carry a fixed price per test where revenue is recognized at the
      point in time which the service obligations have been fulfilled. CAE also negotiates custom
      contracts with customers. Revenue is recognized over the life of the contract based on
      either the output method, using milestones, or the input method, using labor hours and
      costs. Payment terms with customers are generally 30 days, or with certain contracts,
      customers advance funds. Deferred contract revenue represents amounts received in
      advance, where CAE will be required to fulfill the contractual obligation prior to amounts
      being recognized as revenue. Total deferred revenue at July 31, 2020 and 2019 was
      $1,165,905 and $1,327,259, respectively. Variable consideration is insignificant. The
      Organization does not have any significant financing component.




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(2)   Summary of Significant Accounting Policies, Continued

      Revenue Recognition, Continued

      In the following table, revenue is presented by assessment type and timing of satisfaction
      of obligation for the year ended July 31, 2020:

                       Custom assessments (over time)              $ 3,124,655
                       Standard assessments (point in time)          1,111,933

                                                                   $ 4,236,588


      Contributions

      Contributions received are recorded as net assets without donor restrictions or net assets
      with donor restrictions, depending on the existence and/or nature of any donor-imposed
      restrictions. Donor restricted contributions are reported as an increase in net assets with
      donor restrictions, depending on the nature of restriction. When a restriction expires, net
      assets with donor restrictions are reclassified to net assets without donor restrictions and
      reported in the statement of activities as net assets released from restrictions.

      Property and Equipment

      Acquisitions of equipment and furniture in excess of $1,000 are capitalized. Equipment,
      furniture and leasehold improvements are stated at cost, net of accumulated depreciation.
      Management reviews furniture and equipment for impairment. Furniture and equipment
      are written off to operations when considered impaired. Depreciation is provided using
      the straight-line method over the estimated useful lives of the assets as follows:

                                                                   Depreciable
                                                                     Lives
                       Website development and license costs         3-5 years
                       Leasehold improvements                        10 years
                       Equipment and furniture                        5 years




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(2)   Summary of Significant Accounting Policies, Continued

      Income Taxes

      CAE is an organization recognized as exempt from federal and state income taxes under
      Section 501(c)(3) of the Internal Revenue Code and similar state statutes. No provision for
      income taxes has been reflected in the accompanying consolidated financial statements.

      AI was a Delaware limited liability company that is wholly-owned by CAE. AI has elected
      to be treated as a taxable corporation for income tax purposes. As of July 31, 2019, AI had
      federal accumulated tax loss carryforward in the amount of $1,380,000. Management
      expects to file a final return for fiscal year 2020 subsequent to the date of the accountants'
      report.

      For the year ended July 31, 2020, CAE and AI did not identify any uncertain tax positions
      taken or expected to be taken, which would require adjustments or disclosure in the
      consolidated financial statements. Both CAE and AI are potentially subject to federal, state
      and local examinations for years subsequent to July 31, 2016.

      Concentration of Credit Risk

      Financial instruments that potentially expose CAE to a concentration of credit risk consist
      of cash and cash equivalents. CAE maintains cash balances at financial institutions which
      may exceed FDIC insurance limits. Management believes that it is not exposed to any
      significant credit risks on its cash accounts.

      Use of Estimates

      The preparation of financial statements in conformity with generally accepted accounting
      principles requires management to make estimates and assumptions that affect the
      reported amounts of assets and liabilities at the date of the financial statements, and the
      reported amounts of revenues and expenses during the reporting period. Actual results
      could differ from those estimates.

      Functional Allocation of Expenses

      The costs of providing various programs and activities have been summarized on a
      functional basis in the consolidated statements of financial activities. Accordingly, certain
      personnel and other operating costs have been allocated among the programs and
      supporting services benefited.

      Salaries and benefits, rent, and office expenses are allocated based on employees' time and
      effort spent on program or support activities. Other expenses, which are not identifiable
      by program or support services, are allocated based on the best estimates of management.



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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(2)   Summary of Significant Accounting Policies, Continued

      Reclassifications

      Certain items in the 2019 financial statements have been reclassified to conform to the
      current year presentation.

      Subsequent Events

      Subsequent events were evaluated by management through October 14, 2020, the date the
      financial statements were available to be issued.

(3)   Liquidity and Availability

      Financial assets available for general expenditure, that is, without donor or other
      restrictions limiting their use, within one year of the consolidated statements of financial
      position date, comprise the following at July 31:

                                                           2020               2019
                   Financial assets at year end:
                     Cash                             $   644,221         $ 1,464,182
                     Accounts receivable                1,317,654             648,695
                     Contracts receivable                     -                47,160
                                                      $ 1,961,875         $ 2,160,037


      CAE structures its financial assets to be available as its general expenditures, liabilities,
      and other obligation come due. CAE also has a $500,000 line of credit available for cash
      needs (see Note 5).

(4)   Property and Equipment, Net

      Property and equipment, net, consist of the following at July 31:

                                                                     2020           2019
             Website development and license costs                $ 558,302      $ 513,059
             Leasehold improvements                                   45,415         45,415
             Equipment and furniture                                 375,717        367,994
                                                                     979,434        926,468
             Accumulated depreciation and amortization              (852,135)      (755,000)
                                                                  $ 127,299      $ 171,468



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Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(4)   Property and Equipment, Net, Continued

      For the years ended July 31, 2020 and 2019, depreciation expense totaled $97,135 and
      $88,904, respectively.

(5)   Line of Credit

      CAE has arranged a line of credit of $500,000 with its bank. The line of credit bears interest
      at a rate equal to the greater of (i) the bank's prime rate or (ii) the Minimum Interest Rate
      plus in each case a margin of 1%. Minimum Interest Rate means two hundred basis points
      in excess of the rate of interest determined by the bank in accordance with its customary
      procedures and utilizing such electronic or other quotation sources as it considers
      appropriate to be the prevailing rate per annum in effect.

(6)   Paycheck Protection Program Loan

      In April 2020, CAE received a loan in the amount of $486,200 from its primary lender
      pursuant to the Paycheck Protection Program (PPP) administered by the United States
      Small Business Administration (SBA) and authorized by the Keeping American Workers
      Employed and Paid Act, which is part of the Coronavirus Aid, Relief and Economic
      Security Act (CARES Act), enacted on March 27, 2020. The PPP was established to provide
      economic stimulus and funding to businesses affected by the COVID-19 pandemic (see
      Note 9). The PPP note is forgivable subject to CAE meeting specific requirements related
      to the use of the funds and good-faith certification requirements related to eligibility for
      the loan. In order to receive the forgiveness of the loan, CAE must submit a loan
      forgiveness application which will be subject to review and approval by the SBA. CAE
      expects to submit its loan forgiveness application subsequent to the accountants' report
      date.

       Interest and principal on the loan are deferred until such time that CAE receives a
      decision from the SBA on its loan forgiveness application. If the loan is forgiven, CAE
      owes no interest or principal on the loan and it will record the amount as income in the
      period that it receives notice of forgiveness. Any amounts not forgiven bear interest at an
      annual rate of 1% and are due in equal monthly installments of principal and interest
      beginning December 2020 through May 2022. There can be no assurance that any portion
      of the loan will be forgiven pursuant to the terms of the PPP.




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COUNCIL FOR AID TO EDUCATION, INC.

Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(6)   Paycheck Protection Program Loan, Continued

      Future annual minimum principal payments on the loan are as follows:

                                      Year Ending
                                        July 31,         Payments
                                          2021          $ 213,831
                                          2022             272,369
                                                        $ 486,200


(7)   Lease Commitment
      CAE has entered into a lease for office space in New York City commencing August 10,
      2012 and expiring February 9, 2023. Scheduled minimum annual base rental payments
      under the lease are as follows:

                                     Year Ending
                                       July 31,           Payments
                                         2021           $    418,625
                                         2022                429,090
                                         2023                219,909
                                                        $ 1,067,624


      Because of the escalating rentals in later years of the lease, CAE accounts for base rent
      expense using a straight-line method over the term of the lease, resulting in an annual rent
      expense of approximately $361,460 per year. Accrued lease expense at July 31, 2020 and
      2019, was $163,975 and $210,931, respectively. Total rent expense was $395,340 and
      $392,380 for the years ended July 31, 2020 and 2019, respectively.

      In lieu of a cash security deposit, CAE has executed an unconditional, irrevocable bank
      letter of credit in favor of the landlord in the amount of $81,357 plus accumulated interest.

      Subsequent to July 31, 2020, this interest was transferred to the landlord as a result of
      outstanding rent payments.




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Notes to Consolidated Financial Statements
July 31, 2020 and 2019


(8)   Retirement Plan

      CAE's retirement plan provided for contributions to non-mandatory elective deferrals
      made by employees. The percentage of elective deferrals which CAE will match is at the
      sole discretion of CAE as it may determine from year to year. The amount, the allocation
      formula, and the percentage or dollar amount limit applicable to such match, if any, is at
      the complete and sole discretion of CAE and may vary from year to year. Any matching
      contributions will be allocated in a non-discriminatory proportional manner. Participant
      vesting in employer matching contributions (if any) is immediate. This plan was
      terminated effective December 31, 2019.

      Effective February 1, 2020, CAE adopted a new defined contribution plan to match
      employee elective deferrals up to 4% of each employee's salary. Plan assets from the
      previous plan were transferred into this plan upon termination. Participant vesting in
      employer matching contributions is immediate.

      CAE contributed $41,634 and $75,691 to the plan for the years ended July 31, 2020 and
      2019, respectively.

(9)   Operations

      In December 2019, a novel strain of coronavirus disease (COVID-19) was first reported in
      Wuhan, China. Less than four months later, on March 11, 2020, the World Health
      Organization declared COVID-19 a pandemic. The extent of COVID-19's effect on CAE's
      operational and financial performance will depend on future developments, including the
      duration, spread and intensity of the pandemic, all of which are uncertain and difficult
      considering the rapidly evolving landscape.

      As the pandemic continues to evolve into a worldwide health crisis, the disease could have
      a material adverse effect on CAE's activities, results of operations, financial condition, and
      cash flow. However, management believes that the efforts undertaken in the last twelve
      months to right size CAE, and the fact that CAE's largest customer recently committed to
      procure services at a similar level as in the previous fiscal year, approximately $3M, will
      put CAE in a stable position for the future. In addition, CAE recently signed a three year,
      $3M contract with another client, starting in October 2020.




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